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                                                   EXHIBIT 1




                                                   EXHIBIT 1
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      Attorneys for Defendants-Respondents Sheriff
 9    Paul Penzone and Maricopa County
10                                UNITED STATES DISTRICT COURT
11                                       DISTRICT OF ARIZONA
12    Jason Fenty, et al.,                                  NO. 2:20-cv-01192-PHX-SPL (JZB)
13                                Plaintiffs-Petitioners,
14                    v.                                       DECLARATION OF OWEN
                                                                   MURRAY, M.D.
15    Sheriff Paul Penzone, et al.,
16                           Defendants-Respondents.
17
18            I, Owen Murray, state the following based upon my personal knowledge.
19            1.      I am over the age of 18 years old and competent to testify to the matters set
20     forth in this Declaration based upon my own personal knowledge, review of records, and
21     tours of the facilities.
22            2.      I am a physician board certified in the field of Family Practice.
23            3.      I have considerable expertise in correctional healthcare, with more than 30
24     years of experience in correctional medicine. Specifically, for the past 26 years, I have
25     worked for the University of Texas Medical Branch (UTMB) Offender Health Services
26     Program.
27            4.      I currently serve as the Vice President of Offender Health Services, in which
28
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 1     capacity I am responsible for ensuring the provision of all medical, mental health, and dental
 2     services for approximately 98,000 adult offenders in the Texas Department of Criminal
 3     Justice state jails and prisons (i.e., approximately 80% of the state’s correctional facility
 4     population), as well the delivery of such services to juvenile offenders in the Texas Juvenile
 5     Justice Department facilities.
 6            5.     I oversee a staff of approximately 3,500 healthcare and clinical support
 7     employees located at more than 100 correctional facilities throughout the state of Texas as
 8     well as the prison hospital on the Galveston campus.
 9            6.     Before joining UTMB in 1995, I served as a Divisional Medical Director of
10     Chicago’s Cook County Jail and several correctional facilities operated by the Illinois
11     Department of Corrections.
12            7.     In addition, I have served as a healthcare consultant for a number of
13     correctional systems, including the California Department of Corrections and Rehabilitation
14     and the Arizona Department of Corrections, Rehabilitation and Reentry.
15            8.     I currently serve as a Commissioner for Accreditation for the American
16     Correctional Association.
17            9.     In my role as Vice President of Offender Health Services for UTMB
18     Correctional Managed Care (CMC), I have significant experience evaluating the
19     management of infectious disease, to include COVID-19, in the correctional setting,
20     consistent with standards and guidance promulgated by the American Correctional
21     Association and the U.S. Centers for Disease Control and Prevention (CDC).
22            10.    Since the start of the pandemic, I have been focused on the planning and
23     implementation of the COVID-19 mitigation strategies implemented in the TDCJ and TJJD.
24     This involvement has included the development of applicable COVID-19 testing protocols
25     and strategies for patients and staff; the development of policy and practice consistent with
26     Centers of Disease Control (CDC) Interim Guidance in Correctional and Detention
27     Facilities; and the oversight and healthcare coordination of acute care hospital and Intensive
28     Care services for over 1,000 TDCJ patients in both community and the prison hospital (HG)

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 1     on the UTMB Galveston campus.
 2            11.    I have also assisted with acquisition and utilization of Remdesivir and
 3     convalescent plasma therapy for TDCJ patients hospitalized at HG. I have worked with my
 4     TDCJ colleagues to create and staff hundreds of additional infirmary and sheltered housing
 5     beds throughout the state to manage the care requirements for COVID-19 hospital
 6     discharged patients. I have worked with our CMC leadership team to coordinate the staffing,
 7     personal protective equipment, and testing necessary to manage COVID-19 care at over 83
 8     facilities across the state of Texas.
 9            12.    Since May 2020 I have reviewed the adequacy of the COVID-19 mitigation
10     strategies in multiple jails and detention centers throughout the country, including:
11                   • Irwin County Detention Center, GA
12                   • Stewart Detention Center, GA
13                   • Eloy Detention Center, AZ
14                   • La Palma Correctional Center, AZ
15                   • Krome Detention Center, FL
16                   • Glades County Detention Center, FL
17                   • Broward Transitional Center, FL
18                   • Adelanto Detention Center, CA
19                   • Metrowest Detention Center, FL
20                   • Shelby County Jail, TN
21                   • North Carolina Department of Corrections, NC
22            13.    My curriculum vitae is attached as Attachment A.
23            14.    I was provided the following materials for my review in this case:
24                   • Expert Report of Homer Venters, MD
25                   • Rebuttal Report of Homer Venters, MD
26                   • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated
27                       03/13/2020 (FPP-MSCO-ESI000027312736)
28                   • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated

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 1                   03/27/2020 (FPP-MSCO-ESI00001498 – 1505)
 2                • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated
 3                   04/09/2020 (FPP-MSCO-ESI00012918 – 12927)
 4                • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated
 5                   05/14/2020 (FPP-MSCO-ESI00008088 – 8098)
 6                • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated
 7                   07/10/2020 (FPP-MSCO-ESI00002004 – 2019)
 8                • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated
 9                   09/04/2020 (FPP-MSCO-ESI00005699 – 5724)
10                • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated
11                   04/05/2021 (MCSO-FENTY003913 – 3938)
12                • SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease dated
13                   02/08/2022 (MCSO-FENTY017453 – 17480)
14                • June 22, 2020, L. Leslie email (FPP-MSCO-ESI00009395 – 9396)
15                • March 1, 2021, D. Valdavia email (FPP-MSCO-ESI00021075)
16                • MCSO Computer Login – COVID Acknowledgement (MCSO-
17                   FENTY004052)
18                • Defendant’s First Supplemental Response to Plaintiffs’ First Requests for
19                   Admission dated 01/14/2022
20                • Depositions with exhibits of the following deponents:
21                      o   B. Williams dated 12/14/2021
22                      o   G. Harsha dated 01/05/2022
                        o   B. Roska dated 12/17/2021
23                      o   L. Leslie dated 12/21/2021
24                      o   30(b)(6) Deposition of L. Leslie dated 01/19/2022
                        o   D. Crutchfield dated 12/10/2021
25                      o   30(b)(6) Deposition of D. Crutchfield dated 01/21/2022
26                      o   G. Phillips dated 12/16/2021
                        o   V. Gan dated 01/12/2022
27                      o   V. Gales dated 01/06/2022
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 1            15.    In forming my expert opinions in this case, I also conducted a tour of each
 2     MCSO facility, which is discussed in greater detail below, and spoke with personnel from
 3     both CHS and MCSO.
 4            16.    I was also recently provided an update on an impending change to MCSO and
 5     CHS procedures based on the newest revisions to the CDC Guidance dated May 3, 2020.
 6            17.    The CDC now recommends that facilities provide testing of all inmates at
 7     intake or utilize a routine observation period (i.e., the intake cohort process used by MCSO
 8     and CHS).
 9            18.    Based on this revision to the guidance, beginning in late June 2022, MCSO
10     and CHS will now be implementing universal testing of all inmates at intake in lieu of intake
11     cohorting. Any inmates who test positive at intake or are symptomatic will be transferred
12     to medical observation and observe the same protocols as CHS has been employing.
13            19.    I find this change in MCSO and CHS procedures to be reasonable and
14     appropriate in light of the revisions to the CDC Guidance, and it does not change my overall
15     opinions as reflected in my March 18, 2022 expert report submitted in this case.
16            20.    Despite the proposed change, I included facts and opinions in this Declaration
17     regarding intake cohorting procedures that have been employed by MCSO and CHS
18     throughout the course of the pandemic as part of their overall approach to the management
19     of COVID-19 in the Jails.
20     Background on COVID-19 and CDC Interim Guidance
21            21.    Illness caused by SARS-CoV-2 has been termed COVID-19 by the World
22     Health Organization (WHO), an acronym derived from “Coronavirus Disease 2019.”
23            22.    Set forth below is an abbreviated timeline of events in connection with the
24     initial public health response to COVID-19 following its discovery in the United States.
25                   • January 17, 2020: CDC implements health screenings in three U.S.
26                      airports.
27                   • January 29, 2020: WHO declares a Public Health Emergency.
28                   • February 29, 2020: Dr. Anthony Fauci, Director of the National Institute

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 1                         of Allergies and Infectious Diseases, reports that the country remains at
 2                         “very low risk.”
 3                      • March 11, 2020: WHO declares COVID-19 a global pandemic.
 4                      • March 15, 2020: CDC recommends canceling events of 50 or more
 5                         people.
 6                      • March 16, 2020: CDC introduces social distancing guidelines.
 7                      • March 23, 2020: CDC issues Interim Guidance for Management of
 8                         COVID-19 in Correctional and Detention Facilities. See “Interim
 9                         Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
10                         Correctional and Detention Facilities,” attached as Attachment B.
11            23.       This abbreviated timeline reflects how rapidly COVID-19 affected the
12     country, including its correctional and detention institutions.
13            24.       Most correctional and detention systems already had a pandemic flu policy in
14     place to assist with planning and practice associated with the management of influenza,
15     norovirus, and other infectious illnesses. However, COVID-19 has required a more
16     protracted and evolving response when compared to these other infectious agents.
17            25.       At present, the CDC’s Guidance is the “best practice” standard to which
18     correctional and detention facilities in the United States are attempting to conform.
19            26.       This guidance has spurred correctional/detention systems and institutions to
20     effectuate monumental changes in their policies, practices, and physical plant.         In a
21     relatively short time, they have had to examine their operations and confront the challenges
22     of COVID-19 infection control in a variety of facility settings, with no two facilities being
23     exactly alike.
24            27.       While implementation of the various recommended best practices is
25     important, the Interim Guidance does not set forth a hierarchy of priorities. Rather, it
26     contains a series of considerations and recommended practices intended to provide guiding
27     principles for correctional and detention facilities to mitigate the spread of COVID-19 in
28     such institutional environments.

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 1            28.     The guiding principles will not, and are not intended to, address every
 2     possible custodial setting; rather, they affirmatively require tailoring to the individual
 3     environment.
 4            29.     In this regard, the Interim Guidance acknowledges up front that its guiding
 5     principles “may need to be adapted based on individual facilities’ physical space, staffing,
 6     population, operations, and other resources and conditions.”
 7            30.     Since their promulgation, time has not allowed for rigorous review of
 8     COVID-19 outcomes to determine the relative criticality of each of the guidelines and
 9     recommendations contained in the CDC’s Interim Guidance.
10            31.     In the absence of such evidence-driven data, any given facility’s
11     implementation of the Interim Guidance must be reviewed relative to the facility’s
12     particular circumstances, attributes, and limiting factors.
13            32.     In other words, it is an individual facility’s adherence to the guidance in
14     totality—relative to the limitations created by physical space, staffing, population,
15     operations, and other resources and conditions—and the organization’s demonstrable
16     commitment to modify over time, that ultimately yields the best outcome.
17            33.     Indeed, as information is learned about the transmissibility, testability, and
18     treatment of COVID-19 on a day-to-day basis, any reliable measure of adherence to the
19     Interim Guidance must be assessed with full awareness of this rapidly changing dynamic.
20     Inspection
21            34.     On March 7, 2022, I toured and reviewed all facilities comprising the
22     Maricopa County jail system, accompanied by Maricopa County Sheriff’s Office
23     (“MCSO”) Lieutenant Commander B. Williams.
24            35.     At each facility, I asked to see exemplar housing units, recreation areas,
25     medical clinics, and Personal Protective Equipment (“PPE”) storage. I also toured the
26     intake process at the intake facility.
27            36.     At each facility, we were accompanied by 1 to 2 members of the MCSO
28     facility leadership who guided me through the facility, provided statistics on the facility,

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 1     explained the facility’s COVID-19 procedures, and answered any questions I had during
 2     the tour.
 3             37.   I also spoke with Correctional Health Services (“CHS”) medical personnel
 4     on-site.
 5             38.   I did not speak with any inmates, other than in passing to one inmate in the
 6     LBJ medical clinic who called out to me while he was waiting for an x-ray of his broken
 7     hand. I did not discuss this case or anything to do with COVID-19 with him.
 8             39.   There was ample evidence visible on the tour and through the conversations
 9     I had with security and healthcare staff from which I was able to conclude that MCSO and
10     CHS are committed to and have implemented to the greatest extent possible the
11     recommendations from the CDC Interim Guidance on Management of Coronavirus Disease
12     2019 (COVID-19) in Correctional and Detention Facilities.
13             40.   Relevant background and my impressions regarding the current conditions of
14     each of the MCSO facilities as of March 2022 are as follows.
15             Lower Buckeye Jail (LBJ)
16             41.   LBJ has a capacity of 2100, and a population of approximately 1500.
17             42.   LBJ is primarily male adult inmates, but female inmates may be housed at the
18     Mental Health Unit and Infirmary, and juveniles are also housed at LBJ.
19             43.   The Infirmary has 60 beds, and the Mental Health Unit has 255 beds.
20             44.   We were accompanied on the tour by MCSO staff member C. Burden.
21             45.   We first visited T14B, which houses inmates who are classified as essential
22     workers. The unit has a capacity of 70 and houses 64. At the time of our visit, shift 1 of
23     the workers had already been picked up.
24             46.   The unit consists of two levels of cells with a large open dayroom area. There
25     is a row of telephones in the dayroom, but inmates also have the ability to make video calls
26     using the tablets in their cells. Recreation takes place in an outdoor rec yard attached to the
27     unit.
28             47.   Meals at LBJ are produced centrally by the food factory and distributed out

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 1     to the housing units. Inmates have the option of eating in either the day room or their cells,
 2     which allows for social distancing.
 3              48.   Inmates are responsible for cleaning the day room and their own cells, and
 4     custodians clean the showers.
 5              49.   There is a cleaning closet on each level of the housing unit which the officer
 6     can open for the inmates upon request. Custodial staff dilutes the cleaning supplies in
 7     accordance with the manufacturer’s instructions. Cleaning supplies include Triad and
 8     Virex.
 9              50.   MCSO has decided not to do temperature checks of all inmate workers at the
10     start of their shifts. However, inmates are educated to report any symptoms, including
11     fever, to either custody or medical staff, and the officers on duty are vigilant about observing
12     symptoms.
13              51.   If an essential inmate worker becomes symptomatic and/or tests positive for
14     COVID-19, the entire pod is held back from work for testing, which typically takes place
15     the next day, with results available in 36-48 hours. The pod will be retested on the 10th 1
16     day. Asymptomatic essential inmate workers with a negative test are permitted to work but
17     are required to be masked throughout their shifts.
18              52.   Every housing unit has a supply closet on the unit with necessary PPE for
19     officer use, and there is a red bio waste container for used PPE in the housing unit sallyports.
20              53.   In most areas, officers are permitted to wear surgical masks, N95 masks, or
21     cloth masks with an N95 filter insert. Surgical masks and N95 masks are readily available
22     to custody staff, and fit testing for N95 masks is done for all officers. Goggles, face shields,
23     gloves, and gowns are also available.
24              54.   Medical observation cells are deep cleaned in between each inmate using
25              1
               I am aware that MCSO and CHS changed the timing intervals for testing of intake
26     cohorts and quarantine units after my inspection to reflect the February 2022 revisions to
       the CDC Interim Guidance, which reduced the recommended timing from 14 days to 10
27     days. I have accordingly updated the timing throughout this Declaration to the current
       practice as of the date of this Declaration. The updated timing does not change the
28     substance of any of my opinions as expressed in my expert report.

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 1     CDC-approved cleaning supplies and either hand-held, large-capacity sprayers or foggers.
 2     The same procedure is employed throughout COVID-positive housing units prior to being
 3     occupied by a new group of inmates. All mattresses throughout the jails are disinfected in
 4     between each inmate.
 5            55.      There is a small medical clinic on each level of LBJ that is staffed by nurses
 6     and Correctional Health Technicians (CHTs) and a larger main clinic. The providers can
 7     come up to the smaller clinics if needed to see patients, and that is the typical procedure for
 8     inmates suspected of having COVID-19. The smaller clinics also have a lab tech and mental
 9     health staff.
10            56.      COVID-19 rapid tests are available at all of the clinics with a provider’s order.
11            57.      I spoke with RN B. Everly, who has been at LBJ for three years, and CHT A.
12     Rau, who has been at LBJ since August 2021.
13            58.      They informed me that they test and isolate anyone with cold-like symptoms
14     for COVID-19.
15            59.      Inmates who are in isolation for suspected or confirmed COVID-19 infections
16     are assessed daily by nursing staff, including temperature checks, vital signs, and pulse
17     oximeter readings.
18            60.      CHS nursing staff know their patients and are cognizant of those who are at
19     higher risk for COVID-19.         They gave an example of an inmate with a history of
20     hypertension who had been sent to medical observation for a full evaluation following a
21     report of shortness of breath.
22            61.      They explained that TechCare, their electronic health record (EHR) system,
23     also includes flags for high-risk inmates.
24            62.      There are two med passes per day, although a third pass can be done on an
25     as-needed basis for any inmates who require additional dosing. CHTs also perform daily
26     blood pressure and blood sugar checks on chronic care patients.
27            63.      Both RN Everly and CHT Rau reported that they receive updates by email on
28     any policy revisions. They also receive ongoing training, and new core medical staff get a

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 1     least a month of on-the-job training.
 2            64.    We also visited T12A, which was a COVID-19 positive house at the time of
 3     my visit. Medical goes to the housing unit daily for assessments and to take vitals
 4     (temperature and pulse oximeter checks) of everyone on the unit. For symptomatic inmates,
 5     full vitals can be taken using the vitals machine if needed based on clinical judgment. For
 6     inmates experiencing complications, medical visits more than once a day.
 7            65.    We also visited T11A and T11B, which was symptomatic housing at the time
 8     of my visit. These inmates receive a full assessment daily, including temperature and pulse
 9     oximeter checks, with full vitals taken as clinically needed.
10            66.    We visited the main medical clinic at LBJ, which includes x-ray services,
11     dental, dialysis, methadone administration, and provider visits. I spoke with RN D.
12     Mapierski, who has been at LBJ for four years and an RN for 27 years.
13            67.    RN Mapierski explained the HNR process to me. The paper HNR forms
14     allow an inmate to select the type of service needed (i.e., medical, mental health, or dental),
15     but for patient confidentiality purposes, the form does not include an area for a description
16     of the inmate’s health concerns. Inmates can also submit HNRs through the tablets, which
17     allows them to include more information about their health concerns.
18            68.    At night, CHTs input paper HNRs into the queue to be seen the next day.
19     HNRs submitted through the tablets are electronically transmitted to medical.
20            69.    If an inmate reports COVID-19 symptoms, they will be seen the same day.
21            70.    RN Mapierski reported that Arizona State University (“ASU”) does PCR
22     testing and is on-site most days. Test results are usually back within 36 hours. Medical can
23     also utilize Garcia Labs or T-Gen for PCR testing. The clinics have BinaxNOW rapid tests
24     available, which are typically used for inmates going out for surgeries or other outside
25     medical procedures.
26            71.    RN Mapierski reported that medical has no problem with getting PPE and that
27     while supplies were limited at the beginning of the pandemic, they always had what they
28     needed.

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 1            72.     I also spoke with MCSO Transport Officer L. Ortiz in the medical clinic. He
 2     has been at LBJ for 2.5 years and was at intake before that. He has not experienced any
 3     issues with getting appropriate PPE throughout the pandemic and reported that PPE is
 4     readily available. He also reported that regular cleaning of the medical and housing units
 5     takes place.
 6            Intake, Transfer, and Release (ITR)
 7            73.     I next visited the intake facility, known as ITR. MCSO CPT E. Williams and
 8     LT J. York accompanied me on the tour. ITR does not house any inmates but is averaging
 9     around 150+ bookings per day.
10            74.     We started in the self-surrender area, where inmates come in directly from the
11     streets. No one was present in self-surrender when I went through. Thursday and Friday
12     nights are the busiest times at self-surrender. At these times, medical is present along with
13     custody staff to do an initial assessment. When medical is not present, self-surrender
14     inmates proceed through to the regular intake area, where they will be seen by medical.
15            75.     All incoming individuals are offered a mask, and gloves and masks are
16     available at the self-surrender intake counter.
17            76.     Inmates who report COVID-19 symptoms or are observed to have symptoms
18     at self-surrender are taken directly to an individual cell in the isolation hallway and
19     administered a rapid test. If the test comes back positive, they remain in the isolation cell
20     and are seen by a provider. If the test comes back negative, they are returned to the intake
21     process. All isolation cells are cleaned after use.
22            77.     During my tour, I observed the isolation hallway, which has two negative air
23     flow rooms, 18 safe cells, and 15 holding cells.
24            78.     We next proceeded through the regular intake area, where incoming inmates
25     go through security and property screening. One incoming inmate was going through
26     security while I was there.
27            79.     Gloves and masks are available on the counter, and inmates are given a mask
28     and a sack of food before moving into the booking area.

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 1            80.      As with self-surrender, any inmates who report COVID-19 symptoms or are
 2     observed to have symptoms at intake are taken directly to an individual cell in the isolation
 3     hallway for rapid testing.
 4            81.      Signage on the doors leading into the booking area clearly states that masks
 5     are required.
 6            82.      In the booking area, multiple inmates were present and were observing social
 7     distancing while waiting to be processed. It was explained that during booking, inmates are
 8     not considered to be in the custody of MCSO, but rather of the arresting agency.
 9            83.      After booking, inmates are taken to the court waiting area for their initial
10     appearance, which takes place within the first 24 hours. There were several inmates in this
11     waiting area, and they were also observing social distancing.
12            84.      There are four fully functional court rooms at ITR. Superior Court does initial
13     appearances via video at 2:00, 5:00, 8:00, and 11:00. Phoenix Municipal Court does initial
14     appearances via video at 10:00 and 4:00.
15            85.      After initial appearances, inmates are directed to either the release waiting
16     area, where they will be processed and released, or the processing area, where they get
17     dressed out and proceed through classification and medical.
18            86.      Classification can take up to 24 hours.
19            87.      All inmates are also seen by medical within the first 24 hours.
20            88.      While policy provides for this visit to be conducted by either nursing or a
21     provider, all high-risk inmates are being seen by a provider.
22            512 Facility
23            89.      I next visited the new 512 facility, which is attached to ITR and serves as a
24     temporary holding facility.
25            90.      The 512 facility has a capacity of 512 beds and is 67,000 square feet. The
26     512 facility replaced the Central Intake processing center that was previously located at the
27     4th Avenue Jail.
28            91.      This facility is designed to house short-term inmates (72 hours or less, but up

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 1     to 5 days).
 2             92.    Keeping them adjacent to ITR removes the need to transport them to and from
 3     another facility and reduces the risk of spread of COVID-19.
 4             93.    Pre-COVID, approximately 50-60% of the MCSO population released within
 5     a week, compared to 70% currently. The average stay for all MCSO inmates is now 26-27
 6     days.
 7             94.    If an inmate housed in the 512 facility tests positive, they are moved to the
 8     isolation hallway and then transported by themselves to another facility with a medical
 9     observation unit.
10             95.    Each housing unit within the 512 facility includes a medical exam room.
11             Watkins Jail
12             96.    I next visited Watkins Jail, which houses minimum and medium security
13     inmates and is connected to ITR by a long corridor.
14             97.    Watkins has a capacity of 1600 beds with 258,000 square feet. Thepopulation
15     is approximately 1478 inmates.
16             98.    I was accompanied by MCSO Sgt. Solace and I. Laborde.
17             99.    Watkins does not currently have any medical observation units.
18             100.   I visited W1A pod, which has a capacity of 80 and is set up as an open dorm
19     with a large dayroom area. Inmates are encouraged to sleep head to toe. They are permitted
20     to eat at tables in the dayroom or on their bunks.
21             101.   Inmates are issued surgical masks weekly but can get a replacement upon
22     request at any time if needed.
23             102.   All pods have the same design. Each pod has an on-site medical exam room
24     where inmates are seen by medical. There is also an officer’s station with ample PPE,
25     including surgical masks, gloves, and a red bio waste container. There is a raised central
26     control area outside the housing pods which has additional supplies of PPE and a supply
27     closet with backup supplies.
28             103.   I also toured Unit 5, where pods 5 A, B, and C were cleared recovered housing

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 1     and pod 5D was on quarantine. I observed ample supplies of gowns, masks, gloves,
 2     goggles, and disinfectant wipes. Recreation was being limited to one hour per day to
 3     encourage social distancing.
 4            104.      The Watkins medical clinic has provider rooms, lab, x-ray, medication room,
 5     and mental health office space.
 6            105.      COVID-19 rapid tests are available in the medication room and provider
 7     rooms. Providers decide in their clinical judgment whether to order rapid testing or PCR
 8     testing for inmates suspected of having COVID-19.
 9            106.      I spoke with CHS Family Nurse Practitioner (FNP) M. Kuhn, a provider
10     assigned to Watkins. She reported that new policy changes are communicated clearly, and
11     she considers the communication flow with the CHS Medical Director to be very effective.
12     She appreciates that CHS has had a very structured COVID-19 policy since the beginning
13     of the pandemic.
14            Towers Jail
15            107.      At Towers Jail I was accompanied by MCSO LT Valdivia.
16            108.      Towers has a capacity of 720 beds and is 90,000 square feet. The population
17     as of March 2022 was approximately 590 inmates.
18            109.      Inmates come to Towers directly from ITR and go through the cohort housing
19     process there.
20            110.      Once a pod is full, the cohort is closed, and the entire pod is tested. The pod
21     is retested on the 10th day, and if no one tests positive, the pod is designated as cleared.
22     Any inmate who tests positive is moved. The pod is placed on quarantine status and retested
23     until all inmates test negative. Medical determines when a cohort closes, when inmates are
24     tested, and when a cohort is cleared.
25            111.      The pods have 3-person cells, but due to COVID-19, only two inmates are
26     assigned per cell to promote social distancing.
27            112.      All but one of the pods is general population, where the inmates have full
28     dayroom access. The other pod is used for protective custody/administrative segregation.

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 1     Inmates stay in the pods except for legal visits, which are conducted in divided single rooms
 2     with solid glass panels between the inmate and the attorney, or court visits.
 3              113.   Inmates in quarantine housing units are not transported for legal visits or
 4     court.
 5              114.   The control room has ample supplies of PPE and disinfectants, and radios and
 6     keys are sprayed with disinfectant between each shift change. Each housing pod has
 7     additional PPE and cleaning supplies.
 8              115.   The facility uses foggers with Triad III to disinfect mattresses, cells, and
 9     common areas in between inmates.
10              116.   All inmates are issued new surgical masks every Saturday but can receive
11     additional masks at any time upon request.
12              117.   In the Towers medical clinic, I spoke with CHS Nurse Manager A. Dickerson,
13     an RN with 15 years of experience.
14              118.   The clinic has 24-hour staffing for nursing and CHTs.
15              119.   The Towers clinic had ample supplies of rapid tests, including both QuickVue
16     and BinaxNOW. As with the other facilities, ASU does PCR testing at Towers.
17              120.   Nursing visits each of the pods at least twice per day, and on morning shift,
18     three nurses do rounds on the housing units.            Inmates who are withdrawing or
19     immunocompromised are seen twice daily.
20              121.   COVID-19 vaccinations are done on the housing units. Inmates can request
21     a vaccination via paper HNR, on the tablets, during a medical visit, or when medical staff
22     come to the housing units to administer vaccines.
23              122.   Officers round in the pods at least every 25 minutes.
24              Estrella Jail
25              123.   Estrella houses all female inmates in MCSO custody, except for female
26     inmates housed in the Mental Health Unit and infirmary at LBJ.
27              124.   Estrella has a capacity of 1503 beds and is 281,072 square feet.         The
28     population is approximately 821 inmates.

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 1            125.    There are five tower housing units and ten dorms. I was accompanied at
 2     Estrella by MCSO Field Training Officer (FTO) K. Acosta, who has been at MCSO for
 3     eight years.
 4            126.    I visited E dorm, which is an open dorm setting with bunk beds in the middle
 5     of the room and a large surrounding dayroom space. There is a TV room on the housing
 6     unit, and recreation is done in an attached rec yard. Inmates in this unit are minimum and
 7     medium security.
 8            127.    Symptomatic inmates are moved to medical and then transferred to B Tower
 9     for medical observation.
10            128.    I also visited the medical clinic at Estrella. The lab has ample supplies of
11     BinaxNOW rapid tests.        Waiting capacity is limited at the clinic to promote social
12     distancing, and inmates are brought in separated by housing unit.
13            129.    I observed A tower, which has three max custody pods and one close custody
14     pod.
15            130.    I also visited J dorm, which is a direct supervision design, where the officer’s
16     area is open to the rest of the pod. The dorm is considered a privilege dorm, and the inmates
17     have access to games and arts and crafts. The dorm has triple stacked bunk beds in the
18     middle and large surrounding dayroom space. Recreation is done in a dedicated, attached
19     rec yard, and recreation times are staggered so that adjacent housing units do not recreate
20     at the same time.
21            4th Avenue Jail
22            131.    I was accompanied at 4th Avenue Jail by MCSO LT Hallett, who has been
23     there for 3.5 years.
24            132.    4th Avenue has a capacity of 2,064 beds with 1,152 cells and is 577,883
25     square feet. The population is approximately 1,557 inmates.
26            133.    We toured the main medical clinic, which is located in the basement and has
27     an RN on duty 24/7. There is also a medical clinic on each of the other levels (2, 3, and 4)
28     of the Jail which is staffed by nursing.

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 1               134.   Each housing pod has two classrooms, four video visitation booths, an
 2     attorney visitation room, a dayroom, and a recreation yard, thereby limiting the amount of
 3     inmate movement required throughout the facility.
 4               135.   We visited 2F2, which is a medical observation unit. Inmates housed on this
 5     unit are either COVID-19 positive, symptomatic, or on pre-release quarantine for specific
 6     circumstances (e.g., extradition, Reach Out).
 7               136.   This unit consists of two-bunk cells, but inmates are only double bunked if
 8     both are COVID-19 positive. Otherwise, all inmates in medical observation are single-
 9     celled.
10               137.   These inmates are assessed daily by CHS staff for temperature and symptom
11     checks. Both medical and mental health conduct daily rounds on the unit, there are twice-
12     daily medication passes on the unit, and inmates can also submit an HNR to be seen by a
13     provider. Symptomatic inmates are seen on the unit.
14               138.   The house officer walks through the unit at least every 25 minutes and can
15     summon medical if needed.
16               139.   Single-celled inmates are taken out of their cells individually every 7 days for
17     a shower.
18               140.   Double-celled inmates are taken out of their cells individually every 3 days
19     for a shower.
20               141.   Meals and medications are delivered to the cell front.
21               142.   All cells are sprayed down with approved disinfectants after each inmate is
22     released.
23               143.   We next visited 4B1, which is a closed custody unit. All inmates on this
24     housing unit are single-celled. Each cell contains a telephone and a tablet docking station.
25     Inmates are taken out individually for recreation in an open-air enclosure that is directly
26     attached to the unit. Inmates are also taken out individually for showers.
27               144.   We also visited SM2, which is a maximum custody unit. All inmates are
28     single celled with an in-cell shower and toilet, and each cell has an attached day room which

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 1     contains a phone and a tablet docking station. There is a recreation room between each cell
 2     which is used for individual recreation. These inmates are permitted one-hour per day of
 3     individual day room time and recreation room time.
 4     Meeting with CHS
 5             145.   During my tour I also met with CHS Medical Director Dr. Crutchfield and
 6     Director of Nursing (DON) V. Gales at the CHS offices, which are co-located with LBJ in
 7     an administrative wing.
 8             146.   DON Gales is part of the Housing Management Committee, which is
 9     comprised of CHS staff, MCSO leadership, and representatives from each of the facilities.
10     Committee members include the following:
11                    • IMSD: G. Harsha (May 2020-June 30, 2021), D. Flaherty, Lt. B. Beckwith
12                    • Classification: C. Ajir, L. Chacon
13                    • CBO: Lt. B. Sajonia, Sgt. J. Von Reeden, Ofc. D. Darling, J. Townsend,
14                       De La Meyers y Vega
15                    • Estrella: Lt. C. Walters, Lt. T. Cocciardi, Sgt. M. Rios, Sgt. S. Down
16                    • 4AJ: Lt. R. Hallett, Lt. L. Payne, Sgt. J. Redfern
17                    • Watkins: Sgt. I. Laborde
18                    • LBJ: Lt. E. Maxwell, Ofc. C. Burden
19                    • Towers: Lt. B. Marty
20                    • CHS: V. Gales, T. Watts
21             147.   The committee was created in July 2020 and meets virtually daily to manage
22     the COVID-19 response at the Jails, including review of test results, contract tracing, inmate
23     transfers and movements, and updates to housing unit statuses and testing schedules.
24             148.   DON Gales maintains a COVID-19 tracker in Excel format, which is updated
25     on an ongoing basis and is accessible to all members of the committee.
26             149.   High-risk COVID-19 positive patients are moved to the infirmary if space
27     permits. If they cannot be transferred to the infirmary, providers go cell-front to monitor
28     them.

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 1            150.      CHS does not maintain a separate list of high-risk patients because the EHR
 2     system contains flags for all high-risk patients directly in their charts. However, it is
 3     possible to conduct an advanced search in TechCare to identify high-risk patients.
 4            151.      As of my visit in March, CHS had just hired a COVID-19 nurse, A. Garcia.
 5     Some of her duties include monitoring the COVID-19 tracker and testing queue and
 6     conducting cell-side visits with all high-risk patients.
 7            152.      When COVID-19 vaccines became available at the Jails, Dr. Crutchfield
 8     personally went out to every housing dorm to offer the vaccine to inmates.
 9            153.      Dr. Crutchfield also directs his providers to ask inmates at every encounter if
10     they have had a vaccine.
11            154.      Nurse P. Brooks goes out to housing units every Tuesday to administer
12     vaccines.
13            155.      Vaccines are offered to all inmates at the initial health assessment following
14     intake. Inmates can also request a vaccine through submitting an HNR, during a medical
15     encounter, or when CHS staff is on the housing units.
16            156.      Higher-risk patients or those with a pressing health condition (e.g., current
17     medications, mental health issues, or substance abuse issues) are seen by a provider within
18     24 hours of intake. These patients are labeled with a red dot. Other patients are labelled
19     with a green dot and are seen within 14 days by a provider.
20            157.      Approximately 200-250 inmates are booked daily, and 67-70% of these
21     intakes are identified as higher-risk (red dot).
22            158.      Approximately 45-47% of all intakes get released at their initial court
23     appearance.
24            159.      Medical providers perform about 95-100 health assessments daily for higher-
25     risk patients.
26            160.      Dr. Crutchfield told me that CHS and MCSO discussed doing pre-release
27     quarantining and testing for the inmate population, but releases are done 24/7 and often
28     without advanced notice, which would make doing so virtually impossible from a planning

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 1     perspective.
 2            161.    There are also significant space constraints within the Jails that would
 3     preclude them from creating separate pre-release pods.
 4            162.    CHS also considered pre-release quarantining and testing for ADCRR
 5     transfers, but they determined that the medical resources needed to manage such a process
 6     would be better directed toward caring for patients.
 7            163.    MCSO uses N95 and KN95 masks for inmates going out to court. The
 8     Maricopa County Superior Court has agreed that inmates on quarantine status can go out to
 9     court if they have no symptoms and are wearing a quality (e.g., N95 or KN95) mask.
10            164.    CHS has received 24 courses of molnupiravir antiviral treatment. The State
11     is controlling distribution, but CHS has the ability to get more, if necessary.
12            165.    High-risk patients and patients over 50 (Tier 1 and 2) are given priority for
13     antiviral treatment. If supplies permit, CHS will open treatment up to Tier 3 patients.
14            166.    CHS has historically used Visient for registry staffing but as of August are
15     now also using Acro. They are currently at approximately 70% staffing with the use of
16     agency staffing and overtime. Provider staffing is 100%, and provider turnover is non-
17     existent.
18            167.    MCSO staff who test positive for COVID-19 or are exposed to a known
19     COVID-19 positive individual are required to stay home for 10 days.
20            168.    MCSO staff are not required to be vaccinated or report their vaccination
21     status, but staff who choose to become vaccinated and report their status receive a day off
22     and $100 as an incentive.
23            169.    All of the MCSO jails are NCCHC accredited. They have also obtained
24     opioid accreditation through NCCHC.
25     Findings and Opinions
26            170.    Below are my findings and opinions with respect to key aspects of MCSO’s
27     COVID-19 prevention strategies and procedures.
28            Social Distancing

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 1             171.   According to the CDC, “Social distancing is the practice of increasing the
 2     space between individuals and decreasing their frequency of contact to reduce the risk of
 3     spreading a disease (ideally to maintain at least 6 feet between all individuals, even those
 4     who are asymptomatic). Social distancing strategies can be applied on an individual level
 5     (e.g., avoiding physical contact), a group level (e.g., canceling group activities where
 6     individuals will be in close contact), and an operational level (e.g., rearranging chairs in the
 7     dining hall to increase distance between them). Although social distancing is challenging to
 8     practice in correctional and detention environments, it is a cornerstone of reducing
 9     transmission of respiratory diseases such as COVID-19.”
10             172.   At the start of the pandemic, Maricopa County took aggressive measures to
11     reduce the jail population. While the population has increased over the course of the
12     pandemic, as of March 2022, most facilities are still operating at between 50-70% of full
13     capacity, providing additional space between individuals for social distancing.
14             173.   All male intakes are tested at the Towers Jail for COVID-19 and cohorted for
15     at least 10 days after arrival before being transferred to other facilities.
16             174.   All female intakes (except for those housed in the Mental Health Unit at LBJ)
17     are tested at Estrella and cohorted with other inmates for at least 10 days after arrival before
18     being moved to their permanent housing location at that facility.
19             175.   Perhaps the greatest challenge in accomplishing social distancing in a
20     correctional setting is that associated with sleeping quarters.
21             176.   The tour of the jails demonstrated that the physical distance between bunk
22     beds and potential sleeping arrangements was at times less than six feet in many of the
23     facilities.
24             177.   While the CDC Interim Guidance does not require detention facilities to
25     provide six feet of separation between beds, it states: “If space allows, reassign bunks to
26     provide more space between individuals, ideally 6 feet or more in all directions.”
27             178.   Inmates may position themselves in their bunks in a way that maximizes
28     distance between them, for example in a head to foot arrangement, which is encouraged at

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 1     the jails.
 2             179.   Additionally, where possible, bunk assignments are staggered at the jails to
 3     increase distance between inmates.
 4             180.   In other housing units, inmates are individually celled, which allows for social
 5     distancing.
 6             181.   The jails have provided education and reinforcement for inmates on the
 7     importance of sleeping head to toe and maximizing space between individuals, and inmates
 8     are encouraged to stagger their phone calls, showers, and meals where possible in open
 9     dorm areas.
10             182.   In single-cell environments, inmates are brought out for showers and
11     recreation on an individual or small-group basis, allowing for social distancing.
12             183.   MCSO has canceled all in-person social visitation, replacing it with video
13     visitation through the inmate tablets. While in-person visitation remains available for
14     attorney visits, video visitation is encouraged.
15             184.   Entrance to the facilities has also been restricted to essential correctional staff,
16     medical, attorneys, and contractors, with volunteer programs cancelled.
17             185.   MCSO has also canceled group programming and replaced it with virtual
18     programming available on-demand on the inmate tablets.
19             186.   All meals are served in the housing units, reducing movement throughout the
20     facility.
21             187.   Most inmates are seen at the smaller medical clinics or the medical exam
22     rooms located directly on the housing units, which reduces movement outside the housing
23     units and reduces the volume of patients waiting to be seen at the main clinics.
24             188.   Earlier in the pandemic, the jails postponed non-critical medical and dental
25     care, which further reduced movement and created additional staff capacity to address the
26     health services workload associated with COVID-19 management.
27             189.   Commissary items are delivered to detainees in the housing unit, thereby
28     reducing movement within the facility.

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 1            190.   Recognizing that “social distancing is challenging to practice in correctional
 2     and detention environments,” the Interim Guidance recommends the measure of “at least
 3     six feet between all individuals” as the “ideal” amount of space to reduce the risk of
 4     spreading COVID-19. Significantly, the Interim Guidance does not call for six feet of space
 5     between fixtures within a detention housing unit to accomplish meaningful social
 6     distancing.
 7            191.   If social distancing could only be achieved by creating six feet of physical
 8     space between bunks, showers, tables, toilets, phones, and other typical living elements
 9     found in the facilities, most correctional and detention facilities in the United States would
10     never reach compliance.
11            192.   The inability to provide six feet of space between these necessary
12     accoutrements would also be true for most buildings, courthouses, and other places of public
13     accommodation in the United States. That is why it is imperative to understand social
14     distancing as a function of human input, rather than a measure of inches or feet between
15     inanimate objects.
16            193.   Social distancing is a practice which requires personal accountability and
17     recognition of the structural challenges. MCSO inmates, not unlike everyone else in the
18     world, are responsible for their choices regarding social distancing, whenever possible, in
19     accordance with the guidance that has been provided to them through appropriate signage,
20     education, and instruction.
21            194.   To this end, inmates, again, like everyone else, must exercise appropriate
22     discretion.
23            195.   Choices such as waiting for the appropriately spaced phone or shower to be
24     available or electing not to sit at a dayroom table with others, might be less satisfactory, but
25     such personal accountability is necessary to provide the best opportunity for accomplishing
26     six feet of separation.
27            Masking
28            196.   Wearing a mask is an essential component of reducing the transmission of

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 1     COVID-19.
 2            197.   The jails provide inmates with surgical masks upon entry at ITR and
 3     replacement surgical masks on a weekly basis. If an inmate needs another surgical mask,
 4     he or she can get one upon request.
 5            198.   Inmates are encouraged to wear a mask when in their housing unit. Inmates
 6     on quarantine status are required to wear a mask at all times while outside the housing unit.
 7     If an inmate cannot be seen by medical on the unit, the inmate is required to wear a mask
 8     while being transferred to the medical clinic. If it is necessary to transport an inmate to an
 9     offsite facility, staff and inmates are required to wear a mask throughout the process.
10     Inmates going out to court are now provided N95 or KN95 masks.
11            199.   Staff who interact with inmates are required to wear PPE, which includes a
12     mask. If staff are working with COVID-positive detainees, they must wear an N95 mask.
13            200.   My inspection provided convincing evidence that masks were being worn
14     consistently by all MCSO and CHS staff and most inmates.
15            Personal Hygiene and Cleaning
16            201.   The jails provide disinfectant spray, soap, and hot water in every housing unit.
17            202.   Hand sanitizer is available for staff use at officer’s stations, control rooms,
18     and medical clinics.
19            203.   I saw ample supplies of cleaning supplies, including disinfectant sprays and
20     wipes, in the supply areas of each housing unit, and I also inspected back-up supply areas
21     to confirm the sufficiency of the overall supplies available.
22            204.   Cleaning occurs several times per day using CDC-approved and EPA-
23     registered disinfectants.
24            205.   Attention is paid to all common areas, “high touch” areas, and housing units.
25     Each facility has multiple foggers and large-capacity sprayers for use when turning over
26     individual inmate cells and housing units.
27            206.   On the date of my inspection, all the facilities were clean and had adequate
28     supplies of cleaning, hygiene, and PPE products available for staff and inmate use.

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 1             207.     My inspection was scheduled with only one business day’s notice, which
 2     makes it highly unlikely that any additional cleaning regime could be undertaken, and there
 3     is no evidence that any of the facilities was in a substantially different condition at the time
 4     of the inspection than it would be otherwise.
 5             Other PPE
 6             208.     My tour guides amply demonstrated the availability and appropriate use of
 7     PPE for all categories of staff (e.g., housing unit staff, security, and medical) and patients.
 8             209.     Both MCSO and CHS have planned for potential shortages. We toured the
 9     PPE storage areas located directly on the housing units and backup storage areas in each
10     jail facility.
11             210.     Staff who interact with suspected or confirmed COVID-19 positive
12     individuals wear full PPE, including surgical or N95 mask, gown/poncho, face shields, and
13     gloves. Staff in other units are required to wear a surgical mask and gloves.
14             211.     Staff are aware of how PPE is accessed, and staff are fit-tested on respirators.
15             212.     The facility tours confirmed that all encountered MCSO and CHS staff were
16     wearing masks and gloves as appropriate for the situation.
17             Education
18             213.     The jails provide extensive educational material for staff and inmates.
19     Signage is visible at ITR, as well as in the common areas, medical departments,
20     staff/administrative areas, and housing units. Educational materials regarding symptoms,
21     hand hygiene, mask use, cleanliness, and social distancing were visibly posted on the
22     housing area walls and are also available on the inmate tablets. I noted signage available in
23     both English and Spanish.
24             214.     Upon intake, CHS staff educate inmates on the proper use of masks, hand
25     hygiene, and social distancing. CHS staff also educate inmates on the common signs and
26     symptoms of COVID-19 and how to report them (e.g., via paper HNR, inmate tablets, or
27     personal contact with medical or custody staff).
28             215.     Dr. Crutchfield and DON Gales both indicated that medical staff are

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 1     providing education and answering questions from the inmate population on a regular basis
 2     during medical encounters.
 3              216.   At the jails, all medication administration takes place on the housing units,
 4     and CHS staff take that opportunity to answer any questions regarding COVID-19 during
 5     their rounds.
 6              Medical High-Risk Detainees
 7              217.   Like most correctional and detention health systems, the jails have a defined
 8     chronic care program.
 9              218.   Through flags on the TechCare EHR system, CHS providers and nursing staff
10     can rapidly identify patients who have a chronic disease, such as hypertension, asthma, or
11     diabetes, to ensure that they are seen regularly to optimize clinical outcomes.
12              219.   In addition to the flags that exist within the EHR, the nurses and providers I
13     spoke with are knowledgeable about their patients and know which patients are at higher
14     risk.
15              220.   RNs visit the housing units daily for medication administration, and CHTs
16     visit the housing units daily for blood pressure and vital checks, allowing for regular
17     assessment and monitoring for potential COVID-19 symptoms.
18              221.   This safeguards those patients who might be at additional risk of a poor
19     outcome from a COVID-19 infection by ensuring they are known and visible to the facility
20     staff.
21              222.   While extra attention is paid to chronic care patients and others at higher-risk
22     of COVID-19 complications, CHS essentially treat every inmate in MCSO custody as high-
23     risk.
24              223.   All inmates on quarantine status or in medical observation are assessed and
25     have their temperatures and vitals taken daily.
26              Medical Isolation and Quarantine
27              224.   The jails have established appropriate processes to identify and manage
28     COVID-19 positive patients, symptomatic inmates, and asymptomatic contacts.

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 1            225.   The facility provides contact tracing through the Housing Management
 2     Committee, which is chaired by DON Gales, utilizing the continuously updated COVID-19
 3     tracker.
 4            226.   CHS and MCSO have also implemented appropriate local public health
 5     reporting mechanisms, reporting COVID-19 positive results to the Maricopa County
 6     Department of Public Health.
 7            227.   The jails have a process for cohorting intakes into housing units based on their
 8     intake dates. Once a housing unit is filled, the cohort is closed, and all inmates in the
 9     housing unit are tested for COVID-19. If anyone tests positive, that inmate is removed to
10     medical observation, and the remaining inmates are retested. A cohort is released when all
11     members test negative a second time.
12            228.   Any inmates who have confirmed cases of COVID-19 are immediately
13     moved to medical observation for continued care and monitoring.
14            229.   High-risk COVID-19 positive patients are moved to the Infirmary where
15     possible.
16            230.   Inmates with COVID-19 symptoms are labeled as Persons Under
17     Investigation (“PUI”) and transferred to medical observation pending COVID-19 test
18     results.
19            231.   Housing pods where a positive or suspected COVID-19 case originates are
20     quarantined for a minimum of 10 days after the PUI has been removed.
21            232.   While on quarantine status, inmates are placed on movement restriction and
22     can only leave the housing unit for attorney visits, court, release from custody, or an
23     emergency.
24            233.   If an inmate develops COVID-19 symptoms, the individual is moved
25     immediately to medical isolation for further evaluation and testing.
26            COVID-19 Testing
27            234.   The CDC Interim Guidance recommends testing based on the presence of
28     symptoms, including fever, cough, and shortness of breath. It encourages clinicians, based

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 1     upon the changing nature of the symptom profile, to use their best judgment in determining
 2     the need for COVID-19 testing.
 3            235.     CHS follows these guidelines and has sufficient access to both off-site PCR
 4     testing and on-site rapid test kits. CHS primarily relies on a contract with ASU to provide
 5     PCR testing, although testing capacity is also available through Garcia Labs and TGen if
 6     needed. Consistent with the outside community at large, the turnaround time for receiving
 7     results from ASU’s testing regime is 1-2 days.
 8            236.     Inmates who screen positive upon intake for being at risk for COVID-19 are
 9     isolated and offered rapid antigen testing. All inmates are tested using PCR testing upon
10     closure of their cohort and retested following a 10-day quarantine period.
11            237.     Inmates testing positive on admission or during the initial cohort process are
12     medically isolated at a medical observation unit and treated as clinically required.
13            COVID-19 Vaccinations
14            238.     The jails have ample supplies of COVID-19 vaccinations and have the ability
15     to administer Johnson & Johnson and Modena as clinically indicated.
16            239.     Inmates are provided with a paper CDC vaccination card so that they can
17     continue their vaccination series if transferred to another correctional system (e.g.,
18     ADCRR) or released to the free world.
19            240.     Dr. Crutchfield personally undertook a vaccination education and
20     administration drive in all the housing units after CHS received its initial supply of
21     vaccinations from Maricopa County.
22            241.     CHS providers also visit the housing units on a weekly basis to educate
23     inmates and administer vaccines.
24            242.     Dr. Crutchfield indicated that he encourages ongoing education about
25     vaccinations at all provider appointments.
26            243.     He expressed some frustration that inmate acceptance of the vaccination is
27     not higher, but he believes that some of the hesitation is due to the newness of the
28     vaccinations.

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 1            Medical Care
 2            244.     CHS provides medical coverage 7 days a week, 24-hours per day.
 3            245.     The tour demonstrated that CHS has the appropriate and necessary space and
 4     equipment to provide high quality healthcare.
 5            246.     Dr. Crutchfield confirmed that CHS has the necessary staffing to provide
 6     health services to the population. He noted that CHS was not experiencing any provider
 7     staffing shortages as of the date of the facility tour and that nursing staffing shortages are
 8     not impacting the ability to provide care.
 9            247.     All patients are screened for chronic diseases, such as diabetes or
10     hypertension.
11            248.     Frequency of care services is defined by policy or at the discretion of the
12     provider based on the patient’s clinical stability and outcome metrics (i.e., blood pressure
13     control).
14            249.     CHS utilizes an electronic health record that facilitates care and data
15     collection.
16            250.     Inmates can request care through a variety of means, and inmates who submit
17     HNRs are seen within 24 hours or less.
18            251.     Inmates reporting COVID-19 symptoms are seen the same day.
19            252.     If emergent care or hospitalization is required, CHS typically sends patients
20     to the Valleywise Hospital, but patients could be diverted to any local hospital depending
21     on various factors.
22            253.     Dr. Crutchfield stated unequivocally that CHS was providing excellent care
23     to all patients and specifically, to those who have encountered COVID-19.
24     Rebuttal of Dr. Venters’ Opinions
25            254.     In my experience in Texas, temperature and symptom checks are of extremely
26     limited utility, particularly in light of the resources needed to perform them and the high
27     number of asymptomatic COVID-19 cases found in both correctional and community
28     settings.

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 1            255.   As of March 7, 2022 in Texas, we had administered 6,258,922 temperature
 2     and symptom checks, which identified only a .001% COVID-19 positive rate.
 3            256.   Given this, I do not find MCSO and CHS’s decision not to conduct daily
 4     temperature and symptom checks of all inmates to be concerning or reflect any indifference
 5     to the health of the inmate population. Rather, I find their decision to focus resources on
 6     inmates who are COVID-19 positive, suspected of being positive, or high risk to be
 7     reasonable.
 8            257.   Additionally, Dr. Venters has not pointed to any adverse outcomes resulting
 9     from not conducting temperature and symptom checks of all inmates.
10            258.   Dr. Venters also claims that inmates reported having to wait several days to a
11     week for their cohorts to close and that on occasions inmates transferred in and out during
12     the cohort period.
13            259.   I do not find transfers out of cohort pods to be of concern, and I presume that
14     these transfers are generally being made to medical observation units for confirmed or
15     suspected positive cases, which would not be communicated to the other inmates in the
16     cohort pod.
17            260.   Transfers into a cohort pod could potentially create some risk, but it is my
18     understanding from reviewing the depositions of Dr. Crutchfield, Dr. Phillips, and DON
19     Gales that this is an extraordinarily rare occurrence and that when discovered, the clock is
20     restarted for the cohort period.
21            261.   While prolonging the cohort period can be understandably frustrating for the
22     inmates involved, there are necessarily going to be some tradeoffs made in a jail setting to
23     minimize the risk of exposure to the inmate population as a whole. I find that MCSO and
24     CHS’ approach to cohorting strikes a reasonable balance.
25            262.   Dr. Venters further notes that inmates in quarantine settings reported they
26     were subject to multiple quarantines that at times delayed their court appearances and
27     extended their time in jail.
28            263.   It is no doubt unfortunate that placement on quarantine may result in a delay

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 1     in court proceedings that may on occasion prolong the amount of time that an individual
 2     remains in MCSO custody before being transferred to another correctional system or
 3     released to the community.
 4            264.   However, as with cohorting, placing inmates on quarantine status is a
 5     necessary reality of COVID-19 management in a jail setting.
 6            265.   MCSO is sensitive to the situation, and they are working with the courts to
 7     make changes to court procedures that will allow inmates to go to court while on quarantine
 8     status, provided that both these inmates and the officers transporting them are wearing a
 9     high-quality (N95 or KN95) mask.
10            266.   Again, I find this to be a reasonable balancing act.
11            267.   Dr. Venters states that two people in the mental health unit reported not being
12     tested for COVID-19 within the first few weeks of their arrival. Because he failed to
13     provide the names of these two inmates, I am unable to verify the accuracy of his claim,
14     and there is no indication that he conducted any review of records or asked any questions
15     of staff to confirm this report.
16            268.   Dr. Venters does not assert that either of these inmates contracted COVID-19
17     or experienced any adverse outcomes based on this claim.
18            269.   Moreover, inmates on the dedicated mental health unit are single-celled and
19     spend the majority of their time in their cells, thereby limiting their exposure to other
20     potentially positive individuals and minimizing the risk that they could infect others if they
21     were infected themselves. These individuals also receive daily rounding from both medical
22     and mental health staff, which allows for monitoring of potential COVID-19 symptoms by
23     trained staff and provides ample opportunity for these inmates to report any symptoms.
24            270.   Dr. Venters also states that he has been told by Plaintiffs’ counsel that
25     “multiple” detained people have requested to be vaccinated and have waited months to
26     receive the vaccine.
27            271.   It is my understanding that Plaintiffs filed a Motion for Preliminary Injunction
28     requesting an order directing Defendants to vaccinate a female inmate, which they later

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 1     withdrew when Defendants pointed out that she had been offered and refused the
 2     vaccination on multiple occasions prior to accepting it. I was told that the other inmates
 3     had similarly been offered but refused the vaccine on multiple occasions.
 4            272.   Plaintiffs’ counsel also told Dr. Venters that the jail “frequently” combines
 5     different quarantine units that have different start/end dates and has placed “multiple”
 6     COVID-19 positive inmates into cleared dorms.
 7            273.   In reviewing the deposition testimony in this case from Dr. Crutchfield and
 8     DON Gales, there have been some occasions when MCSO and CHS determined it was
 9     necessary to combine different cohort units or different quarantine units due to space
10     limitations. However, they both testified that when units are combined, the end date is
11     adjusted to allow for a full cohort or quarantine period.
12            274.   I agree with Dr. Crutchfield and DON Gales that combining units and
13     adjusting the end date is the best, and often only, option under such circumstances.
14            275.   I also noted testimony during the depositions that there have been a few
15     isolated instances where an individual who was later determined to be COVID-19 positive
16     was placed into a cleared dorm. In those circumstances, the housing unit was placed on
17     quarantine status, with all inmates tested. Again, I find this to be a reasonable response to
18     what by all accounts was an innocent mistake.
19            276.   The fact that prompt action was taken to address the issue is reflective of a
20     leadership team that cares about the inmates within their custody.
21     Dr. Venters’ Findings and Recommendations
22            277.   Dr. Venters notes a few strengths of MCSO and CHS in his report, including
23     efforts to procure and provide vaccinations to “some” inmates, testing inmates during the
24     intake cohort period and other quarantines, conducting surveillance testing of people in
25     cleared housing units, providing surgical masks to inmates, and arranging medical isolation
26     units to house COVID-19 positive inmates away from others.
27            278.   However, he then claims, without any support, that these measures are “far
28     below the guidelines of the CDC and basic correctional practices.”

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 1            279.   I disagree with his conclusion on both accounts, and I find the jail’s policies
 2     and practices regarding vaccination, testing, provision of surgical masks, and placement of
 3     COVID-19 positive inmates into single cells in medical observation housing units to be
 4     consistent with CDC guidelines and the policies and practices I have observed in other
 5     correctional systems and in my own system in Texas.
 6            280.   Dr. Venters identifies a number of alleged deficiencies at the jails and makes
 7     recommendations for changes to policies and practices. I address each below.
 8           Medical Isolation
 9            281.   Dr. Venters is critical that the jails house multiple categories of inmates in
10     medical observation units.
11            282.   As previously stated, these units are predominantly single-celled, unless both
12     inmates are COVID-19 positive, and inmate movement within these housing units is
13     severely restricted and requires masking.
14           283.    I find this practice to be reasonable and consistent with CDC guidance to the
15     extent possible within the specific physical plant and space constraints of the MCSO jails.
16            284.   Dr. Venters also claims that he observed staff in these units lacking N95
17     masks and other basic PPE.
18            285.   I cannot speak to what Dr. Venters encountered during his tour, which
19     occurred more than a year ago on May 4-5, 2021, and he has not provided any photographs
20     documenting his claim.
21            286.   However, during my tour in March 2022, I observed ample supplies of PPE,
22     including both surgical and N95 masks, gloves, and gowns, on the housing units.
23            287.   I did not see any staff working in medical observation that lacked appropriate
24     PPE, and the CHS and MCSO staff that I spoke with all reported that they have access to
25     the necessary PPE.
26            288.   Dr. Crutchfield told me that CHS had recently acquired an additional supply
27     of 30,000 N95 and KN95 masks for staff and inmate use.
28            289.   I am firmly convinced that the jails have adequate supplies of PPE and that

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 1     staff are utilizing the appropriate PPE.
 2            290.    Dr. Venters acknowledges that the jails have a pre-release protocol for
 3     inmates who are awaiting extradition or transfer to specific programs/facilities. However,
 4     he is critical that the jails have not implemented a pre-release quarantine protocol for people
 5     who are in cleared housing or have a known release date for a short sentence.
 6            291.    He recommends establishing a pre-release protocol that houses all inmates
 7     known to be in their final two weeks of confinement in a separate housing area and
 8     providing them with daily symptom and temperature checks and testing.
 9            292.    I disagree with his recommendations for several reasons.
10            293.    First, this is in excess of the CDC guidelines, and Dr. Venters does not provide
11     any other support for this recommendation.
12            294.    Additionally, in a jail setting as opposed to a prison, an individual’s release
13     date is rarely known in advance, making it impossible to plan for release dates two weeks
14     in advance.
15            295.    Approximately 60-70% of MCSO inmates are released within a week of their
16     intake, and the average stay is only 26-27 days.
17            296.    As a result, the majority of MCSO inmates will be released during their initial
18     cohort period or at most within only days or weeks of testing negative and being cleared.
19     Creating an additional category of housing under these circumstances is impractical and
20     unnecessary.
21            Intake Screening and Testing
22            297.    Dr. Venters recommends that MCSO conduct daily symptom and temperature
23     checks during intake cohorting and in quarantine housing units.
24            298.    He does not point to, and I have not seen any outcome data to show that
25     performing symptom and temperature checks has yielded significant identification of
26     positives.
27            299.    As noted above, my experience in Texas is that symptom and temperature
28     checks net an extremely low rate of COVID-19 positives and are quite labor intensive.

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 1             300.   At this point in the pandemic, everyone is fairly self-aware as to the common
 2     symptoms of COVID-19 and capable of self-reporting any concerning symptoms.
 3             301.   Given the staffing and logistical burden of conducting daily symptom and
 4     temperature checks and the very low yield from doing them, I find CHS’s decision to direct
 5     its resources to focus on providing direct patient care to be reasonable and appropriate.
 6             Intake Cohorts
 7             302.   Dr. Venters also recommends that cohorts in open dorms be limited to people
 8     admitted within 72 hours of each other.
 9             303.   He provides no citation to CDC guidelines or any other support for this
10     recommendation, and I am not aware of any.
11             304.   Following processing at ITR, MCSO has shifted intakes to Towers Jail, where
12     the housing units have a capacity of only 30, versus housing them during the cohort process
13     at units at other facilities that may have capacity of up to 128 inmates as was previously
14     done.
15             305.   This has the effect of shortening the time needed for a cohort unit to close,
16     and in most instances, cohorts close within a few days.
17             306.   While some cohorts (e.g., higher custody levels) may remain open longer due
18     to lower volumes, in my opinion keeping a cohort open longer when needed due to space
19     constraints and security concerns is reasonable.
20             307.   MCSO has made efforts to reduce the time for cohorts to close by reducing
21     cohort sizes. There may be some minor inconvenience to some inmates from remaining in
22     a cohort unit for a few extra days, but erring on the side of infection control and safety
23     benefits both the inmate population and the system.
24             Infection Control in Holding Pens
25             308.   Dr. Venters claims that he observed a crowded holding enclosure during his
26     tour at Watkins Jail and was told by inmates that facility practice is to group people from
27     multiple housing units in one small enclosure when awaiting transfer to/from court or to
28     outside medical appointments.

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 1            309.   He recommends that all inmates leaving and returning to the jails from court
 2     or outside medical appointments should have symptom and temperature checks and be
 3     placed in enclosures with others from the same housing unit where possible, social
 4     distancing should be maintained in holding areas and on transport vehicles, and mask
 5     wearing should be promoted.
 6            310.   During my tour, I did not see any crowded holding enclosures for inmates
 7     coming or going from court or outside specialty appointments, and I observed ample
 8     holding areas at the different jails.
 9            311.   I agree that inmates should be grouped with individuals from the same
10     housing unit to the extent possible when awaiting and during transport, and it is my
11     understanding from my conversations during my tour that this generally occurs in the
12     MCSO jails.
13            312.   During my tour, I also observed a fleet of vans and buses of varying sizes for
14     transporting inmates. Using a larger capacity vehicle, which is available at MCSO, allows
15     for social distancing during transport.
16            313.   I agree that masking is important while awaiting and during transport, and
17     MCSO has ample supplies of N95 or KN95 masks to use for outside transports.
18            314.   As with other aspects of incarceration, there is some element of personal
19     responsibility required, and ultimately it is up to the individual inmate to wear the mask,
20     but staff do encourage their use.
21            315.   I believe the infection control processes and program in place at MCSO are
22     reasonable and do not create demonstrably additional risk for inmates or staff.
23            Worker and Staff Screening
24            316.   Dr. Venters recommends daily screening of staff and is critical that MCSO
25     and CHS have not implemented such a process. He also states that relying on workers to
26     report their own symptoms is less reliable than affirmatively asking about them, but he does
27     not provide any evidence or support for this assertion.
28            317.   In speaking with MCSO and CHS leadership, the determination was made not

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 1     to require daily screening of staff because doing so creates bottlenecks coming into the
 2     facilities at the start of a shift, which results in a large number of people congregating in
 3     one area, making social distancing difficult and potentially increasing the risk of spread of
 4     COVID-19.
 5            318.   Daily briefings have been changed from in-person to virtual for the same
 6     reason.
 7            319.   Custody staff must complete a form at the start of their shift acknowledging
 8     that they are not experiencing COVID-19 symptoms.
 9            320.   CHS staff were all required to sign an attestation at the start of the pandemic
10     or upon hire that they will not work if symptomatic.
11            321.   As I’ve said before, performing daily temperature and symptom checks in
12     Texas has resulted in identifying only a very small percentage of positives due to the high
13     number of asymptomatic cases.
14            322.   Relying on staff, particularly CHS staff who are medically trained, to
15     recognize and self-report symptoms is reasonable.
16            323.   Dr. Venters also recommends daily screening of inmate workers who work
17     outside their housing units.
18            324.   In many cases, inmate workers are housed together in the MCSO jails, and
19     inmates who work in congregate settings, such as the food factory, are housed and
20     transported together, reducing the potential for spread of COVID-19.
21            325.   For other inmate workers who work outside their housing units and encounter
22     a wider range of individuals with whom they do not live, the jails could consider
23     implementing a formalized process of screening workers before they leave for work, but
24     during my tours the security staff indicated that in practice they do observe inmate workers
25     for potential symptoms prior to escorting them to work.
26            326.   Inmates have been educated on potential symptoms have a variety of avenues
27     of reporting anything concerning.
28            327.   Additionally, Dr. Venters has not identified any specific examples of adverse

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 1     outcomes stemming from the current practice.
 2            Staff Testing
 3            328.   Dr. Venters recommends weekly staff testing for COVID-19 and requiring a
 4     rapid test prior to entering the facility for any staff member who has been exposed to a
 5     COVID-19 positive individual.
 6            329.   The CDC guidelines do recommend staff testing, but I have not seen any data
 7     showing the value of doing so, particularly when compared to the associated costs and
 8     staffing burden.
 9            330.   In Texas, we have scaled back our testing significantly and are now doing
10     only limited, random testing of staff.
11            331.   In speaking with MCSO and CHS, they considered implementing staff
12     testing, but found that there were too many encumbrances, including some financial and
13     political.
14            332.   At this stage in the pandemic, and with the ready access to information and
15     education on potential symptoms, it is reasonable to rely on personal accountability from
16     staff to self-report symptoms and potential exposures.
17            Staff PPE Practices in Quarantined Units
18            333.   Dr. Venters states that staff should change their gloves and gowns after
19     leaving a quarantine or medical isolation unit.
20            334.   I observed red bio containers in the sally ports of multiple housing units,
21     which are used for discarding used PPE.
22            335.   Fresh supplies of PPE are also kept in storage closets off the sally ports so
23     that staff can don new PPE when entering a unit.
24            336.   I did not see any instances of staff at any of the jails exiting quarantine or
25     medical observation units still wearing gowns or gloves.
26            Identification and Protection of High-Risk Patients
27            337.   Dr. Venters opines that it is essential for the jails “to have the ability to know
28     and follow high-risk patients” and recommends that health staff run a weekly list of people

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 1     meeting the CDC criteria.
 2            338.   I confirmed that CHS assesses patients at intake and assigns them either a red
 3     dot (high risk) or green dot (not high risk). The TechCare EHR includes flags for high-risk
 4     patients and those with chronic medical conditions that enables providers and nursing staff
 5     to easily identify high-risk patients for enhanced monitoring.
 6            339.   An advanced search can also be performed in TechCare to identify high-risk
 7     patients.
 8            340.   Individual providers, nurses, and CHTs I spoke with during my tours were
 9     knowledgeable about their patients, including which patients are at higher risk, and were
10     actively taking steps to monitor them.
11            341.   In light of this, I don’t believe that running a weekly list is necessary or that
12     it would yield better information than what is currently available to CHS staff.
13            342.   Dr. Venters further recommends that the jails review the vaccination status of
14     all intakes and conduct an in-person counseling encounter to address questions or concerns
15     regarding vaccination.
16            343.   This is being done by CHS providers during either the initial medical
17     evaluation at ITR for high-risk patients or during the first provider encounter with non-high-
18     risk patients that is conducted within the first 14 days after intake.
19            344.   Dr. Venters also recommends daily vitals and symptom checks for each high-
20     risk patient in quarantine.
21            345.   In speaking with nursing staff at the jails, this is already being done by CHTs,
22     and RNs are also checking in with each high-risk patient during twice daily medication
23     administration on the housing units. CHS has also recently hired a COVID-19 nurse who
24     will conduct additional monitoring of high-risk patients.
25            346.   Dr. Venters recommends modification of nursing assessments being
26     conducted for suspected or confirmed positives to include whether the person is high-risk
27     and modify the action steps to reflect a lower threshold for these patients.
28            347.   This is already being done. When high-risk patients test positive, they are

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 1     typically moved to the infirmary where they receive 24/7 monitoring, and there is an on-
 2     site provider who can order hospital transfer if needed. If they cannot be moved to the
 3     infirmary, providers do daily rounding on the housing units for high-risk COVID-19
 4     positive inmates.
 5            348.    Dr. Venters also suggests that the Veteran’s Administration has developed a
 6     useful tool for stratifying mortality risk. I have not personally used the tool or seen it
 7     employed in other correctional systems, but it is my understanding that Dr. Crutchfield has
 8     reviewed this tool and discussed its potential use with his providers.
 9            349.    While Dr. Venters asserts that he has investigated “numerous” deaths of high-
10     risk individuals in quarantine who were apparently ignored by nursing in other correctional
11     systems, there have been no COVID-19 related deaths at any of the MCSO facilities.
12            350.    Of the three total deaths that have occurred over the duration of the pandemic,
13     all of have occurred at an outside hospital. One of these inmates refused all treatment
14     recommended by the hospital. Another died of drug overdose with COVID-19 listed as a
15     contributing factor.
16            351.    In my opinion, the low death rate at MCSO due to COVID-19 is indicative of
17     a medical system that effectively identifies, monitors, and cares for its higher-risk patients.
18            Sick Call Requests
19            352.    Dr. Venters recommends that paper and electronic sick call requests should
20     be reviewed at the end of each day for expedited response to potential COVID-19
21     symptoms. In speaking with CHS staff, this is already being done.
22            Masks
23            353.    Dr. Venters states that when two or more cases have been detected among
24     inmates or staff during a 14-day period, KN95 masks should be provided for all inmates
25     and staff.
26            354.    This is far beyond CDC guidance, and Dr. Venters does not provide any
27     citation to any other source for this recommendation beyond his own personal opinion.
28            355.    He also opposes storing masks in bags that have been used for food due to the

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 1     potential for damage to the mask from exposure to moisture. Although this may have been
 2     an issue early on in the pandemic when mask supplies were more limited, inmates are
 3     regularly issued new surgical masks at all the jails, and I consistently heard from staff that
 4     an inmate can request a replacement for a mask that becomes damaged at any time.
 5            Testing
 6            356.   Dr. Venters recommends testing of all new intakes and inmates on quarantine
 7     status, with a minimum of two negative tests before clearing a quarantine period.
 8            357.   I confirmed that this is already being done – under the current procedures, all
 9     new intakes are cohorted and tested at least twice before the cohort can be cleared; all
10     quarantine units are similarly tested at least twice.
11            358.   Dr. Venters recommends that inmates who return from court or outside
12     medical appointments be administered rapid tests before returning to their housing areas.
13            359.   As with other items, much of what he recommends is hypothetical and not
14     based on any data. Administering rapid tests to returning inmates who have been out of the
15     facility for short durations and masked is not likely to identify COVID-19 infections, given
16     the available data on when viral loads become detectable with antigen testing.
17            Vaccinations
18            360.   Dr. Venters recommends improving vaccination rates, with special emphasis
19     on high-risk patients, through one-on-one encounters with health staff and in-person
20     briefings by health staff in housing areas to answer questions.
21            361.   This is already being done. Dr. Crutchfield encourages his providers to
22     counsel all patients, without regard to their risk status, regarding COVID-19 vaccinations
23     during each medical encounter. CHS staff is also available to answer inmate questions
24     during vaccination administration on the housing units.
25            362.   The inmate tablets also contain educational materials regarding the vaccines.
26            363.   Dr. Venters suggests that the jails should track vaccine dates and
27     offer/administer booster shots when inmates are eligible rather than upon request.
28            364.   This is also being done.           Dr. Crutchfield confirmed that vaccine

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 1     administration dates are recorded in the EHR, and inmates are automatically scheduled
 2     within the EHR for their next dose within 30 days.
 3            365.   Inmates also receive a paper CDC vaccination card, and vaccine
 4     administration is reported to the public health department, enabling future providers to view
 5     their vaccination status if the inmate loses the paper card.
 6            366.   Dr. Venters further recommends that the jail should prioritize boosters for
 7     high-risk patients and the “fourth-shot” for immunocompromised inmates.
 8            367.   In speaking with Dr. Crutchfield, CHS prioritized high-risk patients for
 9     vaccine administration earlier in the pandemic when vaccine supplies were more limited.
10            368.   CHS now has ample supplies of vaccines to accommodate any inmate, high-
11     risk or not, who wishes to receive a booster, and the “fourth-shot” can also be administered
12     as clinically indicated.
13            369.   Given the duration of the average stay of MCSO inmates is less than 30 days,
14     however, the demand for booster and “fourth-shot” is likely to remain low.
15            370.   Dr. Venters recommends that the jails have weekly vaccination clinics, which
16     CHS is doing.
17            371.   Unfortunately, vaccination rates in most jail settings are low, despite the best
18     efforts of both medical and security to increase patient acceptance.
19            372.   My conversations with Dr. Crutchfield and the CHS healthcare staff I spoke
20     with confirm that inmates are provided the necessary education and an abundance of
21     opportunities to receive a vaccine.
22            373.   Improving vaccination acceptance is a priority issue for CHS and MCSO, and
23     I believe they are making every reasonable effort to accomplish that goal.
24            Contract Tracing
25            374.   I agree with Dr. Venters that contact tracing is important.
26            375.   DON Gales explained that the Housing Management Committee meets daily
27     and utilizes an excel spreadsheet that he maintains to track positive test results, identify
28     close contacts, and initiate quarantines where needed.

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 1            376.   I find this to be a reasonable approach to contract tracing.
 2            COVID-19 Policies and Protocols
 3            377.   Dr. Venters states that the current version of the COVID-19 protocols should
 4     be available to staff and updates communicated by supervisors.
 5            378.   During my tour, I spoke with staff at each facility and confirmed that they had
 6     ready access to the current COVID-19 SOP and that any updates or changes were regularly
 7     communicated down the chain of command. I did not identify any deficiencies in this
 8     regard.
 9            Combining Cohorted Units
10            379.   Dr. Venters claims that when the jails combine cohort or quarantine units with
11     different end dates due to space constraints, they use the earlier of the two end dates.
12            380.   I confirmed with DON Gales, who is responsible for determining and
13     communicating end dates, as well with leadership at Towers Jail, where the majority of the
14     cohorts and quarantines are housed, that when combining units, the later end date is always
15     used so that all members of the combined unit are subject to the full cohort or quarantine
16     period.
17     Conclusion
18            381.   Since the CDC’s Interim Guidance was promulgated in response to the
19     COVID-19 pandemic, MCSO and CHS have largely implemented, and continue to actively
20     implement, the CDC’s recommendations and best practices pertaining to operational
21     preparedness, prevention, and management.
22            382.   The CDC’s guidance and recommendations are intended to mitigate, not
23     eliminate, the risk of COVID-19.
24            383.   Correctional facilities, as consistent with the community, will have to address
25     sporadic episodes of COVID-19 infections despite the best mitigation efforts. MCSO and
26     CHS have demonstrated the ability to manage these sporadic events when they arise.
27            384.   The jails have sufficient COVID-19 testing, medical resources, cohort and
28     isolation space, and staffing to ensure that appropriate assessment and care is provided.

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 1            385.   The COVID-19 mortality rate for MCSO inmates is dramatically lower than
 2     the current state and community metrics, reflecting a competent COVID-19 mitigation and
 3     healthcare program.
 4            386.   This also contradicts any claim that inmates are more likely to have an adverse
 5     outcome from a COVID-19 infection while in MCSO custody.
 6            387.   It is my opinion that on the whole, MCSO and CHS have successfully
 7     implemented CDC’s Interim Guidance for Jails and Detention Facilities.
 8            388.   In the few areas where they have not fully implemented the guidelines, they
 9     have done so based on a reasoned balancing of risk and available resources.
10            389.   They have also clearly demonstrated an organizational commitment to
11     modifying these practices as further information is learned and additional guidance is
12     developed.
13            390.   I recommend the continued implementation of the precautions already in
14     place at the jails with reasonable modifications as needed to address changing
15     circumstances and revisions to CDC and local public health guidance.
16            391.   I do not believe that the additional recommendations by Dr. Venters are
17     supported based on available CDC guidance and the inspection, but rather are based on
18     isolated and unverified inmate claims and his own personal standards and expectations,
19     unsupported by objective data or referenced standards.
20            392.   In my view, the healthcare and security staff at the jails operate with a high
21     degree of professionalism and integrity, and the clinical outcomes for the patients in their
22     charge reflect that commitment to excellence.
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ATTACHMENT       DESCRIPTION

     A           Curriculum Vitae




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                                              ATTACHMENT A




                                              ATTACHMENT A
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                                 CURRICULUM VITAE


NAME: Owen J. Murray, D.O., MBA

PRESENT POSITION AND ADDRESS:

    07/2009 - Present      Vice President, Offender Health Services
                           Correctional Managed Care
                           University of Texas Medical Branch at Galveston
                           301 University Boulevard
                           Galveston, Texas 77555-1008

BIOGRAPHICAL:
                           Office Phone: 936-494-4170
                           Cell Phone: 936-436-2046
                           Email: ojmurray@utmb.edu

EDUCATION:

    9/1979 – 5/1983        B.S. (Biology), Boston College, Chestnut Hill, Massachusetts

    8/1984 – 6/1988        D.O., Chicago College of Osteopathic Medicine, Chicago, Illinois

    7/1988 – 6/1989        Internship (Osteopathy), Chicago Osteopathic Hospital, Chicago,
                           Illinois

    7/1989 – 6/1991        Residency (Family Practice), Borgess Medical Center, Michigan
                           State University Kalamazoo Center for Medical Studies,
                           Kalamazoo, Michigan

    8/1997 – 8/1999        MBA, University of Houston–Clear Lake, Houston, Texas

BOARD CERTIFICATION:

    American Board of Family Medicine, July 12, 1991–present

    Certified Correctional Health Professional (National Commission on Correctional Health
    Care), 1996–2000

LICENSURE INFORMATION:

    Texas Medical Board: License no. J8070 (Expiration date: 08/31/2021)


PROFESSIONAL WORK HISTORY AND TEACHING EXPERIENCE:




                                                                           MCSO-FENTY024776
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     1983–1984         Postgraduate Research Assistant (Molecular Biology)
                       Northwestern University, Chicago, Illinois

     1989–1991         Emergency Department Physician
                       Pipp Community Hospital, Plainwell, Michigan

     1989–1991         Coverage Physician
                       Kalamazoo Neuro Imaging, Kalamazoo, Michigan

     1991–1992         Division Physician
                       Cook County Department of Corrections, Chicago, Illinois

     1992–1993         Medical Director
                       Pontiac Correctional Center, Illinois Department of Corrections,
                       Pontiac, Illinois

     1991–1995         Medical Director
                       Western Illinois Correctional Center, Illinois Department of
                       Corrections, Mt. Sterling, Illinois

     1993–1994         Medical Director
                       Robinson Correctional Center, Illinois Department of Corrections,
                       Robinson, Illinois

     1995–2005         Medical Director
                       Correctional Managed Care, University of Texas Medical Branch
                       at Galveston

     1996–2001         Instructor in Institutional and Correctional Health
                       Department of Preventive Medicine and Community Health
                       University of Texas Medical Branch at Galveston

     2001–present      Assistant Professor (N-T Trk Clin)
                       Department of Preventive Medicine and Community Health
                       University of Texas Medical Branch at Galveston

     2005–2009         Executive Director for Clinical Services & Chief Physician
                       Executive, Correctional Managed Care
                       University of Texas Medical Branch at Galveston

     2009–present      Vice President, Offender Health Services
                       Correctional Managed Care, University of Texas Medical Branch
                       at Galveston

RESEARCH ACTIVITIES:

Owen J. Murray, D.O.                                                             2




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    A. Major Research Interests

            •   Medical and psychiatric disorders in the correctional setting
            •   Correctional health care utilization and delivery

    B. Extramural Funding

            2006                  Genzyme. CMC Operations. “SYNVISC Joint Injection
                                  Teaching.” Project Director.

            2012–2013             Texas Department of State Health Services/HRSA Subcontract.
                                  CMC Operations. “Texas DSHS Contract for Discharge
                                  Planning.” Project Director, $120,000.00/1yr.

COMMITTEE RESPONSIBILITIES:

     1996                      Committee to Revise Standards, National Commission on
                               Correctional Health Care

     1996–2001                 UTMB-CMC Utilization Review Committee

     1996–1998                 Chairman, UTMB-CMC Pharmacy & Therapeutics Committee

     1996–2008                 Chairman, UTMB-CMC Physician Peer Review Committee

     1997–1999                 UTMB Telemedicine Committee

     1997–1998                 Work Group on HIV/AIDS Education Programs (UTMB)

     2002–2005                 Chairman, UTMB-CMC System Leadership Council
     2009–2011

     2010–present              UTMB Strategic Executive Council

     2014–2015                 UTMB 340B Compliance Committee

     2015–2017                 Steering Committee, UTMB Training Council

OTHER PROFESSIONAL ACTIVITIES:

     Consultant, Cermak Health Services of Cook County Survey, National Commission on
     Correctional Health Care, Chicago, IL, January 1997.

     Member, Focus Group on Prison Health Care, National Institute of Corrections, U.S.
     Department of Justice, Washington, DC, August 1997.

Owen J. Murray, D.O.                                                                   3




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     Consultant, HIV Education Behind Bars, Meeting the Challenges in the Year 2000. World
     Health Direct, November 1999

     Course Director and Moderator, Managing HIV in the Correctional Setting [Series of CME-
     Accredited Conference Calls], World Health Direct, Ft. Lauderdale, FL, November 1999.

     Consultant, J Allen Correctional Healthcare Management, LLC, 2013–present.

     Elected to seat on American Correctional Association Commission on Accreditation for
     Corrections (Health Care) 2017–2021

MEMBERSHIP IN SCIENTIFIC SOCIETIES/PROFESSIONAL ORGANIZATIONS:

     American Academy of Family Physicians

     American Correctional Association

     Texas Osteopathic Medical Association

HONORS:

     Chief Resident, Family Practice Residency, Michigan State University Kalamazoo Center
     for Medical Studies, Borgess Medical Center (1990–1991)

     Resident Director of Recruiting, Family Practice Residency, Michigan State University
     Kalamazoo Center for Medical Studies, Borgess Medical Center (1989–1991)

     Illinois Department of Public Health Medical Student Scholarship, Chicago College of
     Osteopathic Medicine (1986–1989)

PUBLISHED:

A.   Articles in Peer-Reviewed Journals

      1.    Baillargeon J, Contreras S, Grady JJ, Black SA, Murray O. Compliance with
            antidepressant medication among prison inmates with depressive disorders.
            Psychiatric Services 51:1444–1446; 2000.
      2.    Baillargeon J, Ducate S, Pulvino J, Bradshaw P, Murray O, Olvera R. The
            association of psychiatric disorders and HIV infection in the correctional setting.
            Annals of Epidemiology 13:606–612; 2003.
      3.    Baillargeon J, Black SA, Leach CT, Jenson H, Pulvino J, Bradshaw P, Murray O.
            The infectious disease profile of Texas prison inmates. Preventive Medicine 38:607–
            612; 2004.



Owen J. Murray, D.O.                                                                       4




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      4.    Baillargeon J, Soloway RD, Paar D, Giordano TP, Murray O, Grady J, Williams B,
            Pulvino JS, Raimer BG. End-stage liver disease in a state prison population. Annals
            of Epidemiology 17:808–813; 2007.
      5.    Baillargeon J, Paar DP, Wu ZH, Giordano TP, Murray OJ, Raimer BG, Avery EN,
            Diamond PM, Pulvino JS. Psychiatric disorders, HIV infection, and HIV/hepatitis co-
            infection in the correctional setting. AIDS Care 20:124–129; 2008.
      6.    Baillargeon J, Thomas CR, Williams B, Begley CE, Sharma S, Pollock BH, Murray
            OJ, Pulvino JS, Raimer B. Medical emergency department utilization patterns among
            uninsured patients with psychiatric disorders. Psychiatric Services 59:808–811; 2008.
      7.    Murray OJ. Assessing demand for wheelchair use. Virtual Mentor 10:84–87; 2008.
      8.    Harzke AJ, Baillargeon J, Paar DP, Pulvino J, Murray OJ. Chronic liver disease
            mortality among male prison inmates in Texas, 1989–2003. American Journal of
            Gastroenterology 104:1414–1419; 2009.
      9.    Baillargeon J, Penn JV, Thomas CR, Temple JR, Baillargeon G, Murray OJ.
            Psychiatric disorders and suicide in the nation’s largest state prison system. Journal
            of the American Academy of Psychiatry and the Law 37:188–193; 2009.
      10.   Baillargeon J, Binswanger IA, Penn JV, Williams BA, Murray OJ. Psychiatric
            disorders and repeat incarcerations: The revolving prison door. American Journal of
            Psychiatry 166:103–109; 2009.
      11.   Raimer BG, Murray OJ, Pulvino JS. Health care in the Texas prison system: A
            looming fiscal crisis. Texas Public Health Journal 62(4):12–17; 2010.
      12.   Schneider BC, Harzke AJ, Ivanitskaya L, Murray OJ. Prioritization of inpatient
            hospital services to prisoners: A method for justifying care and costs. Journal of
            Health Care for the Poor and Underserved 25:863–876; 2014

B.   Other Publications

      1.    Murray OJ. Hurricane Rita leaves lessons in its wake [Guest Editorial]. CorrectCare
            20(1):3; 2006.
      2.    Murray OJ, Pulvino J, Baillargeon J, Paar D, Raimer BG. Managing hepatitis C in
            our prisons: Promises and challenges. CorrectCare 21(2):1, 16–17; 2007.
      3.    Murray OJ, Pulvino J, Baillargeon J, Paar D, Raimer BG. Treating all prisoners with
            hepatitis C may not be feasible. In: Langwith J, ed. Hepatitis: Perspectives on
            Diseases and Disorders. Farmington Hills, MI: Greenhaven Press; 2009: pp. 74–81.

C.   Abstracts

      1.    Li H, Dang M, Johnson CW, Appel DJ, Pulvino JS, Murray OJ, Johnson L, Chao
            GC, Calhoun JH, Clements LM, Raimer BG. Evaluation of preferences and attitudes
            toward telemedicine evaluation of diabetic retinopathy. Telemedicine Journal and e-
            Health 7(2):147; 2001.


Owen J. Murray, D.O.                                                                       5




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      2.    Li HK, Dang M, Uwaydat S, Horna J, Appel DJ, Pulvino JS, Murray OJ, Johnson L,
            Chao GC, Clements LM, Raimer BG. Operational challenges and outcomes of store-
            and-forward telemedicine evaluation of diabetic retinopathy in a prison health care
            system. Telemedicine Journal and e-Health 7(2):182; 2001.
      3.    Baillargeon J, Murray O, Pulvino J. Applying epidemiologic methods to the study of
            Texas prison inmates. Abstracts of the National Symposium on Correctional Health
            Care, Houston, Texas, September 2002.
      4.    Baillargeon J, Ducate S, Murray O, Pulvino, J. The association of HIV infection and
            psychiatric disorders among Texas prison inmates. Abstracts of the National
            Symposium on Correctional Health Care, Houston, Texas, September 2002.
      5.    Garza−Gutierrez G, Sharma G, Cardenas V, Baillargeon G, Murray O, Williams B,
            Baillargeon J. Use of intensive care at the end of life among a state prison population.
            American Journal of Respiratory and Critical Care Medicine 179:2009; A5226.
      6.    Raimer B, Murray O. Health care in the Texas prison system: A looming fiscal
            crisis. Proceedings of the 4th Academic and Health Policy Conference on
            Correctional Health, Boston, Massachusetts, March 10–11, 2011.
      7.    Tong EK, Zepeda SD, Gonzalez J, Sandmann RM, Fisher DR, Murray O, Khan J.
            Effectiveness of switching virologically suppressed HIV-infected patients from
            emtricitabine and emtricitabine-containing products to lamivudine. Presented at the
            Alcalde XXVII Southwestern Leadership Conference, San Marcos, Texas, April 24–
            25, 2013.

INVITED PRESENTATIONS:

     Comprehensive correctional pharmaceutical program. 1st Annual Health Care Education
     Program for Pharmaceutical Companies, Houston, Texas, November 1995

     Correctional managed health care. 19th National Conference on Correctional Health Care,
     Washington, DC, November 13–15, 1995.

     Fast food mentality in a managed care world. American Correctional Health Services
     Association Multidisciplinary Training Conference, Houston, Texas, February 1996.

     Correctional managed health care. 21st National Conference on Correctional Health Care,
     San Antonio, Texas, November 10–12, 1997.

     Primary approach to managing depression in a correctional environment. Prime Works
     Symposium, Houston, Texas, January 1998.

     Correctional managed health care. 22nd National Conference on Correctional Health Care,
     Long Beach, California, November 2–4, 1998.

     Improving care and lowering cost in a correctional medical facility. American Correctional
     Association Winter Conference, San Antonio, Texas, January 19–21, 1998.

Owen J. Murray, D.O.                                                                       6




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     CyberCare: The virtual physician’s office. The National Healthcare Congress, Miami,
     Florida, November 6, 1999.

     CyberCare: The correctional medical delivery systems of the future. 23rd National
     Conference on Correctional Health Care, Fort Lauderdale, Florida, November 8–10, 1999.

     HIV care in the Texas Department of Criminal Justice. Texas/Oklahoma AIDS Education
     and Training Center (AETC) HIV Conference, Austin, Texas, October 2003.

     Chronic care/disease case management. American Correctional Health Services Association
     Multidisciplinary Training Conference, Houston, Texas, March 25–28, 2004.

     HIV care in the Texas Department of Criminal Justice. Texas Department of State Health
     Services 14th Texas HIV-STD Conference, Austin, Texas, December 13–17, 2004.

     Addressing end stage liver disease. Hepatitis Summit (Sponsors: Texas Board of Criminal
     Justice & Correctional Managed Health Care Committee), Houston, Texas, September 7,
     2006.

     Texas Department of Criminal Justice healthcare and HIV programs. Department of State
     Health Services HIV/STD Program 15th Texas HIV-STD Conference, Austin, Texas,
     December 11–15, 2006.

     Correctional health: Disaster management preparedness [moderator & speaker]. American
     Correctional Association 2007 Winter Conference, Tampa, Florida, January 20–24, 2007.

     Developing a critical incident medical plan - from the healthcare administrator’s
     perspective [moderator]. American Correctional Association 2007 Winter Conference,
     Tampa, Florida, January 20–24, 2007.

     In omnia paratus—“Ready for anything” [moderator]. American Correctional Association
     2007 Summer Conference, Kansas City, Missouri, August 11–15, 2007.

     Cracks: Finding and fixing unintended and unfortunate places our patients fall. National
     Conference on Correctional Health Care. Chicago, Illinois, October 18–22, 2008.

     Telemedicine: Not just a subspecialty tool [with Stephen R. Smock and Glenn Hammack].
     National Commission on Correctional Health Care Updates in Correctional Health Care
     Conference, San Antonio, TX, May 19–22, 2012.

     Life in the big house: A look at medicine behind bars. UTMB Healthy Health Policy Lunch
     & Lecture Series, Galveston, TX, November 28, 2012.

     Cost savings and care innovations for prisoner health [with Matt McKillop and Aaron
     Edwards]. National Conference of State Legislatures Webinar, November 1, 2013.

Owen J. Murray, D.O.                                                                    7




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     Telehealth innovations–Transforming medical practice models [panel discussion with Kirk
     Gillis and Monica Fernandez]. American Osteopathic Association of Medical Informatics
     Conference, Seattle, WA, October 26, 2014.

     Tele-Health: Pioneering new models for care [moderator]. American Correctional
     Association 146th Congress of Correction, Boston, MA, August 6, 2016.

INVITED TESTIMONY

     UTMB Correctional Managed Care [joint presentation with William R. Elger]. Texas
     Senate Committee on Finance, Austin, TX, February 21, 2011.

     House Bill 25, correctional health care cost containment. Texas House of Representatives
     Corrections Committee, Austin, TX, June 7, 2011.

     UTMB Correctional Managed Care update. Texas Senate Committee on Finance, Austin,
     TX, July 9, 2012.

     Correctional Managed Health Care system. Texas House of Representatives Appropriations
     Subcommittee on Articles I, IV & V. Austin, TX, August 24, 2012.

     House Bill 512, relating to the eligibility of certain inmates for release on medically
     recommended intensive supervision. Texas House Corrections Committee, Austin, TX,
     March 13, 2013.

     Correctional Managed Health Care population and cost trends. Texas House of
     Representatives Appropriations Subcommittee on Articles I, IV & V and House Corrections
     Committee Joint Hearing, Austin, TX, May 29, 2014.

     Telemedicine in Correctional Managed Care & the UT System Virtual Health Network.
     Senate Committee on Health & Human Services, Austin, TX, June 16, 2016.

LITIGATION

Vice President UTMB CMC Cases: Deposed

 1. McCollum v. Livingston U.S.D.C. (S.D. Texas), Case No. 4:14-cv-03253; 2017 U.S. Dist.
    LEXIS 19602 2018
 2. Roppollo v. Linthicum U.S.D.C. (S.D. Tex.), Case No. 2:19-cv-00262
 3. Kazee, Inc. v Callender CIVIL ACTION NO. 4:19-CV-31-SDJ

Expert Witness Cases: Deposed
 4. Ashker v. Brown 4:09-cv-05796 (N.D. Cal.) 2018
 5. Lippert v. Ghosh, U.S.D.C. (N.D. Ill.), Case No. 1:10-cv-04603; 2017 U.S. Dist. LEXIS 646
 6. Kelvin Hernandez Roman, et al., v Chad F. Wolf, et al Case No. 5:20-cv-00768


Owen J. Murray, D.O.                                                                   8




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 7. Patrick Gayle, et al., v. Michael W. Meade et al. Case No. 20-21553-Civ-
    COOKE/GOODMAN
 8. Victor Antonio Parsons v. Charles L. Ryan No. 18-16358


General Expert Witness Litigation Work

 9. Plata v. Newsom No. 4:01-cv-01351-JST
 10. Estate of Gerardo Cruz-Sanchez v. United States of America Case No. 17-cv-569-AJB-NLS
 11. Jeremy Laintz v. Correctional Health Partners LLC, et al. Civil Action No. 18-cv-02122-
     RM-STV
 12. Ray Carpenter Jr. v. CoreCivic of Tennessee LLC. CV-19-16-GF-BMM
 13. Aristoteles Sanchez Martinez, et al., v. Michael Donahue Case No. 7:20-cv-00062 CDL-
     MSH
 14. Kelvin Hernandez Roman, et al., v. Chad F. Wolf et al. Case No. 5:20-cv-00768
 15. Veenaben Dhirubhai Patel, et al., v. William P. Barr et al. Case No. CV-20-00709-PHX-
     DLR
 16. Janet Malam, v. Rebecca Adducci, et al. Civil No. 20-10829
 17. United States of America v. Miami Dade County Case No. 13-21570-CIV ZLOCH
 18. NAACP v. Cooper, No. 20 CVS 500110
 19. Favian Busby, et al. V. Floyd Bonner Jr. et al. Case No. 2:20-cv-02359




Owen J. Murray, D.O.                                                                9




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                                                    EXHIBIT 3




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 1     Daniel P. Struck, Bar No. 012377
       Rachel Love, Bar No. 019881
 2     Nicholas D. Acedo, Bar No. 021644
       Ashlee B. Hesman, Bar No. 028874
 3     Kevin L. Nguyen, Bar No. 027870
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 6     rlove@strucklove.com
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 7     ahesman@strucklove.com
       knguyen@strucklove.com
 8
       Attorneys for Defendants-Respondents Sheriff
 9     Paul Penzone and Maricopa County
10                               UNITED STATES DISTRICT COURT
11                                      DISTRICT OF ARIZONA
12     Jason Fenty, et al.,                                NO. 2:20-cv-01192-PHX-SPL (JZB)
13                               Plaintiffs-Petitioners,
14                   v.                                          DECLARATION OF D.
                                                                   CRUTCHFIELD
15     Sheriff Paul Penzone, et al.,
16                            Defendants-Respondents.
17
18            I, D. Crutchfield, state the following based upon my personal knowledge.
19            1.      I am over the age of 18 years old and competent to testify to the matters set
20     forth in this Declaration based upon my own personal knowledge, my duties as Medical
21     Director for Correctional Health Services (“CHS”), and my review of the relevant
22     documents maintained by CHS in the usual course of business.
23            2.      Through the course of my role, I am familiar with CHS’ evolving policies and
24     procedures in response to the COVID-19 pandemic, along with the medical services
25     provided to inmates in the custody of the Maricopa County Sheriff’s Office (“MCSO”). I
26     have also reviewed the allegations made by Plaintiffs in their Complaint.
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 1            3.     I am a physician and have been the Medical Director at CHS since November
 2     2020. I was previously the Assistant Medical Director at CHS.
 3            4.     Prior to joining CHS, I was an Emergency Room Staff Physician for nearly
 4     20 years and in the United States Air Force Reserve Medical Service Corps for three years.
 5            5.     At CHS, I supervise the Assistant Medical Director, Dr. Gan, the quality
 6     manager/utilization manager, NP Taylor, and all of the medical providers.
 7            6.     CHS provides medical services to all MCSO inmates incarcerated at any of
 8     the MCSO Jails.
 9            7.     Throughout the course of the pandemic, I have regularly reviewed and relied
10     upon guidance from the Centers for Disease Control and Prevention (“CDC”), including the
11     CDC website and the CDC Interim Guidance for Prevention and Management of
12     Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities (“CDC
13     Interim Guidance”), to inform my decision-making. I also receive and regularly review
14     COVID-19 updates from the American Medical Association and various professional feeds
15     to which I subscribe, including Doximity and Medscape. Additionally, I have attended
16     several CDC and National Commission on Correctional Health Care (“NCCHC”) sessions
17     (both online and in-person) on COVID-19 vaccines and management of COVID-19 within
18     correctional and detention settings.
19            8.     Additionally, my colleagues at CHS and I regularly consult with the Maricopa
20     Department of Public Health regarding appropriate COVID-19 response operations.
21            9.     All documents attached to this Declaration are true and accurate copies of
22     documents generated and/or maintained in the normal course of CHS operations.
23     CDC Guidance
24            10.    The CDC first issued its Interim Guidance on March 23, 2020. The CDC has
25     subsequently issued revisions on July 14, 2020, February 19, 2021, May 6, 2021, June 9,
26     2021, February 10, 2022, and May 3, 2022.
27            11.    The May 3, 2022 revision is now titled “Guidance on Prevention and
28     Management of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention

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 1     Facilities” (“May 3, 2022 CDC Guidance”) and provides guidance for designing a “flexible,
 2     long-term” COVID-19 prevention plan that takes into account community COVID-19
 3     levels and facility-level factors. Attachment A is a true and correct copy of the May 3, 2022
 4     CDC Guidance.
 5            12.     The May 3, 2022 CDC Guidance recognizes that “[b]ecause of variations
 6     across facilities (e.g., differences in layout, infrastructure, security level, mission,
 7     population health needs, on-site healthcare, and staffing levels) and shifting epidemiologic
 8     trends due to new SARS-CoV-2 variants and other factors, there is no single COVID-19
 9     prevention plan that will apply across all facilities or time periods.”
10            13.     As with the prior revisions, the May 3, 2022 CDC Guidance notes that it “may
11     need to be adapted based on an individual facility’s physical space, staffing, population,
12     operations, history of SARS-CoV-2 outbreaks, community factors, and other resources and
13     conditions.”
14     CHS Standard Operating Procedures
15            14.     The CHS Infection Control Coordinator, Director of Nursing, and my
16     predecessor, Dr. Phillips, worked together with MCSO and Maricopa County Department
17     of Public Health to create a Standard Operating Procedure for CHS in response to the
18     COVID-19 pandemic, which was titled “SOP J-B-02-23 Management Plan for Novel
19     Coronavirus Disease” (“Management Plan SOP”). The first version of the Management
20     Plan SOP was issued on March 13, 2022, even before the CDC Interim Guidance.
21            15.     The Management Plan SOP is a comprehensive approach and provides CHS
22     with the tools and information necessary to prevent and mitigate spread of COVID-19
23     among staff and inmates. Components of the Management Plan SOP include educating on
24     COVID-19, identifying criteria for potential cases of COVID-19, and implementation of
25     surveillance, prevention, and control measures.
26            16.     The CHS Management Plan SOP has been revised six times (3/27/2020,
27     4/9/2020, 5/14/2020, 7/10/2020, 9/4/2020, and 2/8/2022) since the original March 13, 2020
28     version to reflect the implementation of, and subsequent revisions to, the CDC Interim

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 1     Guidance; guidance from other federal, state, and local agencies; development of testing,
 2     treatment, and vaccine technologies; and other rapidly evolving circumstances impacting
 3     jail and medical operations.
 4            17.    The most recent version was issued on February 8, 2022. See Attachment B,
 5     which is a true and correct copy of the February 8, 2022 Management Plan SOP.
 6            18.    All CHS staff are expected to review, understand, and comply with
 7     procedures identified in the Management Plan SOP.
 8            19.    Although the Management Plan SOP is not binding on MCSO staff, all
 9     housing decisions and inmate moves are made by a housing committee comprised of both
10     CHS and MCSO leadership in accordance with the procedures set forth in the Management
11     Plan SOP, and MCSO also follows CHS recommendations on COVID-19 testing, screening,
12     and prevention strategies.
13     Inmate Screening and Health Assessment
14            20.    Even before the start of the pandemic, all inmate intakes coming into MCSO
15     have been screened by CHS for medical and mental health conditions, current medications,
16     and disabilities. This intake screening includes full vitals.
17            21.    Beginning in March 2020, CHS developed and implemented additional intake
18     screening procedures to identify symptomatic inmates and those with potential exposure to
19     COVID-19. These procedures include symptom checks, in addition to the temperature
20     checks that have always been included as part of the intake screening.
21            22.    Any inmate who is identified during the initial intake screening as having a
22     medical condition or current medications is flagged and receives a prioritized health
23     assessment. Approximately 70% or more of the incoming MCSO inmates are flagged.
24            23.    During the health assessment, any chronic medical conditions are identified
25     and flagged, and the inmate is scheduled for regular follow-ups in the appropriate chronic
26     care clinic(s). These flags are readily visible when logging into an inmate’s chart in
27     TechCare.
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 1            24.    Because they have regular contacts with chronic care inmates, CHS providers
 2     and nursing staff become well acquainted with their medical conditions and risk factors.
 3     They know where their higher-risk patients are housed and proactively follow-up with them
 4     on a daily basis if their units are placed on quarantine for COVID-19. Higher-risk patients
 5     can also be moved to the infirmary, where they will receive 24/7 care.
 6            25.    Severely immunocompromised patients are generally housed in the infirmary
 7     throughout their incarceration at MCSO.
 8     Staff Screening
 9            26.    Early on in the pandemic, CHS and MCSO evaluated whether to conduct
10     symptom checks and temperature checks of all staff prior to entry at the facilities.
11            27.    CHS and MCSO were concerned that having large numbers of employees
12     congregating at a central point at shift changes would create potential for spread of COVID-
13     19.
14            28.    Additionally, temperature checks were expected to have limited utility in
15     identifying potential COVID-19 cases, given that fever may be present in a number of other
16     situations, and a number of COVID-19 positive individuals are not symptomatic. Balancing
17     the limited anticipated utility of the temperature checks with the heavy outlay of resources
18     that would be required to perform them (e.g., having CHS staff designated to cover each of
19     the employee entrance points at each facility, which would take them away from their
20     mission of treating patients), CHS and MCSO decided to rely on employee self-screening
21     and reporting.
22            29.    This is consistent with the CDC Interim Guidance, which includes a
23     recommendation that facilities may choose to utilize self-screening and/or virtual screening
24     of staff for COVID-19.
25            30.    This decision was also made in consultation with Maricopa County
26     Department of Public Health.
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 1     COVID-19 Testing
 2            31.    Initial testing for COVID-19 at the MCSO jails was conducted by CHS staff,
 3     and I personally participated in mass testing of all MCSO inmates in June and July 2020.
 4     These efforts kicked off in May 2020.
 5            32.    CHS also issued a Request for Proposal (“RFP”) to obtain COVID-19 testing
 6     services from a third-party vendor to enable CHS staff to focus their efforts on preventing
 7     and treating COVID-19 cases while continuing to provide general medical and mental
 8     health care to the MCSO inmate population.
 9            33.    CHS now contracts with CSRV to perform the majority of the COVID-19
10     testing in the MCSO jails. CSRV obtains the samples, and Arizona State University
11     (“ASU”) runs the lab tests.
12            34.    The vendor uses saliva PCR testing and comes on-site six days per week. Test
13     results are generally available within 24-36 hours.
14            35.    Each medical clinic also maintains a supply of rapid COVID-19 test kits that
15     can be used when clinically indicated.
16            36.    Starting in late June 2022, CHS will begin administering rapid COVID-19
17     tests to all intakes admitted to the jails following their initial court appearance. Any inmates
18     testing positive will be isolated and transferred to a medical observation unit or the
19     infirmary (for inmates at high risk of severe COVID-19). Inmates who refuse to test will
20     be placed in medical observation housing.
21            37.    CHS is currently finalizing the contract with a third-party vendor to perform
22     the rapid testing at intake.
23     COVID-19 Housing Strategies
24            38.    Beginning in the early phases of the pandemic, CHS and MCSO worked
25     together to create new housing categories to assist in mitigating the spread of COVID-19 in
26     the MCSO jails.
27            39.    These new housing categories include (1) intake cohort housing, which is
28     used to keep new intakes separate from the established jail population while they are

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 1     screened for potential COVID-19 infections; (2) quarantine housing, which is used to
 2     separate inmates who have been identified as having contact with a COVID-19 positive
 3     inmate while they are screened for potential COVID-19 infection; (3) medical observation
 4     (or medical isolation) housing, which is used to separate COVID-19 positive inmates and
 5     Persons Under Investigation (“PUI”) who are displaying COVID-19 symptoms or have a
 6     known or suspected exposure to COVID-19 until they recover in accordance with CDC
 7     guidelines or are cleared; (4) recovered housing, which is used for inmates who have
 8     recovered from a COVID-19 infection as defined by the CDC; (5) negative housing, which
 9     is used for inmates who went to medical observation and tested negative; and (6) quarantine
10     cleared housing, which is used for inmates who have completed a quarantine period without
11     additional positive patients being identified or have received two or more negative tests.
12            40.    COVID-19 positive inmates remain in medical observation housing until 10
13     days after symptom onset and they have been fever free for at least 24 hours. Severely ill
14     and immunocompromised inmates remain in medical observation for 21 days.
15            41.    Inmates who are placed in medical observation housing due to potential
16     exposure remain there for 10 days or until they receive a negative test.
17            42.    When CHS first implemented intake cohort and quarantine housing units,
18     consistent with CDC guidance, we used 14 days as the initial end point. We conducted
19     testing on day 4 or 5 and again on day 14.
20            43.    When CDC guidance changed to 10-day intake cohorting and quarantining in
21     the February 2022 revision, we followed suit. We have been conducting testing on day 4 or
22     5 and again on day 10.
23            44.    During the 30(b)(6) deposition of Maricopa County in which I testified on
24     behalf of CHS in this case, I misspoke when asked about the end dates for cohort or
25     quarantine housing units with two different end dates that are combined. While I stated that
26     combined units are deemed to have the least restrictive (i.e., the earlier) of the two end dates,
27     I was mistaken. In actuality, the latter of the two dates is used to ensure that the combined
28     cohort or quarantine unit receives the full recommended monitoring/testing period.

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 1            45.    The scenario of combining cohort housing units or quarantine housing units
 2     is generally rare; however, there have been times when it has been necessary to do so to
 3     open up pods to form cohorts of new intakes. This is due to the transient nature of the jail
 4     population. At MCSO, the average length of stay is less than 30 days. While cohort housing
 5     units are generally filled at or close to capacity before closing, over time inmates are
 6     released, leaving empty beds. An initial pod of 30 inmates may dwindle to 11, leaving more
 7     than half the beds empty. At the same time, another pod with inmates of the same
 8     classification level and with the same or similar cohort ending date may also have dropped
 9     to less than half capacity. If there are no empty pods in that same classification level, it may
10     be necessary to combine the two cohort pods to create an empty pod for incoming intakes.
11     The alternative would be to move the new intakes directly into general population without
12     knowing their COVID-19 status, which would be against CDC guidance, which would not
13     be clinically advisable or defensible.
14            46.    None of these decisions is taken lightly or on a whim. The housing committee
15     carefully weighs all available options and makes a reasoned decision based on the clinical
16     judgment of CHS and the security expertise of MCSO. Throughout the pandemic as new
17     situations like this have arisen, CHS has also consulted with Maricopa County Public Health
18     to get their guidance.
19            47.    Beginning in late June, and consistent with the revised May 3, 2022 version
20     of the CDC Guidance, CHS and MCSO are implementing universal testing at intake and
21     eliminating intake cohorting for inmates who test negative. Inmates who refuse to test or
22     who test positive at intake will be transferred to medical observation.
23     COVID-19 Vaccines
24            48.    CHS worked with MCSO to get vaccine educational materials made available
25     on the inmate tablets and posted in the housing units at the jails.
26            49.    These educational materials include handouts from the CDC website.
27     Attachments C and D are true and correct copies of the CDC handout (English and Spanish
28     versions) provided on the inmate tablets.

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 1            50.    I personally participated in the Pfizer vaccination trial and shared my
 2     experiences with the CHS providers and medical staff.
 3            51.    I also attended several workshops regarding vaccinations and developed a
 4     presentation for all CHS providers and staff regarding the available vaccinations.
 5     Attachment E is a true and correct copy of that presentation.
 6            52.    CHS staff and inmates were also provided vaccine information sheets from
 7     the respective vaccine manufacturers. Attachments F though J are true and correct copies
 8     of the manufacturers’ information sheets.
 9            53.    I also make sure when offering vaccines to explain the information provided
10     by the CDC and vaccine manufacturers in “lay” terms for the MCSO inmate population.
11            54.    At the beginning of vaccination administration availability, we received
12     limited supplies from the Arizona Department of Health Services (“ADHS”), and in
13     accordance with guidance from the CDC, we initially prioritized vaccinations for inmates
14     who were deemed to be at higher risk for adverse outcomes due to their age and/or medical
15     conditions.
16            55.    I created a report by running an advanced search in TechCare, the electronic
17     health record used by CHS, to identify these inmates.
18            56.    As soon as we were allocated more vaccines, we began offering them to all
19     interested inmates.
20            57.    During the initial vaccine rollout which occurred in late 2020 and early 2021,
21     in those housing units where security classifications allow for dayroom access, I made
22     presentations on the vaccines during vaccine clinics and answered any questions posed by
23     inmates, no matter how long it took. In maximum custody and segregation housing units
24     where inmates are not allowed open dayroom access, I went cell to cell during vaccine
25     clinics to explain the vaccines, answer questions, counsel on the benefits and any
26     contraindications, and offer the vaccine to all interested inmates.
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 1            58.    During the first several months after vaccines became available at MCSO, I
 2     held vaccine clinics nearly every day, as did several other members of the CHS
 3     administrative staff.
 4            59.    I also requested and received assistance from a group of Army National Guard
 5     medics, who canvassed the housing units, educated inmates, and administered the vaccines.
 6            60.    We still hold vaccine clinics nearly every week. I personally participated in
 7     most of them through December 2021. Now they are primarily run by our dedicated
 8     COVID-19 Nurse Practitioner with assistance from a License Practical Nurse. Site level
 9     staff also run local vaccine clinics as needed. During vaccine clinics, we also offer and
10     educate inmates on boosters.
11            61.    Inmates are asked about their COVID-19 vaccination status at intake and are
12     offered vaccines or boosters as applicable based on their prior vaccination history.
13            62.    Inmates who indicate an interest in vaccines or boosters at intake are
14     scheduled for the next vaccine clinic. An inmate who initially refuses the vaccine can later
15     request and receive one.
16            63.    Inmates can request a vaccine or booster through placing a health needs
17     request (HNR), during a sick call or chronic care appointment, or during a vaccine clinic.
18            64.    I regularly remind the CHS providers to discuss vaccines/boosters with all
19     patients during sick calls and chronic care appointments.
20            65.    ADHS determines our vaccine allocations. At first when vaccine supplies
21     were limited nationwide, we were primarily allocated the one-shot Johnson & Johnson
22     (“J&J”) vaccine, along with a smaller supply of Moderna.
23            66.    There are several clinical and practical benefits associated with the J&J
24     vaccine that made it a strong choice at the beginning of the vaccine rollout nationwide.
25            67.    The J&J vaccine was considered to be preferable in a jail setting, where the
26     population is transient, and the majority of inmates will not be in custody long enough to
27     complete the primary series of either of the mRNA (Moderna or Pfizer) vaccines.
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 1            68.    The J&J vaccine is also based on a more established vaccine technology,
 2     which can result in greater acceptance from individuals who are skeptical of the long-term
 3     implications of the newer mRNA vaccine technology used in both the Moderna and Pfizer
 4     vaccines.
 5            69.    While the J&J vaccine trials showed a lower efficacy rate than Moderna or
 6     Pfizer (approximately 70%, 94.1%, and 95%, respectively), the full immunity benefits are
 7     achieved sooner from the single-shot primary series, and the immunity afforded by the J&J
 8     vaccine does not wane as quickly as Moderna or Pfizer.
 9            70.    Earlier on in the vaccine administration process, CHS administered more
10     doses of the J&J vaccine than Moderna (approximately 70% versus 30%, respectively).
11            71.    As more information became available to the medical community regarding
12     the potential for development of rare but serious blood clotting disorders, particularly
13     among women, CHS gave first priority for its limited Moderna supplies to female inmates.
14            72.    Now that we have been allocated sufficient supplies of Moderna by ADHS,
15     we are almost exclusively administering Moderna. Consistent with CDC recommendations,
16     we will still administer the J&J vaccine to inmates who specifically request it.
17            73.    CHS is also offering boosters to all eligible inmates. Consistent with CDC
18     guidance, we allow for mixing and matching between vaccines, which enables us to offer
19     boosters to inmates who have had been previously administered the Pfizer vaccine before
20     entering MCSO custody.
21     Monoclonal Antibodies and Antivirals
22            74.    While there was initially no treatment available for COVID-19, the Food and
23     Drug Administration (FDA) issued emergency use authorizations (EUAs) for monoclonal
24     antibodies for treatment of mild-to-moderate COVID-19 in individuals who are at high risk
25     for progression to severe COVID-19.
26            75.    CHS applied for and was allocated doses of monoclonal antibodies by ADHS,
27     but before they could be prescribed for any MCSO inmates, the EUA for REGEN was
28     revoked because it has been found to not be effective against the Omicron variant.

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 1            76.     The FDA has also issued EUAs for several antivirals for use in patients with
 2     mild to moderate symptoms who are at high risk for progression to severe COVID-19.
 3            77.     Paxlovid is an oral medication which has significant interactions with a
 4     number of other drugs and is not recommended for use in patients with severe renal or
 5     hepatic impairment.
 6            78.     Remdesivir requires an intravenous infusion daily for three days, which is
 7     challenging in a jail setting.
 8            79.     Molnupiravir is an oral medication recommended by the CDC as an
 9     alternative where Paxlovid and Remdesivir are not available, feasible to use, or clinically
10     appropriate.
11            80.     CHS applied for and has received allocations of both Paxlovid and
12     Molnupiravir from ADHS. We initially ordered several doses of both antivirals for each
13     clinic and are able to order more at any time. We received our initial orders of Molnupiravir
14     in February 2022 and Paxlovid in April 2022. These doses were made immediately
15     available for prescription to eligible inmates.
16            81.     The initial guidance from ADHS and the CDC, which mirrors the criteria
17     identified in the EUAs, is that antivirals may be clinically indicated for inmates who are 50
18     years or older, with co-morbidities, and mild to moderate symptoms.
19            82.     To date, CHS has recommended treatment with antivirals to seven MCSO
20     inmates. Of these, four have completed treatment (three with Paxlovid and one with
21     Molnupiravir), another is beginning treatment with Paxlovid as of today, and two refused
22     the recommended treatment.
23            83.     The vast majority of the COVID-19 positives at MCSO in recent months have
24     been among young inmates with no co-morbidities who are either asymptomatic or only
25     experiencing minimal symptoms (e.g., headache, congestion).
26            84.     Our own experience at MCSO has been consistent with reported data that the
27     Omicron variant is more transmissible, but is not as virulent, as other variants.
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 1            85.     CHS continues to assess all COVID-19 positive patients for potential antiviral
 2     treatment and will prescribe them as clinically indicated; however, thus far there have not
 3     been many MCSO inmates who were determined by a treating provider to be a suitable
 4     candidate for antiviral therapy and who have accepted the offered antiviral therapy.
 5     COVID-19 Statistics/Outcomes
 6            86.     Throughout the course of the COVID-19 pandemic, there have been only
 7     three deaths of MCSO inmates that have been found to have been caused or contributed to
 8     by COVID-19. None of these deaths occurred at MCSO, but rather at outside hospitals.
 9            87.     Of these three, one decedent refused nearly all treatment, including high flow
10     oxygen, recommended by the outside hospital and elected against medical advice to accept
11     only comfort care/palliative measures. His causes of death were reported as pneumonia and
12     COVID-19.
13            88.     Another inmate died six days after his release from MCSO custody of a drug
14     overdose, with environmental heat exposure with hyperthermia, COVID-19, and
15     pneumonia listed as contributing causes.
16            89.     The third inmate had three causes of death: acute respiratory failure with
17     hypoxia, pneumonia, and COVID-19 with two contributing causes of death: paroxysmal
18     atrial fibrillation and type 2 diabetes.
19            90.     To date in 2022, we have administered 33,817 tests and retests, with 2,121
20     positive results. There have been no COVID-related hospitalizations or deaths of MCSO
21     inmates in 2022.
22            91.     In 2021, we administered 63,766 tests and retests, with 3,101 positive results.
23     There were two COVID-19-related hospitalizations, one death in which COVID-19 was
24     listed as the cause of death, and one death in which COVID-19 was a contributing factor.
25            92.     In 2020, we administered 27,756 tests and retests, with 1,871 positive results.
26     There were 0 hospitalizations and 0 deaths.
27            93.     I regularly review COVID-19 statistics for Maricopa County as part of my
28     duties. Maricopa County is currently reporting a 25% positivity rate. MCSO’s positivity

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 1     rate for the year is 6.27%. The County’s hospitalization rate through the pandemic is 5%.
 2     MCSO’s hospitalization rate is less than .05%.
 3               94.    MCSO’s mortality rate is significantly lower than the community rate in
 4     Maricopa County and demonstrates that the preventative strategies employed by CHS and
 5     MCSO are working.
 6     Named Plaintiffs
 7               95.    I have reviewed the named Plaintiffs’ medical records in TechCare for
 8     COVID-19 positive test results and associated care, as well as their COVID-19 vaccination
 9     status.
10               96.    Plaintiff Fenty tested positive for COVID-19 on August 5, 2020 and was
11     transferred from Watkins to medical observation at Lower Buckeye Jail. He did not report
12     any COVID-19 symptoms while in medical observation and was released from the unit on
13     August 15, 2020. Plaintiff Fenty refused the COVID-19 vaccine on 6/23/2021. Attachment
14     K is a true and correct copy of the vaccine refusal form he signed on that date. He was
15     released from MCSO custody on 12/02/2021.
16               97.    Plaintiff Stepter received his first dose of the Moderna vaccine on 02/17/2021
17     and his second dose on 03/17/2021. He was released from MCSO custody on 10/19/2021.
18               98.    Plaintiff Crough refused the vaccine on 4/30/21 but subsequently received
19     J&J on 5/4/2021. Plaintiff Crough was released on 5/11/2021.
20               99.    Plaintiff Scroggins received the J&J vaccine on 4/29/2021. Attachment L is
21     a true and correct copy of the vaccine consent form he filled out and signed on 4/28/2021.
22     Plaintiff Scroggins was released on 12/21/2021.
23               100.   Plaintiff Perez was transferred to Arizona Department of Corrections,
24     Rehabilitation and Reentry (“ADCRR”) custody on 4/29/2021 and received two doses of
25     Moderna while at ADCRR.
26               101.   Plaintiff Ochoa tested positive for COVID-19 on 7/7/2020 and was
27     asymptomatic. She received the J&J vaccine on 3/25/2021 and was released on 5/25/2021.
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 1     It is my understanding from counsel that Plaintiff Ochoa has been dismissed from this
 2     lawsuit.
 3            102.   Plaintiff Reason was released on probation on July 11, 2020. He was
 4     rebooked in April 2021 and received the J&J vaccine on 5/4/2021. He was transferred to
 5     ADCRR on 6/30/2021.
 6            103.   Plaintiff Tequida was released on 9/22/2020 before COVID-19 vaccines were
 7     available.
 8            104.   Plaintiff Avenenti tested positive for COVID-19 on 6/4/2020 and was
 9     asymptomatic. He was released on 10/23/2020 before COVID-19 vaccines were available.
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    INDEX OF EXHIBITS TO DR. CRUTCHFIELD’S DECLARATION

                       Fenty, et al. v. Penzone, et al.
                       No. 2:20-cv-01192-PHX-SPL

ATTACHMENT       DESCRIPTION

      A          SOP J-B-02-23 Management Plan for Novel Coronavirus
                 dated February 8, 2022
      B          Facts about COVID-19 vaccines (English)
      C          Facts about COVID-19 vaccines (Spanish)
      D          PowerPoint Presentation on Vaccinations
      E          Moderna Fact Sheet
      F          Moderna Fact Sheet for Providers
      G          Janssen Fact Sheet for Providers
      H          Pfizer Fact Sheet
      I          Pfizer Fact Sheet for Providers
      J          Fenty Refusal Form
      K          Scroggins Consent Form




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                                               ATTACHMENT A




                                               ATTACHMENT A
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                                    MARICOPA COUNTY CORRECTIONAL
                                         HEALTH SERVICES
                                        STANDARD OPERATING PROCEDURES


         TITLE OF PROCEDURE: SOP J-B-02-23 MANAGEMENT PLAN FOR
                             NOVEL CORONAVIRUS DISEASE

          CLINICAL POLICY: J-B-02 Infectious Disease Prevention and Control

          CHS has a comprehensive infection control program that includes surveillance, prevention,
          and control of communicable disease, which minimizes the incidence of infectious and
          communicable diseases among patients and staff. CHS has an exposure control plan
          approved by the Medical Director that is updated annually.

         REFERENCES:
                  •   NCCHC Standard J-B-02 Infectious Disease Prevention and Control
                  •   CHS Clinical Policies: J-B-02, Infectious Disease Prevention and Control
                  •   Maricopa County Department of Public Health, COVID-19 Testing:
                      Healthcare Provider Guidance, retrieved 8/2020
                  •   Maricopa County Department of Public Health, 2019 Novel Coronavirus Outbreak,
                      Update and Healthcare Provider Guidance, retrieved 7/2020
                  •   Centers for Disease Control and Prevention, Interim Guidance for Healthcare
                      Professionals, retrieved 7/2020 from https://www.cdc.gov/coronavirus/2019-
                      nCoV/clinical-criteria.html
                  •   Centers for Disease Control and Prevention, Interim Infection Prevention and
                      Control Recommendations for Patients with Suspected or Confirmed Coronavirus
                      Disease 2019 (COVID-19) in Healthcare Settings, retrieved 4/2020 from
                      https://www.cdc.gov/coronavirus/2019-ncov/infection-
                      control/controlrecommendations.html?CDC AA refVal=https%3A%2F%2Fwww.cdc
                      .gov%2Fcoronavirus%2F2019-ncov%2Fhcp%2Finfection-control.html
                  •   Centers for Disease Control and Prevention, Symptoms of Coronavirus, retrieved
                      5/2020 from https://www.cdc.gov/coronavirus/2019-ncov/symptoms-
                      testing/symptoms.html

          APPLICABILITY:

          Correctional Health Services (CHS) Staff




SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease (COVID-19)                                 1



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          PROCEDURE:


            A. Coronavirus disease 2019 or COVID-19 is a new respiratory virus first identified in
               Wuhan, China.
                       1) There are several known coronaviruses that infect people and usually only
                          cause mild respiratory disease, such as the common cold.
                       2) COVID-19 is thought to spread mainly through respiratory droplets produced
                          when an infected person coughs, sneezes, or talks.
                       3) Most people who contract COVID-19 will experience mild symptoms; however,
                          like the flu, individuals who have the highest risk for severe illness are older
                          adults and those with chronic conditions like heart or lung disease or diabetes.
                       4) Since the onset of this worldwide pandemic, several strains and mutations have
                          been identified. The most recent of these is now Omicron, which is much more
                          transmissible, but causes milder disease in general.
            B. Criteria for Persons Under Investigation (PUI) for COVID-19 include patients who
               have:
                       1) Fever (≥38°C, 100.4°F), OR
                       2) Symptoms of lower respiratory illness (cough or shortness of breath), OR
                       3) Close contact with a laboratory-confirmed COVID-19 patient within 14 days of
                          symptom onset.
                       4) In addition, criteria for PUI include one or more of the following symptoms:
                               •   Fever
                               •   Chills
                               •   Repeated shaking with chills
                               •   Muscle pain
                               •   Headache
                               •   Sore Throat
                               •   New loss of taste or smell
                               •   Congestion or runny nose
                               •   Nausea or vomiting
                               •   Diarrhea
                       5) Given the wide range of symptom presentations, CHS personnel should consider
                          patients with even mild symptoms as possible PUI.

            C. All inmates shall be screened for symptoms of COVID-19 upon arrival to the
               Maricopa County Sheriff’s Office (MCSO) jail facility.
                       1) This will take place at jail Intake or Self-Surrender.
                       2) If a patient in MCSO custody is awaiting transport to jail (from a medical or
                          psychiatric treatment facility, arrest location, or prison) and is complaining of
                          symptoms of fever, cough, shortness of breath, or other symptoms of acute
                          illness:
                               a) MCSO staff will contact the CHS facility nurse manager.
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                               b) The on duty CHS provider will be consulted if needed.
                               c) If the report from MCSO indicates a high suspicion for a possible COVID-
                                  19 infection, the CHS staff member will advise MCSO staff to provide the
                                  patient with a surgical mask during the transport. MCSO staff should also
                                  wear masks.
                               d) MCSO staff will notify CHS staff of the patient’s arrival and will await further
                                  instruction from CHS staff about where to evaluate the patient.
            D. Early isolation of the patient with suspected COVID-19
                       1) Patients are provided with a surgical mask upon entering the facility and
                          instructed on mask application, hand hygiene, and cough etiquette.
                       2) Patients who screen positive for being at risk for COVID-19 will be immediately
                          isolated in a private room and placed on droplet precautions, contact
                          precautions, and standard precautions. All such patients will be offered rapid
                          antigen testing.
                       3) All persons entering the suspected COVID-19 room shall wear at a minimum:
                                    1)   Surgical (medical) mask
                                    2)   Gown
                                    3)   Gloves
                                    4)   Face shield and/or eye protection
                       4) Only essential healthcare personnel with designated roles should enter the
                          patient’s room to evaluate or care for the patient.
                       5) The provider shall evaluate the patient and decide whether the patient is at risk
                          for COVID-19.
            E. Housing Options:

                  1) Medical Observation Housing:
                      Patients presenting with symptoms of a COVID-19 infection are to be transported to
                      a medical isolation unit wearing a surgical mask.
                       a) A ‘speed letter’ is created in Techcare, indicating ‘Medical Observation – Mask
                          Patient’, and transmitted to MCSO Classification.
                                    •    Patients at higher risk for complications (age >60 or diabetes, heart
                                         problems, lung problems, or other conditions that can lead to
                                         immunocompromise) will be housed in the Infirmary.
                                    •    Patients at lower risk for complications will be housed in a housing unit
                                         with cells designated for symptomatic patients.
                       b) COVID-19 testing will be offered to patients housed in Medical Observation
                          Housing.
                                    •    While awaiting the results of the COVID-19 test, the patient will remain
                                         housed alone in Medical Observation, in order to prevent the spread of
                                         a potential infection.
                       c) Patients who test positive for COVID-19 may be housed with other patients who
                          test positive for COVID-19.
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                                    •    In these situations, a ‘speed letter’ is created in Techcare, indicating
                                         ‘Medical Observation- Mask Patient. May Double Bunk’ and
                                         transmitted to MCSO Classification.
                       d) When entering the patient’s housing unit (and not entering the cell), a surgical
                          mask should be worn by CHS staff members. Disposable gloves should be worn
                          if the staff member will be touching anything.
                       e) Segregation checks will be performed per CHS Standard Operating Procedure J-
                          G-02 for patients housed in Medical Observation, using routine questions on the
                          Segregation Rounds form.
                                    •    Medical staff will check on each patient daily and ask about symptoms
                                         of fever, cough, shortness of breath, or any additional signs of acute
                                         illness.
                                    •    This information will be documented in a quick note in Techcare.
                                    •    The provider will be notified of any health concerns.
                       f) Daily temperature checks will be performed by a CHT or nurse. If the
                          patient must be brought out of their cell for the temperature check, then the
                          CHT/nurse shall wear appropriate PPE (surgical mask, gown, gloves, and
                          face shield/goggles).
                                    •    The temperature will be documented in Techcare.
                       g) Providers shall order medications to control fever (e.g., acetaminophen or
                          ibuprofen) and respiratory secretions (e.g., loratadine or cetirizine), when
                          indicated. Keep on Person (KOP) is preferred in patients who are not likely to
                          misuse their medications.
                       h) Differential diagnosis, in addition to COVID-19, should include other etiologies of
                          respiratory tract infections based on the clinical presentation of the patient.
                                    •    At the medical provider’s discretion, a nursing visit or provider visit can
                                         be scheduled to check on the clinical status of the patient. A visit should
                                         be initiated at the patient’s cell-front to determine whether the patient
                                         will need to be moved outside of their cell for further assessment.
                       i) Inmates/patients in Medical Observation housing are placed on Movement
                          Restriction, which prohibits their movement outside of the housing unit (including
                          court dates), except in the case of an emergency or a release date from custody.
                                    •    Patients who have previously tested positive for COVID-19 and
                                         become symptomatic again after 90 days for possible COVID-19
                                         should be placed in Medical Observation for testing and
                                         monitoring of symptoms.
                       j) Patients who refuse COVID-19 testing and have been in Medical Observation for
                          a period of 10 days (and are asymptomatic and afebrile) should be sent to
                          Cohort housing, where they will be reoffered testing.
             2) Medical Observation for patients with acute mental health needs:
                  Suicidal patients presenting with symptoms of a COVID-19 infection are to be
                  transported to a Medical Observation unit wearing a surgical mask.

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                       a) See Appendix A (‘COVID-19 Speed Letter Reference Guide) at the end of
                          this document for specific wording to use in speed letters for PUI on MHU
                          status.
                       b) Efforts to minimize patient contact with CHS and MCSO staff members, as well
                          as other inmates, should be made.
                                    •    MCSO should be notified about suicidal patients who meet criteria for a
                                         Person Under Investigation for COVID-19 symptoms.
                                    •    If a patient is actively self-harming, then the use of an injection for the
                                         treatment of agitation may be preferable to placement in a restraint bed,
                                         in order to reduce the risk of infection transmission.
                       c) When a suicidal patient who is a Person Under Investigation (or positive for
                          COVID-19) is housed in the MHU (Mental Health Unit) or Infirmary, then Level of
                          Care (LOC) assessments can be performed at a patient’s cell front, in order to
                          reduce the risk of infection transmission.
                                    •    However, daily temperature checks should be performed, if
                                         possible, by a CHT or nurse. If the patient must be brought out of
                                         their cell for the temperature check, then the CHT/nurse shall wear
                                         appropriate PPE (surgical mask, gown, gloves, and face
                                         shield/goggles).
                                    •    The temperature will be documented in Techcare.
                                    •    Per nursing/provider discretion, the patient may need to be brought out
                                         of their cell for further assessment, if their clinical status warrants this.

            3) ‘Close Contacts’ Prior to Incarceration:
                 Asymptomatic patients who were a ‘close contact’ (within 6 feet for longer than 10
                 minutes) prior to incarceration to an individual with COVID-19 will be offered rapid
                 antigen testing and if positive, or the test is refused, placed in Medical Observation.
                       a) A ‘speed letter’ is created in Techcare, indicating ‘Medical Observation- Mask
                          Patient’, and transmitted to MCSO Classification.
                       b) COVID-19 testing will be offered to patients housed in Medical Observation
                          Housing.
                       c) Segregation checks will be performed per CHS Standard Operating Procedure J-
                          G-02 for patients housed in Medical Observation, using routine questions on the
                          Segregation Rounds form.
                                    •    Medical staff will check on each patient daily and ask about symptoms
                                         of fever, cough, shortness of breath, or any additional signs of acute
                                         illness.
                                    •    This information will be documented in a quick note in Techcare.
                                    •    The provider will be notified of any health concerns.
                       d) Daily temperature checks will be performed by a CHT or nurse. If the
                          patient must be brought out of their cell for the temperature check, then the
                          CHT/nurse shall wear appropriate PPE (surgical mask, gown, gloves, and
                          face shield/goggles).
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                                    •    The temperature will be documented in Techcare.


              4) Cohort Housing:
                  MCSO places inmates who are new to jail (<14 days in custody) into ‘Cohort Housing’,
                  in order to keep new inmates, separate from the established population.
                       a) The purpose of ‘Cohort Housing’ is to prevent asymptomatic or pre-symptomatic
                          patients with COVID-19 from infecting inmates in the established population, per
                          CDC guidelines.
                       b) COVID-19 testing of individuals residing in Cohort Housing will be performed
                          based upon the recommendations of the Maricopa County Department of Public
                          Health.
                       c) Patients who present with symptoms of possible COVID-19 will be transferred to
                          Medical Observation housing for testing and monitoring, per provider order.
            5) Quarantine Housing:
                 Housing units will be placed on ‘Quarantine’ status if an inmate/patient who was housed
                 in that unit tests positive for COVID-19.
                       a) All inmates in the Quarantine housing unit may be offered COVID-19 testing if
                          symptomatic within 1-2 business days and isolated based on recommendations
                          from the Maricopa County Department of Public Health.
                       b) If additional inmate/patients test positive for COVID-19 in the Quarantine
                          Housing unit, the quarantine will reset to ‘Day 1’.
                       c) Quarantine status will be tentatively set for 30 days, which allows for 3
                          incubation periods of COVID-19 (each incubation period is 10 days).
                                    •    Quarantine status may end sooner than 30 days, if no other positive
                                         individuals in the housing unit are identified with COVID-19.
                                    •    Quarantine status may need to be extended beyond 30 days, if one or
                                         more individuals test positive at the end of the 30-day quarantine
                                         period.
                                    •    All inmates in the Quarantine housing unit will be offered COVID-19
                                         testing if the quarantine period is extended 2 or more times due to
                                         symptomatic cases being identified.
                       d) Inmates/patients who test positive for COVID-19 will be transported to Medical
                          Observation housing.
                       e) Inmates who refuse testing on day 10 in Quarantine housing will be moved to
                          Medical Observation for 10 days.
                                    •    Daily temperature checks and symptom assessments will be done.
                                    •    COVID-19 testing will be offered to inmates who refused testing in
                                         Quarantine housing.
                       f) Patients who must leave Quarantine housing for suicide watch will be upgraded
                          to medical observation and referred for COVID-19 testing ASAP. The MHU
                          medical provider(s) will work with the COVID-19 Nurse practitioner and Infection
SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease (COVID-19)                                        6



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                            Control to arrange that testing. Patient must remain on medical observation status
                            while in MHU until cleared by provider staff (as “NEGATIVE” or “RECOVERED.”
                            If a quarantine patient is being discharged from MHU, discharging provider and
                            RN on duty should confirm that the patient came to MHU from a quarantine, and
                            check that patient is not febrile or reporting COVID symptoms.
                            If these criteria are met, the patient should be discharged from medical
                            observation and may return to original quarantine (usually outside of MHU but
                            this could even apply to an MHU stepdown unit that is on quarantine).
                            If a quarantine patient, who is on medical observation in MHU, becomes
                            symptomatic or has concerning vital signs, that inmate should remain on medical
                            observation status regardless of whether they are staying or discharging from
                            MHU.
                                    •    Recommended speed letter verbiage: “Discharge from MHU.
                                         Discontinue medical observation. Inmate may return to quarantine.
                       g) Patients who must leave Quarantine housing for disciplinary reasons may be
                          offered a rapid antigen test and if positive or refuses testing admitted to Medical
                          Observation. This is in order to ensure that a patient exposed to COVID-19 is not
                          mixed in with unexposed individuals in general population.
                       h) Inmates/patients in Quarantine housing are placed on Movement Restriction,
                          which prohibits their movement outside of the housing unit (except court dates or
                          other essential appointments), except in the case of an emergency or a release
                          date from custody.
                       i) Quarantine housing status will only be discontinued by MCSO through direct
                          communication from CHS Infection Control.

              6) Recovered Housing:
                 This is a housing unit where patients who have tested positive for COVID-19 and have
                 recovered from the infection, based on CDC guidelines, are housed together. Since
                 these individuals have met requirements for recovery from COVID-19 per CDC criteria,
                 they are no longer on Movement Restriction.
                       a) Requirements for ‘Recovered Housing’:
                                    •    Positive COVID-19 test
                                    •    10 days have passed since the onset of symptoms
                                    •    At least 24 hours have passed since resolution of fever, and
                                         improvement of cough, shortness of breath, or other symptoms of
                                         acute illness.
                       b) Special Circumstances:
                                    •    Severely ill (Intensive Care Unit admission): the patient should be in
                                         Medical Observation for 20 days from the onset of symptoms.
                                    •    Immunocompromised: the patient should be in Medical Observation for
                                         20 days from the onset of symptoms (or, if asymptomatic, 20 days
                                         since the first positive test was done).

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                       c) A ‘speed letter’ is created in Techcare indicating ‘Discontinue Medical
                          Observation- Recovered’.

              7) 'Negative' Housing:

                       a) These units house inmates who went to Medical Observation and tested
                          negative one time.
                       b) They were released from Medical Observation after confirmation of the negative
                          test results and verification that there was no fever.
                       c) They are NOT on Movement Restriction.
                       d) They CANNOT mix with inmates from Quarantine Cleared houses.
                       e) For patients who tested negative for COVID-19 and are being released from
                          Medical Observation, the ‘speed letter’ should state, ‘Discontinue Medical
                          Observation- Negative’.
                                •    These patients cannot go to ‘Recovered Housing’, since they do not meet
                                     criteria for an individual who has recovered from a COVID-19 infection.

              8) 'Quarantine Cleared' Housing:

                       a) These units house inmates who have completed a ten-day quarantine period
                          without additional positive patients identified or had 2 or more negative COVID-
                          19 tests.
                       b) They are NOT on Movement Restriction.
                       c) They can only be in close proximity of other inmates from Quarantine Cleared
                          houses (including any time spent outside of their housing units).

              9) Inmates/patients who are eligible for Elective Surgeries, Extradition, or ‘Reach-Out’
                 (early release program) will be moved to Medical Observation as follows:
                       a) A ‘speed letter’ is created in Techcare, indicating ‘Medical Observation – Mask
                          Patient’, and transmitted to MCSO Classification.
                       b) Preoperative, Extradition, and Reach-Out inmates/patients must be housed
                          alone in Medical Observation.
                                    •    The move to Medical Observation will generally take place 3-5 days
                                         prior to the planned procedure or planned release.
                                    •    Identification of a patient’s status will be identified in the ‘notes’
                                         section of the Techcare queue, entitled ‘COVID-19/Med-
                                         Obs/Isolation’, as follows:
                                                    • ‘Preop’ for preoperative patients
                                                    • ‘Extradition’ for inmates awaiting extradition
                                                    • ‘Reach-Out’ for early release Reach-Out inmates
                       c) Coordination of preoperative patients will take place between CHS Utilization
                          Management and MCSO.

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                       d) Coordination of Extradition inmates will take place between the CHS Medical
                          Director or designee, transporting agency, and the receiving facility.
                       e) Coordination of Reach-Out patients will take place between the CHS Community
                          Transitions team and Maricopa County Adult Probation.
                       f) While awaiting the results of the COVID-19 test, the patient will remain housed
                          alone in Medical Observation, in order to prevent the spread of a potential
                          infection.
                       g) When entering the patient’s housing unit (and not entering the cell), a surgical
                          mask should be worn by CHS staff members. Disposable gloves should be worn
                          if the staff member will be touching anything. Segregation checks will be
                          performed per CHS Standard Operating Procedure J-G-02 for patients housed in
                          Medical Observation, using routine questions on the Segregation Rounds form.
                                    •    Medical staff will check on each patient daily and ask about symptoms
                                         of fever, cough, shortness of breath, or any additional signs of acute
                                         illness.
                                    •    This information will be documented in a quick note in Techcare.
                                    •    The provider will be notified of any health concerns.


                       h) Daily temperature checks will be performed by a CHT or nurse. If the patient
                          must be brought out of their cell for the temperature check, then the
                          CHT/nurse shall wear appropriate PPE (surgical mask, gown, gloves, and
                          face shield/goggles).
                                    •    The temperature will be documented in Techcare.
                       i) At the medical provider’s discretion, a nursing visit or provider visit can be
                          scheduled to check on the clinical status of the patient. A visit should be initiated
                          at the patient’s cell-front to determine whether the patient will need to be moved
                          outside of their cell for further assessment.
            F. Contact with confirmed COVID-19 or suspected COVID-19 in conjunction with
               aerosol-generating procedures:
                       a) When in a room with a patient with, or suspected to have, COVID- 19 and
                          aerosol-generating procedures (e.g., tracheal intubation, non-invasive
                          ventilation, tracheostomy, cardiopulmonary resuscitation, nebulizer therapy,
                          nasopharyngeal swab testing, manual ventilation before intubation,
                          bronchoscopy) are being performed, all healthcare personnel should wear:
                                    1)   N95 respirator
                                    2)   Gown
                                    3)   Gloves
                                    4)   Eye protection (e.g., goggles or face shield)
                       b) Because the administration of small volume nebulizers (SVN’s) is an aerosol-
                          generating procedure, efforts should be made to avoid this form of therapy in
                          Persons Under Investigation during the COVID-19 pandemic, if that patient’s
                          condition does not warrant this.
                                    1) Per provider order, alternative treatments (e.g., levalbuterol HFA) may
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                                         be prescribed.
                                    2) If an SVN is performed, then it should be done in a private room at a
                                       maximum distance from other people.
                                    3) After the treatment, the room should remain vacant for 1 hour.

            G.     Test Results:

                       a) CHS Infection Control (IC) will track results on COVID-19 testing and the
                          Business Integration Team (BIT) will update the patient’s medical record.
                          Notifications of the following people will take place via email Monday-Friday
                          except holidays: CHS Director, Medical Director, and the Directors of Nursing.
                       b) Patients who test positive for COVID-19 will remain in Medical Observation.
                                   •    The patient will be notified of their positive results by a nurse or provider
                                        as soon as possible, but within one business day of the test results
                                        being received from the lab.
                                   •    Patients who test negative for COVID-19 will be notified via paper
                                        notification-form is available in the ‘forms’ menu in Techcare.
                                   •    Patients with indeterminate test results should have the COVID-19 test
                                        reordered under the direction of CHS Infection Control. The need for
                                        repeat testing will be communicated with the personnel who will be
                                        reoffering the test to the patient.
                                   •    CHS IC will communicate information on positive test results to the
                                        designated MCSO contact.
                                   •    Transportation officers should wear a surgical mask, gown, gloves, and
                                        face shield or eye protection when transporting PUI and patients with a
                                        confirmed positive COVID-19 test.
                                   •    Movement restriction in patients who test positive for COVID-19 will be
                                        in place until:
                                                     i. 10 days have elapsed since the onset of symptoms (or, if
                                                        asymptomatic, 10 days since the first positive test was
                                                        done), AND
                                                    ii. At least 24 hours have passed since the resolution of fever
                                                        (including fever, chill, rigors, and body/muscle aches)
                                                        without the use of fever reducing medications AND
                                                        improvement of respiratory symptoms (including cough,
                                                        shortness of breath/difficulty breathing, sore throat, and
                                                        loss of taste or smell).
                                                   iii. Severely ill (Intensive Care Unit admission): the patient
                                                        should be in Medical Observation for 20 days from the
                                                        onset of symptoms.
                                                   iv. Immunocompromised: the patient should be in Medical
                                                       Observation for 20 days from the onset of symptoms (or, if
                                                       asymptomatic, 20 days since the first positive test was
                                                       done).
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                                   •    Release from Medical Observation will occur based on a nursing or
                                        provider assessment to screen for a fever, cough, shortness of breath,
                                        or other symptoms of acute illness. This visit will be documented in a
                                        SOAPE note or quick note in Techcare.

                       c) Patients who test negative for COVID-19 may be released to Negative housing,
                          if:
                                    1) At least 24 hours have passed since the resolution of fever (including
                                       fever, chill, rigors, and body/muscle aches) without the use of fever
                                       reducing medications AND improvement of respiratory symptoms
                                       (including cough, shortness of breath/difficulty breathing, sore throat,
                                       and loss of taste or smell).
                                    2) Per provider discretion, patients who have clinical or radiologic findings
                                       that are consistent with a COVID-19 infection, but have a negative test,
                                       should be placed in Medical Observation housing (Infirmary if
                                       symptoms warrant) for 10 days from the onset of symptoms.
                                          i. In addition, at least 24 hours must pass since the resolution of fever
                                             and improvement of respiratory symptoms.
                                    3) Patients will be notified of negative test results through a Patient
                                       Notification of Lab or X-ray Result form completed by the provider.
                       d) If a patient is asymptomatic and has a positive COVID-19 test:
                                    1) The patient should be isolated until at least 10 days have passed since
                                       the date of their first positive COVID-19 diagnostic test, assuming they
                                       have not developed symptoms since that last test.

                                    2) Immunocompromised: the patient should be in Medical Observation for
                                       20 days from the onset of symptoms (or, if asymptomatic, 20 days
                                       since the first positive test was done).
            H. Patient Tracking in Techcare:
                  Per provider order, patients who are transported to Medical Observation are admitted to
                  the ‘COVID-19 Med-Obs/Isolation’ queue in Techcare.
                       1) This queue is accessed under the ‘Group Management’ tab, then
                          ‘Admissions/Discharge’ tab.
                       2) The following individuals are admitted to the COVID-19 Med-Obs/Isolation
                          queue:
                                    a) Persons Under Investigation for COVID-19
                                    b) Persons who test positive for COVID-19
                                    c) Preoperative patients who are in Medical Observation for COVID-19
                                       screening and isolation.
                                    d) Extradition inmates who are in Medical Observation for COVID-19
                                       screening and isolation, awaiting transportation to another facility.
                                    e) Reach-Out patients who are in Medical Observation for COVID-19
                                       screening and isolation.
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                                    f) Patients in a Quarantine unit who need to go on suicide watch.
                                    g) Patients in a Quarantine unit who need to go to disciplinary restriction
                                       or administrative restriction housing per MCSO who refuse testing or
                                       test positive on a rapid test.
                                    h) Patients in a quarantine unit who refused a second (day 10) COVID-19
                                       test.
                       3) Admission to the COVID-19 Med-Obs/Isolation queue causes a quick note to
                          pop up. The documentation should indicate the reason that the patient is
                          being admitted to Medical Observation (e.g. ‘Person Under Investigation
                          for COVID-19’).
                                    a) The ‘timer’ should be set for 10 days. After 10 days, then the patient’s
                                       name is highlighted in red, indicating the upper limit of time that most
                                       patients would need to be in Medical Observation.
                                    b) In the ‘comments’ section, the reason that the patient is being admitted
                                       to Medical Observation should be documented.
                                    c) Discharge from the COVID-19 Med-Obs/Isolation queue takes place
                                       after a patient no longer needs to be in Medical Observation. A quick
                                       note will pop up. The documentation should indicate the reason that
                                       the patient is being discharged from Medical Observation (e.g. ‘10
                                       days have elapsed since positive COVID-19 test was obtained; afebrile
                                       for 24 hours and improvement or symptom-free for 72 hours’).

                       4) COVID-19 ‘flags’
                                    a) When a patient’s test results have arrived from the lab, the provider
                                       who is reviewing the results should document the results in a quick
                                       note, as well as starting a Techcare ‘flag’ with the results.
                                    b) The flags are as follows:
                                           1) ‘COVID-19 positive’ is used for patients who test positive for
                                              COVID-19.
                                           2) ‘COVID-19 negative’ is used for patients who test negative for
                                              COVID-19.
                                           3) Patients with pending test results or those who haven’t been
                                              tested should NOT have a flag marked.
                                           4) The flag expiration should be marked for 10 days after the
                                              test was obtained.
                                           Note: An expiration date is entered because a patient’s COVID-19
                                                 status can change over time.

            I. Infection Control (IC) Procedures:

                  Notification of confirmed COVID-19 cases:
                  Infection Control promptly notifies Maricopa County Sheriff’s Office (MCSO) of
                  suspected and/or confirmed COVID-19 cases. Information to be communicated includes
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                  patient name, booking number, housing location, and date of symptom onset.

                       a) MCSO Transportation is informed that suspected or confirmed patients are not
                          to be transported to court until cleared by CHS IC.
                       b) MCSO Transportation is instructed to wear a surgical mask during transportation
                          of patients.
                      c) MCSO email notifications.
                                    1)    Custody Region II Deputy Chief
                                    2)    Inmate Medical Services Commander
            J. COVID-19 Exposure Control:
                  The CHS Medical Director determines appropriate contact management and exposure
                  control procedures for confirmed COVID-19 cases.

            K. COVID-19 Exposed Patients (close contact):
                       1) Close contact is defined as:
                                    i.   Being within approximately 6 feet of a COVID-19 case for a prolonged
                                         period of time (longer than 10 minutes), OR
                                    ii. Having direct contact with infectious secretions of a COVID-19 case
                                        (e.g., being coughed on)
                       2) A list of patients with possible exposure to the patient with infectious COVID-19
                          is compiled by the MCSO Occupational Safety Division Office and the list is
                          forwarded to CHS Infection Control.
                       3) Housing units are changed to ‘Quarantine’ status when COVID-19 cases are
                          identified.
                       4) Movement restriction will be implemented for 10 days for asymptomatic contacts
                          of patients who were housed with a positive COVID-19 case.
                       5) Patients on movement restriction may seek out medical care as outlined in
                          Standard Operating Procedure J-E-07 (Non-Emergency Health Needs Request
                          and Services).
                       6) Infection Control notifies other agencies (e.g., Arizona Department of Corrections
                          [ADC]) of transferred patients who had a positive COVID-19 test prior to
                          transfer.
                       7) Infection Control notifies the Maricopa County Department of Public Health of
                          patients who had a positive COVID-19 test and were released to the community.
                       8) The COVID-19 protocol is discontinued at the direction of the CHS Medical
                          Director after consultation with Maricopa County Department of Public Health.
                       9) Infection Control notifies the Maricopa County Department of Public Health of
                          positive COVID-19 patients that are released from custody, prior to receiving the
                          lab results.
                                    a) MCSO will mask patient and transport to clinic area.
                                    b) Patient is then transported to the release area and housed in a single
                                       cell until released.
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                                    c) Infection Control to contact Maricopa County Public Health.
                                    d) Clinic Nurse notifies Infection Control when COVID-19 positive patients
                                       are released from custody.
              L. Release to Community:

                  Patient education is provided regarding self-quarantine and how to receive test results.
                  Patients released from custody should contact CHS Health Information Management by
                  visiting the CHS Website or by calling 602-876-9168 to request and make arrangements
                  to obtain copies of test results.

                       1) Positive COVID-19
                                    a) Patient is informed of quarantine days remaining until completion of
                                       protocol.
                                    b) Patient is instructed to remain on home isolation for 10 days after their
                                       COVID-19 testing AND until 24 hours after their fever has resolved
                                       and symptoms of acute infection are improved.
                       2) Under Medical Observation Protocol:
                                    a) Patient is informed of quarantine days remaining until completion of
                                       protocol.
                                    b) Patient is instructed to follow-up with their primary care provider if
                                       symptoms develop (fever, shortness of breath, cough).

            M. Homeless:
                       1) Infection Control will work with the CHS Community Transitions team on
                          placement options with community partners.
                       2) Patient is informed of quarantine days remaining until completion of protocol.
                       3) Patient is instructed to follow-up with a provider if symptoms develop (fever,
                          shortness of breath, cough).
                       4) Patient is instructed to remain in home isolation for 10 days after their COVID-19
                          testing AND until 24 hours after their fever resolves and symptoms of acute
                          infection are improved.
                       5) Community Transition Manager or designee receives the daily list, reviews the
                          list, and identifies those who reported homelessness.
                       6) SHIELD is reviewed for possible release dates – will be prioritized by next
                          court/release date.
                       7) Community Transitions staff informs eligible patients of services offered and gets
                          consent signed (if patient is agreeable).
                       8) Community Transitions staff sets up a courtesy release with the triage
                          transportation line.
                       9) Information will be shared with receiving agency with patients’ consent.
                       10) Patients are released with an education form and mask.


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            N. Release to Other Agencies:

                       1) Receiving agency is notified of the patient’s COVID-19 status.
                       2) If the receiving agency accepts the patient and assumes responsibility, then
                          proceed with transfer.
                       3) If the receiving agency declines the transfer, then continue protocol onsite that
                          was already established.

          O. Discontinuation of COVID 19 Pandemic Management Plan:
                       1) Infection Control notifies the CHS Medical Director of the status of patients at the
                          end of the incubation period.
                       2) The Medical Director or designee approves discontinuation of the COVID-19
                          Protocol.
                       3) Infection Control communicates the discontinuation of the COVID-19 protocol to
                          MCSO and CHS.
          P. Employee exposure:
                       1) An email from the office of the CHS Director is sent to CHS employees
                          regarding a potential contact.
                       2) CHS Human Resources is notified of any potential COVID-19 contact
                          immediately.
                       3) For Registry employees, CHS Infection Control notifies the Staffing Specialist,
                          and the Staffing Specialist notifies Registries of potential contact.
          Q. COVID 19 VACCINATION:

               1) In December 2020, the FDA granted Emergency Use Authorization (EUA) for two
                  COVID-19 vaccines. In February 2021, a third vaccine was also given EUA.

                        a) The first two vaccines are mRNA for the virus spike protein
                                   i.    Pfizer-BioNTech (Comirnaty)
                                  ii.    Moderna mRNA-1273
                        b) Janssen COVID-19 uses an adenovirus type 26 (Ad26) which delivers a piece
                           of viral DNA used to make the spike protein with the adenovirus modified so that
                           it cannot replicate within the human body to cause disease.
                        c) Multiple other varying vaccine candidates are currently in clinical trials or
                           approved in foreign countries.
                        d) Both currently available mRNA vaccines require a series of 2 injections spaced
                           3 to 4 weeks apart depending on the manufacturer.
                        e) Janssen requires only one dose administration.
                        f) Maximum immunity is not expected for five to six weeks following the initial
                           injection.



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                        g) Even with vaccination, it may still be possible to contract less severe disease or
                           spread the virus to others. Breakthrough cases are now seen more frequently
                           with the latest variant, omicron.
                        h) On November 19, 2021, The CDC endorsed the Advisory Committee on
                           Immunization Practices’ (ACIP) expanded recommendations for booster shots
                           to include all adults ages 18 years and older who received a Pfizer-BioNTech or
                           Moderna vaccine at least six months after their second dose. Shortly after, it
                           was recommended that those who had received the Janssen one time dose
                           vaccine could receive a booster two months after the primary vaccine. This can
                           be any of the approved or EUA vaccines.
                           (https://www.cdc.gov/media/releases/2021/s1119-booster-shots.html, n.d.)
               2) Vaccine availability was initially limited due to the expected high demand,
                  manufacturing, storage, and transportation limitations.
               3) The CDC prioritized groups to receive vaccination as it rolled out. i
                        a) Residents of correctional facilities are at higher risk given the congregate living
                           situation.
                        b) It will be the policy of CHS to offer vaccination series to all patients at their initial
                           health assessment.
                        c) Higher risk individuals due to age or underlying conditions will be prioritized to
                           receive the 1st vaccinations and booster doses. The goal will be to offer
                           vaccination facility wide as supply allows. The medical director will provide staff
                           with a list of high-risk patients to be prioritized for the vaccine administration.
                        d) Following completion of high-risk patient immunization, Infection Control will
                           provide lists of housing units to be offered mass vaccination or boosters.
                                       i.    Suggested order would be quarantine cleared housing closely
                                             followed by recovered housing and closed cohorts.

                                      ii.    New arrivals can be offered the vaccine at their initial health
                                             assessment. Providers are encouraged to offer vaccination to all
                                             patients seen for sick calls or other HNRs.

                                      iii.   Patients who initially decline vaccination should be encouraged to
                                             submit an HNR to request vaccination or booster dose. They are
                                             then admitted to the COVID-19 Vaccine admission queue in
                                             TechCare.

          R. PROCEDURE:
                1) Assess persons 18 years of age and older for vaccination with Moderna mRNA-1273
                   COVID-19 Vaccine based on the following criteria:
                           a)   Note complete 2-dose COVID-19 vaccination history, regardless of brand. If 2
                                doses of a same-brand or mixed-brand series have been administered, no
                                additional doses are recommended until sufficient time interval has passed for
                                booster dosing. Verification is done through ASIIS or CDC or out of state
                                public health vaccination card.


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                                    1.   If the recipient has received 1 previous dose of Moderna COVID-19
                                         Vaccine, a second dose of the same brand should be administered.
                                    2. This   vaccine is administered in a 2-dose series. Separate doses by at
                                         least 28 days.
                                    3.    Booster may be given six months after completing the primary series.
                           b)   Moderna COVID-19 Vaccine may now be administered at the same time as
                                other vaccines. Care should be taken to choose a separate injection site from
                                the other vaccination.
                           c)   Moderna COVID-19 Vaccine should be deferred for at least 90 days for
                                persons who received passive antibody therapy (monoclonal antibodies or
                                convalescent plasma) as part of COVID-19 treatment.
                2) Assess persons 12 years of age and older for vaccination with Pfizer-BioNTech
                   COVID-19 Vaccine based on the following criteria:
                           a)   Note complete 2-dose COVID-19 vaccination history, regardless of brand. If 2
                                doses of a same-brand or mixed-brand series have been administered, no
                                additional doses are recommended until sufficient time interval has passed for
                                booster dosing. Verification is done through ASIIS or CDC or out of state
                                public health vaccination card.
                           b)   If the recipient has received 1 previous dose of Pfizer-BioNTech COVID-19
                                Vaccine, the second dose of the same brand should be administered.
                           c)   This vaccine is administered in a 2-dose series. Separate doses by at least
                                21 days. Up to ten weeks after may be optimal.
                 3) Pfizer-BioNTech COVID-19 Vaccine may now be administered at the same time as
                    other vaccines or within 14 days of a previous vaccination. They should be
                    administered at a separate injection site from the other vaccine.
                 4) Pfizer-BioNTech COVID-19 Vaccine should be deferred for at least 90 days for
                    persons who received passive antibody therapy (monoclonal antibodies or
                    convalescent plasma) as part of COVID-19 treatment.
                                a) Booster may be given six months after completing the primary series.
                 5) Screen for contraindications and precautions to mRNA Vaccines:

                                a) Contraindications:

                                          i.    Severe allergic reaction (e.g., anaphylaxis) to a previous dose or
                                                component of either mRNA COVID-19 vaccine

                                         ii.    Immediate allergic reaction of any severity to a previous dose or
                                                component of an mRNA COVID-19 vaccine (including polyethylene
                                                glycol [PEG].

                                         iii.   Immediate allergic reaction of any severity to polysorbate (due to
                                                potential cross-reactive hypersensitivity with the vaccine ingredient
                                                PEG)

                                b) Precautions:
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                                           i.    History of an immediate allergic reaction to any other vaccine or
                                                 injectable therapy (i.e., intramuscular, intravenous, or
                                                 subcutaneous vaccines or therapies not related to a component of
                                                 mRNA COVID-19 vaccines or polysorbate)

                                    ii. Moderate to severe acute illness. Those patients reporting current
                                        fever, chills, cough, shortness of breath or difficulty breathing, fatigue,
                                        muscle or body aches, or loss of taste or smell should have
                                        vaccination deferred.

                                    iii. Patients with a bleeding disorder or taking a blood thinner may receive
                                         vaccination but should be instructed to hold firm pressure for at least
                                         two minutes and not to rub the area.

                                                 Note: ACIP recommends the following technique for intramuscular
                                                 vaccination in patients with bleeding disorders or taking blood thinners: a
                                                 fine-gauge needle (23-gauge or smaller caliber) should be used for the
                                                 vaccination, followed by firm pressure on the site, without rubbing, for at
                                                 least 2 minutes.

                                    iv. Do not vaccinate those who have tested positive for COVID-19 within
                                        the past ten days.

                 6) Assess persons 18 years of age and older for vaccination with Janssen COVID-19
                    Vaccine based on the following criteria:

                                a) Contraindication:
                                      i.        Do not administer the Janssen COVID-19 Vaccine to individuals with
                                                a known history of a severe allergic reaction (e.g., anaphylaxis) to
                                                any component of the Janssen COVID-19 Vaccine (see Full EUA
                                                Prescribing Information).

                                      ii. There are no data available on the use of the Janssen COVID-19
                                          Vaccine to complete a vaccination series initiated with another
                                          COVID-19 Vaccine, but mixing and matching vaccines is now
                                          considered acceptable. Booster may be given two months after the
                                          primary injection.

                                b) Precautions:

                                      i.        History of an immediate allergic reaction* to any other vaccine or
                                                injectable therapy (i.e., intramuscular, intravenous, or subcutaneous
                                                vaccines or therapies)
                                      ii. This includes persons with a reaction to a vaccine or injectable
                                          therapy that contains multiple components, one of which is
                                          polysorbate or another vaccine component, but for whom it is
                                          unknown which component elicited the immediate allergic reaction.
                                      iii. People with a contraindication to either mRNA COVID-19 vaccine
                                           have a precaution to Janssen COVID-19 Vaccine.
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                                      iv.     Moderate or severe acute illness

                                      v. Provide all recipients with a copy of the current federal Emergency
                                         Use Authorization (EUA) Fact Sheet for Recipients and Caregivers

                                                    a) https://www.fda.gov/media/144637/download for Moderna
                                                    b) https://www.fda.gov/media/144414/download for Pfizer
                                                    c) https://www.fda.gov/media/146305/download for Janssen

                                      vi. Secure written informed consent.
                 7) Prepare to administer the vaccine.
                                            1) If using Moderna:
                                                  i. Administer 0.5 mL of Moderna COVID-19 vaccine IM (22-25g.
                                                     1-1½” needle) in the deltoid muscle. For booster administer
                                                     0.25 mL in the deltoid muscle (OR)
                                            2) If using Pfizer:
                                                  i. Mix Pfizer-BioNTech COVID-19 Vaccine with 0.9% sodium
                                                     chloride (normal saline, preservative-free) diluent according to
                                                     the manufacturer’s instructions for purple cap or gray cap vials.
                                                     The gray cap formulation is not to be diluted. Follow
                                                     manufacturer’s guidance for storing/handling mixed vaccine
                                                  ii. Administer 0.3 mL Pfizer-BioNTech COVID-19 vaccine IM (22-
                                                      25g. 1-1½” needle) in the deltoid muscle. For booster
                                                      administer 0.3 mL IM (OR)

                                            3) If using Janssen (J&J):

                                                  i. Dose Preparation: The Janssen COVID-19 Vaccine is a
                                                     colorless to slightly yellow, clear to very opalescent
                                                     suspension. Visually inspect the Janssen COVID-19 Vaccine
                                                     vials for particulate matter and discoloration prior to
                                                     administration. If either of these conditions exists, do not
                                                     administer the vaccine.
                                                  ii. Verify the final dosing volume of 0.5 mL Administer the
                                                      Janssen COVID-19 Vaccine intramuscularly (22-25g. 1-1½”
                                                      needle). A booster dose of the Janssen vaccine is the same
                                                      amount.
                                                  iii. Follow the manufacturer's guidance for storing/handling
                                                       punctured vaccine vials.

                  8) Document each patient’s vaccine administration information and follow up in the
                     following place:

                                             i.   Techcare and Consent Form: Record the date the vaccine was
                                                  administered, the manufacturer and lot number, the vaccination
                                                  site and route, and the name and title of the person administering
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                                                the vaccine. If vaccine was not given, record the reason(s) for
                                                non-receipt of the vaccine (e.g., medical contraindication, patient
                                                refusal).
                                           ii. Vaccination record card: Date of vaccination, product
                                               name/manufacturer, lot number, and name/location of the
                                               administering clinic or healthcare professional. Give to the
                                               vaccine recipient.
                                           iii. Arizona State Immunization Information System (ASIIS) entry per
                                                protocol.
                                           iv. Additional preparation and administration information is available
                                               on the manufacturer’s website.

                  9) Be prepared for management of a medical emergency.

                                           a) Have the written emergency medical protocol available, as well as
                                              equipment and medications.

                                           b) Vaccination providers should observe patients after vaccination to
                                              monitor for the occurrence of immediate adverse reactions:

                                                        i.     30 minutes: Persons with a history of an immediate
                                                               allergic reaction of any severity to a vaccine or injectable
                                                               therapy and persons with a history of anaphylaxis due to
                                                               any cause.
                                                    ii.        15 minutes: All other persons.

                  10) Report adverse events to the Vaccine Adverse Event Reporting System (VAERS)
                     utilizing the online form or the downloadable PDF for all adverse reactions to the
                     vaccination and send a copy to Quality Management.

                                           a) While this vaccine is under Emergency Use Authorization (EUA),
                                              healthcare professionals are required to report to VAERS:

                                                   i.        Vaccine administration errors (whether associated with an
                                                             adverse event [AE] or not).
                                                   ii. Serious AEs (irrespective of attribution to vaccination)
                                                   iii. Multisystem inflammatory syndrome (MIS) in adults or
                                                        children.
                                                   iv. Cases of COVID-19 that result in hospitalization or death.
                                                   v. Any additional AEs and revised safety requirements per the
                                                      Food and Drug Administration’s conditions for use of an
                                                      authorized vaccine throughout the duration of the EUA.

                                           b) Healthcare professionals are encouraged to report to VAERS:


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                                                     i. Clinically important adverse events that occur after
                                                        vaccination, even if you are not sure whether the vaccine
                                                        caused the adverse event.
                                                    ii. Complete a Patient Safety Report


         __________________________
         I    https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/covid-19-vaccines
         II    https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations.html
         III   https://www.cdc.gov/mmwr/volumes/69/wr/mm6949e1.htm




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 DEFINITIONS:

 Airborne (Respiratory) Precautions: A method of infection control designed to reduce
 the risk of airborne transmission of infectious agents by dissemination of either airborne
 droplet nuclei (0.5 microns or smaller in size) of evaporated droplets that may remain
 suspended in the air for long periods of time, or of dust particles containing the infectious
 agent.

 Cohort Housing: In the context of the COVID-19 pandemic, this is a housing unit where
 asymptomatic inmates are housed for the first 14 days of incarceration. Cohort housing
 keeps pre-symptomatic/asymptomatic patients who may be infected with COVID-19
 from mixing with the established jail population. Testing is completed based on
 recommendations from Public Health. Cohort Housing units are NOT on Movement
 Restriction.

 Contact Precautions: A method of infection control designed to reduce the risk of
 transmission of epidemiologically important microorganisms by direct or indirect contact.

 COVID-19: A new coronavirus that has not been previously identified and causes a
 respiratory illness ranging from asymptomatic or mild upper respiratory illness to severe
 pneumonia, which can be fatal.

 Droplet Precautions: A method of infection control designed to reduce the risk of
 transmission of epidemiologically important microorganisms that can be transmitted by
 infectious droplets (large particle droplets, 0.5 microns or larger in size).

 Medical Observation Housing: In the context of the COVID-19 pandemic, this is a
 housing unit where Persons Under Investigation for COVID-19 are housed for
 monitoring of clinical status and for COVID-19 testing. Increased infection control
 measures have been established by CHS and MCSO for staff members who must come
 into contact with patients in Medical Observation housing. Medical Observation
 Housing units ARE on Movement Restriction.

 Negative Air Flow (NAF): NAF rooms are to be used for isolation of patients on
 “Airborne Precautions” (used for suspected or confirmed airborne infectious diseases
 except tuberculosis) or “Special Respiratory Precautions” (used for suspected or
 confirmed infectious tuberculosis).

 Negative Housing: In the context of the COVID-19 pandemic, this is a housing unit
 where patients are sent after they have had one negative COVID-19 test. Individuals are
 sent to a Negative Housing unit after confirmation of a negative COVID-19 test, as well
 as the absence of fevers or signs of illness. These inmates CANNOT be in close
 proximity with inmates from Quarantine Cleared Housing units. Negative Housing units
 are NOT on Movement Restriction.




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                        B) All Inmates – b.
                        C) Early isolation – f.
                        D) Test Results – b. iv., v., c. & d.
                        L) e. ii. 4, iii. 2
                        Appendix A– COVID-19 Testing Healthcare Provider
                        Guidance date modification from 3/27/20 to 4/13/20
                        Clinical Features 2nd row, 1st column (fever 1 “OR” from
                        “AND”
  7/10/20               Revisions: Multiple                                                7/10/20
                        See sections noted below:
                        A: a; b; c;
                        B: c; e;
                        C: a; e; f;
                        D: a; b; c; d; f;
                        E: a;
                        F: b;
                        H: a;
                        J: b; c; g;
                        N: e; ii,
                        Appendix A removed
 9/4/2020               Multiple Revisions See sections noted below:                       9/4/2020
                        E. Housing Options; 1-j, 2-a, 4-b, 6-b, 7a; b; c; d; e, 8-a; b;
                        c
                        G. Test Results: b
                        N-Release to Community
                        R-Employee exposure
                        Definitions: New and modified:
                        Cohort Housing, Medical Observation Housing, Negative
                        Housing, Recovered Housing, Quarantine Housing,
                        Quarantine Cleared Housing
                        NEW: Appendix A COVID 19 Speed Letter Reference
                        Guide
 2/8/2022               COVID-19 Testing and Mitigation Strategies in Light of             2/9/2022
                        Omicron
                        SOP J-B-02-23 MANAGEMENT PLAN FOR NOVEL
                        CORONAVIRUS DISEASE has been revised and updated in
                        consultation with Maricopa PHS and CHS Infection
                        Control.
                        Here is a brief summary of the major changes:

                        ITR Changes:
                        • Receiving Screening – Any individual identified as a
                            person under Investigation (PUI) based upon the
                            supplemental screening would be offered rapid
                            antigen testing
                                o Positives -> medical isolation
                                o Negative -> cohort housing
                        • Cohort Changes: No major changes, earlier testing will
                        be done
                        •Quarantine – period reduced to ten days from time of
SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease (COVID-19)
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                        exposure.
                        •Cleared or negative housing:
                            o Any individual in a cleared or negative housing
                                 unit with PUI symptoms would be tested with
                                 rapid antigen or PCR testing and isolated if
                                 positive.
                            o We would place that unit on quarantine for 10
                                 days but would only test any other further
                                 individuals exhibiting symptoms. The entire dorm
                                 would not be tested on exposure, only
                                 symptomatic patients.
                                     • The quarantine period would be
                                          extended another 10 days from each
                                          subsequent symptomatic positive case.
                            o We would test the entire dorm only if the
                                 quarantine period is extended two or more
                                 times. Only if an uncontrolled outbreak is
                                 identified within a housing unit would we test the
                                 entire unit.
                                     • All inhabitants would be instructed in
                                          mask wearing, and we would screen the
                                          unit for the medically vulnerable
                                          individuals for potential
                                          testing/treatment resulting from the
                                          close exposure.
                        •Medical isolation procedures for patients going to MHU
                        on suicide watch have been revised in consult with MHU
                        medical staff
                        •Patients coming from quarantine housing to ad seg/dis
                        seg will be offered rapid test and if negative will not need
                        medical observation status
                        •Transport while on quarantine -per MPHS we would not
                        recommend preventing inmates in a quarantined unit
                        from going to essential appointments, including court, as
                        long as they are asymptomatic and are wearing a highly
                        protective mask (N-95 or KN-95).
                        •The vaccine section has been revised to reflect booster
                        doses




SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease (COVID-19)
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                                                    Appendix A

                              COVID-19 Speed Letter Reference Guide

Admission to Medical Observation:
   A. Medical Patients:
        1) All patients entering Medical Observation should be admitted to the COVID-19 Med-
           Obs/Isolation queue in Techcare.
        2) A speed letter will pop up.
        3) Criteria for clinical decision-making are outlined in CHS SOP J-B-02-23 (Management Plan
           for Novel Coronavirus Disease).
        4) Speed letter orders should be written as follows:

                 a) ‘Medical Observation. Mask Patient’

                          o Applies to:
                               • Persons Under Investigation for COVID-19
                               • Preoperative patients
                               • Extradition inmates
                               • Reach Out inmates
                               • Inmates who refuse COVID-19 testing
                               • Inmates going to restricted housing from a Quarantine house
                                        o Disciplinary Restriction
                                        o Administrative Restriction

                 b) ‘Medical Observation. Mask Patient. May Double Bunk’
                      o Applies to:
                              • Confirmed Positive Cases of COVID-19

   B. Mental Health Unit Patients:
                 a) ‘Admit to MHU for potential suicide watch with 2 items, Medical Observation,
                    Mask Patient.’
                       o Applies to MHU status patients who are:
                               Confirmed Positive Cases of COVID-19
                               Persons Under Investigation for COVID-19
                               Quarantine patients (upgraded to Med Observation)

                 b) ‘Admit to MHU for potential suicide watch with 2 items.’

  SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease (COVID-19)
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                           o Applies to MHU status patients who are NOT:
                                 Confirmed Positive Cases of COVID-19
                                 Persons Under Investigation for COVID-19
                                 Quarantine patients

Discharge from Medical Observation:
   Medical Patients:
         1) Patients being released from Medical Observation should be discharged from the COVID-
            19 Med-Obs/Isolation queue.
         2) A speed letter will pop up.
         3) Criteria for clinical decision-making are outlined in CHS SOP J-B-02-23 (Management Plan
            for Novel Coronavirus Disease).
         4) Speed letter orders should be written as follows:

                  a) ‘Discontinue Medical Observation - Recovered’
                         o Applies to patients who are confirmed to have a positive COVID-19 test
                            and have recovered based on CDC criteria, as outlined in the SOP.

                  b) ‘Discontinue Medical Observation - Negative’
                         o Applies to patients with a negative COVID-19 test and have recovered
                            based on CDC criteria, as outlined in the SOP.

                  c) ‘Discontinue Medical Observation - Cohort Housing’
                         o Applies to patients who refused testing for the 14 days that they were in
                            Medical Observation housing.

   Mental Health Unit Patients:
                  a) ‘Discharge from MHU, still on Medical Observation, Mask Patient’
                        o Applies to patients leaving the MHU but needing to be housed in Medical
                            Observation.
                        o These patients will remain in the COVID-19 Med-Obs/Isolation queue.

                  b) ‘Discontinue Medical Observation-Recovered’
                         o Applies to patients who are confirmed to have a positive COVID-19 test
                            and have recovered based on CDC criteria, as outlined in the SOP.
                         o These patients will remain on MHU status until their psychiatric clinical
                            status changes.
                  c) ‘Discontinue Medical Observation- Negative’
                         o Applies to patients with a negative COVID-19 test and have recovered
                            based on CDC criteria, as outlined in the SOP.
                         o These patients will remain on MHU status until their psychiatric clinical
                            status changes.
   SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease (COVID-19)
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i
    https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations.html




SOP J-B-02-23 Management Plan for Novel/Coronavirus Disease (COVID-19)
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                                               ATTACHMENT B




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                                               ATTACHMENT D




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              COVID-19 Vaccines
              In December 2020, the FDA granted Emergency Use Authorization for two COVID-19 vaccines
                ◦ Pfizer-BioNTech BNT162b2
                  ◦ First to be approved December 11, 2020
                  ◦ Approved for ages 16 and older, though testing in progress for 12-17 year olds
                  ◦ Efficacy 95% in preventing symptomatic COVID-19 Infection, 7 days after second dose
                  ◦ Two doses required, 21 days apart

                ◦ Moderna
                  ◦ Approved December 18, 2020
                  ◦ Age 18 and older
                  ◦ Efficacy 94.1%, 14 days after second dose
                  ◦ Also, two dosing schedule, 28 days apart




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              Moderna mRNA-1273 Trial
              Randomized, blinded, placebo-controlled trial
              30, 420 volunteers- 15,210 each vaccine and placebo group
               ◦ 2.2% had evidence of SARS-CoV-2 infection at baseline
               ◦ 185 cases symptomatic infection in placebo group
               ◦ 11 cases in the vaccine group
               ◦ SEVERE COVID-19 occurred in 30, one fatality, all in placebo group

                ◦ 94% efficacy


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              Trial Vaccine mRNA-1273
              Storage 2 degrees to 8 degrees C
              Sterile liquid at concentration of 0.2 mg/mL
              No dilution required
              Doses can be held in syringes for up to 8 hours at room temp prior to
              administration
              IM deltoid 28 days apart in the same arm
              Volume 0.5 ml containing 100 micrograms of mRNA-1273



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              Trial End Points
              Primary – efficacy in preventing a first occurrence of COVID-19 with onset at
              least 14 days post second injection
              Secondary – prevention of severe COVID-19
               ◦ Efficacy at preventing COVID-19 after single dose
               ◦ Less restrictive definition – having any symptom and a positive SARS-CoV-2
                 RT-PCR




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              Severe COVID-19 Definition
              RR 30 BPM or more
              HR >125 BPM
              O2 Sat 93% or less RA
              Respiratory distress
              Evidence of shock (SBP <90 diastolic <60 or need for vasopressors)
              Clinically significant acute renal, hepatic or neuro dysfunction
              ICU admission
              Death



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              Adverse Reactions - Solicited




              HTTPS://WWW.NEJM.ORG/DOI/FULL/10.1056/NEJMOA2035389
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              HTTPS://WWW.NEJM.ORG/DOI/FULL/10.1056/NEJMOA2035389
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              Safety
              Injection site events lasted mean of 2.6 after 1st and 2nd doses
                ◦ Grade 1 or 2
                ◦ Erythema, induration, tenderness resolved over 4-5 days
                ◦ First dose 54.9% vs 42.2% placebo
                ◦ Second dose 79.4% vs 36.5%




              HTTPS://WWW.NEJM.ORG/DOI/FULL/10.1056/NEJMOA2035389
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              Unsolicited Adverse Events
              Similar among both groups
                   ◦ 3 deaths in placebo
                   ◦ 2 in vaccine group
                ◦ Grade 3 AE's in each
                   ◦ 1.3% placebo
                   ◦ 1.5 % vaccine
                ◦ Medically attended AE's
                   ◦ 9.7% placebo
                   ◦ 9% Vaccine
                ◦ Hypersensitivity Reactions
                   ◦ 1.1 % placebo
                   ◦ 1.5% vaccine




              HTTPS://WWW.NEJM.ORG/DOI/FULL/10.1056/NEJMOA2035389
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              Unsolicited Adverse Events
              Bell's Palsy – 3 in vaccine, 1 placebo

              Discontinuation events after first dose
                ◦ 0.5% placebo
                ◦ 0.3% vaccine

              Severe events higher in vaccine group (71) than placebo (28)




              HTTPS://WWW.NEJM.ORG/DOI/FULL/10.1056/NEJMOA2035389
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              Efficacy
              94.1% Overall

              After first dose (14 days) 95.2%
                ◦ 225 cases in placebo group
                ◦ 11 in vaccine group


              Efficacy may wane over time! This was short term study




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              Post Approval Data –AE's
              As of January 10, 2021, a reported 4,041,396 first doses of Moderna COVID-19 vaccine had
              been administered in the United States

              Reports of 1,266 (0.03%) adverse events after receipt of Moderna COVID-19 vaccine were
              submitted to the Vaccine Adverse Event Reporting System (VAERS).

              108 case reports were identified for further review as possible cases of severe allergic
              reaction, including anaphylaxis

              10 cases were determined to be anaphylaxis (a rate of 2.5 anaphylaxis cases per million
              Moderna COVID-19 vaccine doses administered
               ◦ nine in persons with a documented history of allergies or allergic reactions, five of whom
                 had a previous history of anaphylaxis

              HTTPS://WWW.CDC.GOV/MMWR/VOLUMES/70/WR/MM7004E1.HTM?S_CID=MM7004E1_W
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              AE's
              median interval from vaccine receipt to symptom onset was 7.5 minutes
              (range = 1–45 minutes)




              HTTPS://WWW.CDC.GOV/MMWR/VOLUMES/70/WR/MM7004E1.HTM?S_CID=MM7004E1_W
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              A New Player
              February 27, 2021, the U.S. Food and Drug Administration issued an
              emergency use authorization
              Janssen COVID-19 Vaccine - individuals 18 years of age and older
              Janssen Biotech Inc.,
              a Janssen Pharmaceutical Company of Johnson & Johnson
               ◦ 39,321 participants in the ongoing randomized, placebo-controlled study
               ◦ South Africa, certain countries in South America, Mexico, and the U.S.



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              Janssen Vaccine
              Trial Data
                ◦ 19,630 vaccine
                ◦ 19,691 placebo

              Efficacy
                ◦ 67% effective in preventing moderate to severe/critical COVID-19 disease occurring at least 14 days
                  after vaccination
                ◦ 66% effective in preventing moderate to severe/critical disease at least 28 days after vaccination
                ◦ 77% effective in preventing severe/critical COVID-19 occurring at least 14 days after vaccination
                ◦ 85% effective in preventing severe/critical COVID-19 occurring at least 28 days after vaccination




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              Janssen Vaccine
              recombinant, replication-incompetent adenovirus serotype 26
              (Ad26) vector vaccine
               ◦ encoding the stabilized prefusion spike glycoprotein of SARS-
                 CoV-2
              Janssen COVID-19 Vaccine is a suspension for intramuscular
              injection administered as a single dose (0.5 mL)



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              Safety
              43,783 participants
                ◦ 21,895 in vaccine group

              side effects:
                ◦    pain at injection site
                ◦   headache, fatigue, muscle aches and nausea
                ◦   Most were mild to moderate in severity and lasted 1-2 days.
                ◦   hives reported in five vaccine recipients and 1 placebo recipient in the 7 days following vaccination
                ◦   one report of severe hypersensitivity reaction, not classified as anaphylaxis, beginning two days following
                    vaccination

              In ongoing clinical study in South Africa, one case of anaphylaxis has been reported following
              administration of the vaccine




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              Contraindications to Janssen

              Do not administer the Janssen COVID-19 Vaccine to individuals
              with a known history of a severe allergic reaction (e.g.,
              anaphylaxis) to a previous dose of the Janssen COVID-19 Vaccine
              or any component of the Janssen COVID-19 Vaccine




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                                                                   WARNINGS
              J&J
              Appropriate medical treatment to manage immediate allergic
              reactions must be immediately available in the event an acute
              anaphylactic reaction occurs following administration of the
              Janssen COVID-19 Vaccine




              AN ASTUTE GRASP OF THE OBVIOUS
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              AE's
              Thromboembolic events:

              Deep vein thrombosis: 6 events (2 serious) in vaccine recipients versus 2 events (1 serious) in
              placebo recipients

              Pulmonary embolism: 4 events (3 serious) in vaccine recipients versus 1 event (serious) in
              placebo recipients

              Transverse sinus thrombosis: 1 event (serious) in vaccine recipients versus 0 in placebo
              recipients




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              AE's
              Seizures:
              4 events (1 serious) in vaccine recipients versus 1 event (0 serious) in placebo recipients

              Tinnitus (ringing in one or both ears):
              6 events (0 serious) in vaccine recipients versus 0 in placebo recipients

              For these events, a causal relationship with the Janssen COVID -19 vaccine
              cannot be determined. The assessment of causality was confounded by the
              presence of underlying medical conditions that may have predisposed
              individuals to these events



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             FACT SHEET FOR RECIPIENTS AND CAREGIVERS
            EMERGENCY USE AUTHORIZATION (EUA) OF
THE MODERNA COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE 2019
       (COVID-19) IN INDIVIDUALS 18 YEARS OF AGE AND OLDER

You are being offered the Moderna COVID-19 Vaccine to prevent Coronavirus Disease 2019
(COVID-19) caused by SARS-CoV-2. This Fact Sheet contains information to help you
understand the risks and benefits of the Moderna COVID-19 Vaccine, which you may receive
because there is currently a pandemic of COVID-19.

The Moderna COVID-19 Vaccine is a vaccine and may prevent you from getting COVID-19.
There is no U.S. Food and Drug Administration (FDA) approved vaccine to prevent COVID-19.

Read this Fact Sheet for information about the Moderna COVID-19 Vaccine. Talk to the
vaccination provider if you have questions. It is your choice to receive the Moderna COVID-19
Vaccine.

The Moderna COVID-19 Vaccine is administered as a 2-dose series, 1 month apart, into the
muscle.

The Moderna COVID-19 Vaccine may not protect everyone.

This Fact Sheet may have been updated. For the most recent Fact Sheet, please visit
www.modernatx.com/covid19vaccine-eua.

WHAT YOU NEED TO KNOW BEFORE YOU GET THIS VACCINE

WHAT IS COVID-19?
COVID-19 is caused by a coronavirus called SARS-CoV-2. This type of coronavirus has not
been seen before. You can get COVID-19 through contact with another person who has the
virus. It is predominantly a respiratory illness that can affect other organs. People with COVID-
19 have had a wide range of symptoms reported, ranging from mild symptoms to severe illness.
Symptoms may appear 2 to 14 days after exposure to the virus. Symptoms may include: fever or
chills; cough; shortness of breath; fatigue; muscle or body aches; headache; new loss of taste or
smell; sore throat; congestion or runny nose; nausea or vomiting; diarrhea.

WHAT IS THE MODERNA COVID-19 VACCINE?
The Moderna COVID-19 Vaccine is an unapproved vaccine that may prevent COVID-19. There
is no FDA-approved vaccine to prevent COVID-19.

The FDA has authorized the emergency use of the Moderna COVID-19 Vaccine to prevent
COVID-19 in individuals 18 years of age and older under an Emergency Use Authorization
(EUA).

For more information on EUA, see the “What is an Emergency Use Authorization (EUA)?”
section at the end of this Fact Sheet.

Revised: Mar/26/2021                                                                            1


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WHAT SHOULD YOU MENTION TO YOUR VACCINATION PROVIDER BEFORE
YOU GET THE MODERNA COVID-19 VACCINE?
Tell your vaccination provider about all of your medical conditions, including if you:
    • have any allergies
    • have a fever
    • have a bleeding disorder or are on a blood thinner
    • are immunocompromised or are on a medicine that affects your immune system
    • are pregnant or plan to become pregnant
    • are breastfeeding
    • have received another COVID-19 vaccine

WHO SHOULD GET THE MODERNA COVID-19 VACCINE?
FDA has authorized the emergency use of the Moderna COVID-19 Vaccine in individuals 18
years of age and older.

WHO SHOULD NOT GET THE MODERNA COVID-19 VACCINE?
You should not get the Moderna COVID-19 Vaccine if you:
   • had a severe allergic reaction after a previous dose of this vaccine
   • had a severe allergic reaction to any ingredient of this vaccine

WHAT ARE THE INGREDIENTS IN THE MODERNA COVID-19 VACCINE?
The Moderna COVID-19 Vaccine contains the following ingredients: messenger ribonucleic acid
(mRNA), lipids (SM-102, polyethylene glycol [PEG] 2000 dimyristoyl glycerol [DMG],
cholesterol, and 1,2-distearoyl-sn-glycero-3-phosphocholine [DSPC]), tromethamine,
tromethamine hydrochloride, acetic acid, sodium acetate trihydrate, and sucrose.

HOW IS THE MODERNA COVID-19 VACCINE GIVEN?
The Moderna COVID-19 Vaccine will be given to you as an injection into the muscle.

The Moderna COVID-19 Vaccine vaccination series is 2 doses given 1 month apart.

If you receive one dose of the Moderna COVID-19 Vaccine, you should receive a second dose of
the same vaccine 1 month later to complete the vaccination series.

HAS THE MODERNA COVID-19 VACCINE BEEN USED BEFORE?
The Moderna COVID-19 Vaccine is an unapproved vaccine. In clinical trials, approximately
15,400 individuals 18 years of age and older have received at least 1 dose of the Moderna
COVID-19 Vaccine.

WHAT ARE THE BENEFITS OF THE MODERNA COVID-19 VACCINE?
In an ongoing clinical trial, the Moderna COVID-19 Vaccine has been shown to prevent
COVID-19 following 2 doses given 1 month apart. The duration of protection against COVID-19
is currently unknown.



Revised: Mar/26/2021                                                                        2


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WHAT ARE THE RISKS OF THE MODERNA COVID-19 VACCINE?
There is a remote chance that the Moderna COVID-19 Vaccine could cause a severe allergic
reaction. A severe allergic reaction would usually occur within a few minutes to one hour after
getting a dose of the Moderna COVID-19 Vaccine. For this reason, your vaccination provider
may ask you to stay at the place where you received your vaccine for monitoring after
vaccination. Signs of a severe allergic reaction can include:
    • Difficulty breathing
    • Swelling of your face and throat
    • A fast heartbeat
    • A bad rash all over your body
    • Dizziness and weakness

Side effects that have been reported in a clinical trial with the Moderna COVID-19 Vaccine
include:
    • Injection site reactions: pain, tenderness and swelling of the lymph nodes in the same arm
        of the injection, swelling (hardness), and redness
    • General side effects: fatigue, headache, muscle pain, joint pain, chills, nausea and
        vomiting, and fever

Side effects that have been reported during post-authorization use of the Moderna COVID-19
Vaccine include:

   •   Severe allergic reactions

These may not be all the possible side effects of the Moderna COVID-19 Vaccine. Serious and
unexpected side effects may occur. The Moderna COVID-19 Vaccine is still being studied in
clinical trials.

WHAT SHOULD I DO ABOUT SIDE EFFECTS?
If you experience a severe allergic reaction, call 9-1-1, or go to the nearest hospital.

Call the vaccination provider or your healthcare provider if you have any side effects that bother
you or do not go away.

Report vaccine side effects to FDA/CDC Vaccine Adverse Event Reporting System
(VAERS). The VAERS toll-free number is 1-800-822-7967 or report online to
https://vaers.hhs.gov/reportevent.html. Please include “Moderna COVID-19 Vaccine EUA” in
the first line of box #18 of the report form.

In addition, you can report side effects to ModernaTX, Inc. at 1-866-MODERNA (1-866-663-
3762).

You may also be given an option to enroll in v-safe. V-safe is a new voluntary smartphone-based
tool that uses text messaging and web surveys to check in with people who have been vaccinated
to identify potential side effects after COVID-19 vaccination. V-safe asks questions that help
CDC monitor the safety of COVID-19 vaccines. V-safe also provides second-dose reminders if

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needed and live telephone follow-up by CDC if participants report a significant health impact
following COVID-19 vaccination. For more information on how to sign up, visit:
www.cdc.gov/vsafe.

WHAT IF I DECIDE NOT TO GET THE MODERNA COVID-19 VACCINE?
It is your choice to receive or not receive the Moderna COVID-19 Vaccine. Should you decide
not to receive it, it will not change your standard medical care.

ARE OTHER CHOICES AVAILABLE FOR PREVENTING COVID-19 BESIDES
MODERNA COVID-19 VACCINE?
Currently, there is no FDA-approved alternative vaccine available for prevention of COVID-19.
Other vaccines to prevent COVID-19 may be available under Emergency Use Authorization.

CAN I RECEIVE THE MODERNA COVID-19 VACCINE WITH OTHER VACCINES?
There is no information on the use of the Moderna COVID-19 Vaccine with other vaccines.

WHAT IF I AM PREGNANT OR BREASTFEEDING?
If you are pregnant or breastfeeding, discuss your options with your healthcare provider.

WILL THE MODERNA COVID-19 VACCINE GIVE ME COVID-19?
No. The Moderna COVID-19 Vaccine does not contain SARS-CoV-2 and cannot give you
COVID-19.

KEEP YOUR VACCINATION CARD
When you receive your first dose, you will get a vaccination card to show you when to return for
your second dose of the Moderna COVID-19 Vaccine. Remember to bring your card when you
return.

ADDITIONAL INFORMATION
If you have questions, visit the website or call the telephone number provided below.

To access the most recent Fact Sheets, please scan the QR code provided below.

    Moderna COVID-19 Vaccine website                           Telephone number
   www.modernatx.com/covid19vaccine-eua                        1-866-MODERNA
                                                                (1-866-663-3762)




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HOW CAN I LEARN MORE?
  • Ask the vaccination provider
  • Visit CDC at https://www.cdc.gov/coronavirus/2019-ncov/index.html
  • Visit FDA at https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-
    regulatory-and-policy-framework/emergency-use-authorization
  • Contact your state or local public health department

WHERE WILL MY VACCINATION INFORMATION BE RECORDED?
The vaccination provider may include your vaccination information in your state/local
jurisdiction’s Immunization Information System (IIS) or other designated system. This will
ensure that you receive the same vaccine when you return for the second dose. For more
information about IISs, visit: https://www.cdc.gov/vaccines/programs/iis/about.html.

CAN I BE CHARGED AN ADMINISTRATION FEE FOR RECEIPT OF THE COVID-19
VACCINE?
No. At this time, the provider cannot charge you for a vaccine dose and you cannot be charged
an out-of-pocket vaccine administration fee or any other fee if only receiving a COVID-19
vaccination. However, vaccination providers may seek appropriate reimbursement from a
program or plan that covers COVID-19 vaccine administration fees for the vaccine recipient
(private insurance, Medicare, Medicaid, HRSA COVID-19 Uninsured Program for non-insured
recipients).

WHERE CAN I REPORT CASES OF SUSPECTED FRAUD?
Individuals becoming aware of any potential violations of the CDC COVID-19 Vaccination
Program requirements are encouraged to report them to the Office of the Inspector General, U.S.
Department of Health and Human Services, at 1-800-HHS-TIPS or TIPS.HHS.GOV.

WHAT IS THE COUNTERMEASURES INJURY COMPENSATION PROGRAM?
The Countermeasures Injury Compensation Program (CICP) is a federal program that may help
pay for costs of medical care and other specific expenses of certain people who have been
seriously injured by certain medicines or vaccines, including this vaccine. Generally, a claim
must be submitted to the CICP within one (1) year from the date of receiving the vaccine. To
learn more about this program, visit www.hrsa.gov/cicp/ or call 1-855-266-2427.

WHAT IS AN EMERGENCY USE AUTHORIZATION (EUA)?
The United States FDA has made the Moderna COVID-19 Vaccine available under an
emergency access mechanism called an EUA. The EUA is supported by a Secretary of Health
and Human Services (HHS) declaration that circumstances exist to justify the emergency use of
drugs and biological products during the COVID-19 pandemic.

The Moderna COVID-19 Vaccine has not undergone the same type of review as an FDA-
approved or cleared product. FDA may issue an EUA when certain criteria are met, which
includes that there are no adequate, approved, and available alternatives. In addition, the FDA
decision is based on the totality of the scientific evidence available showing that the product may
be effective to prevent COVID-19 during the COVID-19 pandemic and that the known and
potential benefits of the product outweigh the known and potential risks of the product. All of

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                                               ATTACHMENT F




                                               ATTACHMENT F
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   FACT SHEET FOR HEALTHCARE PROVIDERS ADMINISTERING
            VACCINE (VACCINATION PROVIDERS)
            EMERGENCY USE AUTHORIZATION (EUA) OF
THE MODERNA COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE 2019
                           (COVID-19)

The U.S. Food and Drug Administration (FDA) has issued an Emergency Use Authorization
(EUA) to permit the emergency use of the unapproved product, MODERNA COVID-19
VACCINE, for active immunization to prevent COVID-19 in individuals 18 years of age and
older.

SUMMARY OF INSTRUCTIONS FOR COVID-19 VACCINATION PROVIDERS
Vaccination providers enrolled in the federal COVID-19 Vaccination Program must report all
vaccine administration errors, all serious adverse events, cases of Multisystem Inflammatory
Syndrome (MIS) in adults, and cases of COVID-19 that result in hospitalization or death
following administration of the Moderna COVID-19 Vaccine. See “MANDATORY
REQUIREMENTS FOR MODERNA COVID-19 VACCINE ADMINISTRATION UNDER
EMERGENCY USE AUTHORIZATION” for reporting requirements.

The Moderna COVID-19 Vaccine is a suspension for intramuscular injection administered as a
series of two doses (0.5 mL each) 1 month apart.

See this Fact Sheet for instructions for preparation and administration. This Fact Sheet may have
been updated. For the most recent Fact Sheet, please see www.modernatx.com/covid19vaccine-
eua.

For information on clinical trials that are testing the use of the Moderna COVID-19 Vaccine for
active immunization against COVID-19, please see www.clinicaltrials.gov.

DESCRIPTION OF COVID-19
Coronavirus disease 2019 (COVID-19) is an infectious disease caused by the novel coronavirus,
SARS-CoV-2, that appeared in late 2019. It is predominantly a respiratory illness that can affect
other organs. People with COVID-19 have reported a wide range of symptoms, ranging from
mild symptoms to severe illness. Symptoms may appear 2 to 14 days after exposure to the virus.
Symptoms may include: fever or chills; cough; shortness of breath; fatigue; muscle and body
aches; headache; new loss of taste or smell; sore throat; congestion or runny nose; nausea or
vomiting; diarrhea.

DOSAGE AND ADMINISTRATION

Storage and Handling
The information in this Fact Sheet supersedes the information on the vial and carton labels.

During storage, minimize exposure to room light.


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The Moderna COVID-19 Vaccine multiple-dose vials are stored frozen between -50º to -15ºC
(-58º to 5ºF). Store in the original carton to protect from light.

Do not store on dry ice or below -50ºC (-58ºF). Use of dry ice may subject vials to temperatures
colder than -50°C (-58°F).

Vials may be stored refrigerated between 2° to 8°C (36° to 46°F) for up to 30 days prior to first
use.

Vials may be stored between 8° to 25°C (46° to 77°F) for a total of 24 hours.

After the first dose has been withdrawn, the vial should be held between 2° to 25°C (36° to
77°F). Vials should be discarded 12 hours after the first puncture.

Thawed vials can be handled in room light conditions.

Do not refreeze once thawed.

Transportation of Thawed Vials at 2° to 8°C (35° to 46°F)

If transport at -50° to -15°C (-58° to 5°F) is not feasible, available data support transportation of
one or more thawed vials for up to 12 hours at 2° to 8°C (35° to 46°F) when shipped using
shipping containers which have been qualified to maintain 2° to 8°C (35° to 46°F) and under
routine road and air transport conditions with shaking and vibration minimized. Once thawed and
transported at 2° to 8°C (35° to 46°F), vials should not be refrozen and should be stored at 2° to
8°C (35° to 46°F) until use.

Dosing and Schedule
The Moderna COVID-19 Vaccine is administered intramuscularly as a series of two doses (0.5
mL each) 1 month apart.

There are no data available on the interchangeability of the Moderna COVID-19 Vaccine with
other COVID-19 vaccines to complete the vaccination series. Individuals who have received one
dose of the Moderna COVID-19 Vaccine should receive a second dose of the Moderna COVID-
19 Vaccine to complete the vaccination series.

Dose Preparation
   • The Moderna COVID-19 Vaccine multiple-dose vials contain a frozen suspension that
      does not contain a preservative and must be thawed prior to administration.
   • Remove the required number of vial(s) from storage and thaw each vial before use
      following the instructions below.




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             Vial             Thaw in Refrigerator            Thaw at Room Temperature

        Maximum          Thaw in refrigerated conditions     Alternatively, thaw at room
        11-Dose Vial     between 2° to 8°C for 2 hours       temperature between 15° to
        (range: 10-11    and 30 minutes. Let each vial       25°C for 1 hour.
        doses)           stand at room temperature for 15
                         minutes before administering.
        Maximum          Thaw in refrigerated conditions     Alternatively, thaw at room
        15-Dose Vial     between 2° to 8°C for 3 hours.      temperature between 15° to
        (range: 13-15    Let each vial stand at room         25°C for 1 hour and 30
        doses)           temperature for 15 minutes          minutes.
                         before administering.

   •   After thawing, do not refreeze.
   •   Swirl vial gently after thawing and between each withdrawal. Do not shake. Do not
       dilute the vaccine.
   •   The Moderna COVID-19 Vaccine is a white to off-white suspension. It may contain
       white or translucent product-related particulates. Visually inspect the Moderna COVID-
       19 Vaccine vials for other particulate matter and/or discoloration prior to administration.
       If either of these conditions exists, the vaccine should not be administered.
   •   The Moderna COVID-19 Vaccine is supplied in two multiple-dose vial presentations:
           o A multiple-dose vial containing a maximum of 11 doses: range 10-11 doses (0.5
               mL each).
           o A multiple-dose vial containing a maximum of 15 doses: range 13-15 doses (0.5
               mL each).
   •   Depending on the syringes and needles used for each dose, there may not be sufficient
       volume to extract more than 10 doses from the maximum of 11 doses vial or more than
       13 doses from the maximum of 15 doses vial. Irrespective of the type of syringe and
       needle:
           o Each dose must contain 0.5 mL of vaccine.
           o If the amount of vaccine remaining in the vial cannot provide a full dose of 0.5
               mL, discard the vial and contents. Do not pool excess vaccine from multiple vials.
           o Pierce the stopper at a different site each time.
   •   After the first dose has been withdrawn, the vial should be held between 2° to 25°C (36°
       to 77°F). Record the date and time of first use on the Moderna COVID-19 Vaccine vial
       label. Discard vial after 12 hours. Do not refreeze.

Administration
Visually inspect each dose of the Moderna COVID-19 Vaccine in the dosing syringe prior to
administration. The white to off-white suspension may contain white or translucent product-
related particulates. During the visual inspection,
    • verify the final dosing volume of 0.5 mL.
    • confirm there are no other particulates and that no discoloration is observed.
    • do not administer if vaccine is discolored or contains other particulate matter.


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Administer the Moderna COVID-19 Vaccine intramuscularly.

CONTRAINDICATION
Do not administer the Moderna COVID-19 Vaccine to individuals with a known history of a
severe allergic reaction (e.g., anaphylaxis) to any component of the Moderna COVID-19
Vaccine (see Full EUA Prescribing Information).

WARNINGS
Appropriate medical treatment to manage immediate allergic reactions must be immediately
available in the event an acute anaphylactic reaction occurs following administration of the
Moderna COVID-19 Vaccine.

Monitor Moderna COVID-19 Vaccine recipients for the occurrence of immediate adverse
reactions according to the Centers for Disease Control and Prevention guidelines
(https://www.cdc.gov/vaccines/covid-19/clinical-considerations/managing-anaphylaxis.html).

Immunocompromised persons, including individuals receiving immunosuppressant therapy, may
have a diminished immune response to the Moderna COVID-19 Vaccine.

The Moderna COVID-19 Vaccine may not protect all vaccine recipients.

ADVERSE REACTIONS
Adverse reactions reported in a clinical trial following administration of the Moderna COVID-19
Vaccine include pain at the injection site, fatigue, headache, myalgia, arthralgia, chills,
nausea/vomiting, axillary swelling/tenderness, fever, swelling at the injection site, and erythema
at the injection site. (See Full EUA Prescribing Information)

Severe allergic reactions, including anaphylaxis, have been reported following administration of
the Moderna COVID-19 Vaccine during mass vaccination outside of clinical trials.

Additional adverse reactions, some of which may be serious, may become apparent with more
widespread use of the Moderna COVID-19 Vaccine.

USE WITH OTHER VACCINES
There is no information on the co-administration of the Moderna COVID-19 Vaccine with other
vaccines.

INFORMATION TO PROVIDE TO VACCINE RECIPIENTS/CAREGIVERS
As the vaccination provider, you must communicate to the recipient or their caregiver,
information consistent with the “Fact Sheet for Recipients and Caregivers” (and provide a copy
or direct the individual to the website www.modernatx.com/covid19vaccine-eua to obtain the
Fact Sheet) prior to the individual receiving each dose of the Moderna COVID-19 Vaccine,
including:
    • FDA has authorized the emergency use of the Moderna COVID-19 Vaccine, which is not
        an FDA-approved vaccine.
    • The recipient or their caregiver has the option to accept or refuse the Moderna COVID-19
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       Vaccine.
   •   The significant known and potential risks and benefits of the Moderna COVID-19
       Vaccine, and the extent to which such risks and benefits are unknown.
   •   Information about available alternative vaccines and the risks and benefits of those
       alternatives

For information on clinical trials that are evaluating the use of the Moderna COVID-19 Vaccine
to prevent COVID-19, please see www.clinicaltrials.gov.

Provide a vaccination card to the recipient or their caregiver with the date when the recipient
needs to return for the second dose of Moderna COVID-19 Vaccine.

Provide the v-safe information sheet to vaccine recipients/caregivers and encourage vaccine
recipients to participate in v-safe. V-safe is a new voluntary smartphone-based tool that uses text
messaging and web surveys to check in with people who have been vaccinated to identify
potential side effects after COVID-19 vaccination. V-safe asks questions that help CDC monitor
the safety of COVID-19 vaccines. V-safe also provides second-dose reminders if needed and live
telephone follow-up by CDC if participants report a significant health impact following COVID-
19 vaccination. For more information, visit: www.cdc.gov/vsafe.

MANDATORY REQUIREMENTS FOR MODERNA COVID-19 VACCINE
ADMINISTRATION UNDER EMERGENCY USE AUTHORIZATION
In order to mitigate the risks of using this unapproved product under EUA and to optimize the
potential benefit of the Moderna COVID-19 Vaccine, the following items are required. Use of
unapproved Moderna COVID-19 Vaccine for active immunization to prevent COVID-19 under
this EUA is limited to the following (all requirements must be met):

   1. The Moderna COVID-19 Vaccine is authorized for use in individuals 18 years of age and
      older.

   2. The vaccination provider must communicate to the individual receiving the Moderna
      COVID-19 Vaccine or their caregiver information consistent with the “Fact Sheet for
      Recipients and Caregivers” prior to the individual receiving the Moderna COVID-19
      Vaccine.

   3. The vaccination provider must include vaccination information in the state/local
      jurisdiction’s Immunization Information System (IIS) or other designated system.

   4. The vaccination provider is responsible for mandatory reporting of the following to the
      Vaccine Adverse Event Reporting System (VAERS):
         • vaccine administration errors whether or not associated with an adverse event,
         • serious adverse events* (irrespective of attribution to vaccination),
         • cases of Multisystem Inflammatory Syndrome (MIS) in adults, and
         • cases of COVID-19 that result in hospitalization or death.

       Complete and submit reports to VAERS online at https://vaers.hhs.gov/reportevent.html.
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       For further assistance with reporting to VAERS, call 1-800-822-7967. The reports should
       include the words “Moderna COVID-19 Vaccine EUA” in the description section of the
       report.

   5. The vaccination provider is responsible for responding to FDA requests for information
      about vaccine administration errors, adverse events, cases of MIS in adults, and cases of
      COVID-19 that result in hospitalization or death following administration of the Moderna
      COVID-19 Vaccine to recipients.

       *Serious adverse events are defined as:
           •   Death;
           •   A life-threatening adverse event;
           •   Inpatient hospitalization or prolongation of existing hospitalization;
           •   A persistent or significant incapacity or substantial disruption of the ability to
               conduct normal life functions;
           •   A congenital anomaly/birth defect;
           •   An important medical event that based on appropriate medical judgement may
               jeopardize the individual and may require medical or surgical intervention to
               prevent one of the outcomes listed above.

OTHER ADVERSE EVENT REPORTING TO VAERS AND MODERNATX, INC.
Vaccination providers may report to VAERS other adverse events that are not required to be
reported using the contact information above.

To the extent feasible, report adverse events to ModernaTX, Inc. using the contact information
below or by providing a copy of the VAERS form to ModernaTX, Inc.

           Email                          Fax number                     Telephone number

 ModernaPV@modernatx.com                 1-866-599-1342                  1-866-MODERNA
                                                                          (1-866-663-3762)

ADDITIONAL INFORMATION
For general questions, visit the website or call the telephone number provided below.

To access the most recent Moderna COVID-19 Vaccine Fact Sheets, please scan the QR code or
visit the website provided below.




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                  Website                                   Telephone number
 www.modernatx.com/covid19vaccine-eua                        1-866-MODERNA
                                                              (1-866-663-3762)




AVAILABLE ALTERNATIVES
There is no approved alternative vaccine to prevent COVID-19. There may be clinical trials or
availability under EUA of other COVID-19 vaccines.

FEDERAL COVID-19 VACCINATION PROGRAM
This vaccine is being made available for emergency use exclusively through the CDC COVID-
19 Vaccination Program (the Vaccination Program). Healthcare providers must enroll as
providers in the Vaccination Program and comply with the provider requirements. Vaccination
providers may not charge any fee for the vaccine and may not charge the vaccine recipient any
out-of-pocket charge for administration. However, vaccination providers may seek appropriate
reimbursement from a program or plan that covers COVID-19 vaccine administration fees for
the vaccine recipient (private insurance, Medicare, Medicaid, HRSA COVID-19 Uninsured
Program for non-insured recipients). For information regarding provider requirements and
enrollment in the CDC COVID-19 Vaccination Program, see
https://www.cdc.gov/vaccines/covid-19/provider-enrollment.html.

Individuals becoming aware of any potential violations of the CDC COVID-19 Vaccination
Program requirements are encouraged to report them to the Office of the Inspector General, U.S.
Department of Health and Human Services, at 1-800-HHS-TIPS or TIPS.HHS.GOV.

AUTHORITY FOR ISSUANCE OF THE EUA
The Secretary of the Department of Health and Human Services (HHS) has declared a public
health emergency that justifies the emergency use of drugs and biological products during the
COVID-19 Pandemic. In response, the FDA has issued an EUA for the unapproved product,
Moderna COVID-19 Vaccine, for active immunization to prevent COVID-19 in individuals 18
years of age and older.

FDA issued this EUA, based on ModernaTX, Inc.’s request and submitted data.

Although limited scientific information is available, based on the totality of the scientific
evidence available to date, it is reasonable to believe that the Moderna COVID-19 Vaccine may
be effective for the prevention of COVID-19 in individuals as specified in the Full EUA
Prescribing Information.

This EUA for the Moderna COVID-19 Vaccine will end when the Secretary of HHS determines
that the circumstances justifying the EUA no longer exist or when there is a change in the

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approval status of the product such that an EUA is no longer needed.

For additional information about Emergency Use Authorization, visit FDA at:
https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-regulatory-and-policy-
framework/emergency-use-authorization.

COUNTERMEASURES INJURY COMPENSATION PROGRAM
The Countermeasures Injury Compensation Program (CICP) is a federal program that has been
created to help pay for related costs of medical care and other specific expenses to compensate
people injured after use of certain medical countermeasures. Medical countermeasures are
specific vaccines, medications, devices, or other items used to prevent, diagnose, or treat the
public during a public health emergency or a security threat. For more information about CICP
regarding the vaccines to prevent COVID-19, visit http://www.hrsa.gov/cicp, email
cicp@hrsa.gov, or call: 1-855-266-2427.

Moderna US, Inc.
Cambridge, MA 02139

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Patent(s): www.modernatx.com/patents
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                          END SHORT VERSION FACT SHEET
            Long Version (Full EUA Prescribing Information) Begins On Next Page




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FULL EMERGENCY USE AUTHORIZATION (EUA)
PRESCRIBING INFORMATION

MODERNA COVID-19 VACCINE


FULL EUA PRESCRIBING INFORMATION: CONTENTS*       10 DRUG INTERACTIONS
1 AUTHORIZED USE                                  11 USE IN SPECIFIC POPULATIONS
2 DOSAGE AND ADMINISTRATION                       11.1 Pregnancy
2.1 Preparation for Administration                11.2 Lactation
2.2 Administration                                11.3 Pediatric Use
2.3 Dosing and Schedule                           11.4 Geriatric Use
3 DOSAGE FORMS AND STRENGTHS                      13 DESCRIPTION
4 CONTRAINDICATIONS                               14 CLINICAL PHARMACOLOGY
5 WARNINGS AND PRECAUTIONS                        14.1 Mechanism of Action
5.1 Management of Acute Allergic Reactions        18 CLINICAL TRIAL RESULTS AND SUPPORTING DATA
5.2 Altered Immunocompetence                         FOR EUA
5.3 Limitations of Vaccine Effectiveness          19 HOW SUPPLIED/STORAGE AND HANDLING
6 OVERALL SAFETY SUMMARY                          20 PATIENT COUNSELING INFORMATION
6.1 Clinical Trials Experience                    21 CONTACT INFORMATION
8 REQUIREMENTS AND INSTRUCTIONS FOR               *Sections or subsections omitted from the full prescribing
  REPORTING ADVERSE EVENTS AND VACCINE             information are not listed
  ADMINISTRATION ERRORS


______________________________________________________________________________

FULL EMERGENCY USE AUTHORIZATION (EUA) PRESCRIBING INFORMATION

1 AUTHORIZED USE

Moderna COVID-19 Vaccine is authorized for use under an Emergency Use Authorization
(EUA) for active immunization to prevent coronavirus disease 2019 (COVID-19) caused by
severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 18 years of age
and older.

2 DOSAGE AND ADMINISTRATION

For intramuscular injection only.

2.1 Preparation for Administration
    • The Moderna COVID-19 Vaccine multiple-dose vials contain a frozen suspension that
       does not contain a preservative and must be thawed prior to administration.
    • Remove the required number of vial(s) from storage and thaw each vial before use
       following the instructions below.




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             Vial              Thaw in Refrigerator           Thaw at Room Temperature

        Maximum          Thaw in refrigerated conditions     Alternatively, thaw at room
        11-Dose Vial     between 2° to 8°C for 2 hours       temperature between 15° to
        (range: 10-11    and 30 minutes. Let each vial       25°C for 1 hour.
        doses)           stand at room temperature for 15
                         minutes before administering.
        Maximum          Thaw in refrigerated conditions     Alternatively, thaw at room
        15-Dose Vial     between 2° to 8°C for 3 hours.      temperature between 15° to
        (range: 13-15    Let each vial stand at room         25°C for 1 hour and 30
        doses)           temperature for 15 minutes          minutes.
                         before administering.

   •   After thawing, do not refreeze.
   •   Swirl vial gently after thawing and between each withdrawal. Do not shake. Do not
       dilute the vaccine.
   •   The Moderna COVID-19 Vaccine is a white to off-white suspension. It may contain
       white or translucent product-related particulates. Visually inspect the Moderna COVID-
       19 Vaccine vials for other particulate matter and/or discoloration prior to administration.
       If either of these conditions exists, the vaccine should not be administered.
   •   The Moderna COVID-19 Vaccine is supplied in two multiple-dose vial presentations:
           o A multiple-dose vial containing a maximum of 11 doses: range 10-11 doses (0.5
               mL each).
           o A multiple-dose vial containing a maximum of 15 doses: range 13-15 doses (0.5
               mL each).
   •   Depending on the syringes and needles used for each dose, there may not be sufficient
       volume to extract more than 10 doses from the maximum of 11 doses vial or more than
       13 doses from the maximum of 15 doses vial. Irrespective of the type of syringe and
       needle:
           o Each dose must contain 0.5 mL of vaccine.
           o If the amount of vaccine remaining in the vial cannot provide a full dose of 0.5
               mL, discard the vial and contents. Do not pool excess vaccine from multiple vials.
           o Pierce the stopper at a different site each time.
   •   After the first dose has been withdrawn, the vial should be held between 2° to 25°C (36°
       to 77°F). Record the date and time of first use on the Moderna COVID-19 Vaccine vial
       label. Discard vial after 12 hours. Do not refreeze.

2.2 Administration
Visually inspect each dose of the Moderna COVID-19 Vaccine in the dosing syringe prior to
administration. The white to off-white suspension may contain white or translucent product-related
particulates. During the visual inspection,
    • verify the final dosing volume of 0.5 mL.
    • confirm there are no other particulates and that no discoloration is observed.
    • do not administer if vaccine is discolored or contains other particulate matter.


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Administer the Moderna COVID-19 Vaccine intramuscularly.

2.3 Dosing and Schedule
The Moderna COVID-19 Vaccine is administered intramuscularly as a series of two doses (0.5
mL each) 1 month apart.

There are no data available on the interchangeability of the Moderna COVID-19 Vaccine with
other COVID-19 vaccines to complete the vaccination series. Individuals who have received one
dose of Moderna COVID-19 Vaccine should receive a second dose of Moderna COVID-19
Vaccine to complete the vaccination series.

3 DOSAGE FORMS AND STRENGTHS

Moderna COVID-19 Vaccine is a suspension for intramuscular injection. A single dose is 0.5
mL.

4 CONTRAINDICATIONS

Do not administer the Moderna COVID-19 Vaccine to individuals with a known history of
severe allergic reaction (e.g., anaphylaxis) to any component of the Moderna COVID-19
Vaccine [see Description (13)].

5 WARNINGS AND PRECAUTIONS

5.1 Management of Acute Allergic Reactions

Appropriate medical treatment to manage immediate allergic reactions must be immediately
available in the event an acute anaphylactic reaction occurs following administration of the
Moderna COVID-19 Vaccine.

Monitor Moderna COVID-19 Vaccine recipients for the occurrence of immediate adverse
reactions according to the Centers for Disease Control and Prevention guidelines
(https://www.cdc.gov/vaccines/covid-19/clinical-considerations/managing-anaphylaxis.html).

5.2 Altered Immunocompetence
Immunocompromised persons, including individuals receiving immunosuppressive therapy, may
have a diminished response to the Moderna COVID-19 Vaccine.

5.3 Limitations of Vaccine Effectiveness
The Moderna COVID-19 Vaccine may not protect all vaccine recipients.

6 OVERALL SAFETY SUMMARY

It is MANDATORY for vaccination providers to report to the Vaccine Adverse Event
Reporting System (VAERS) all vaccine administration errors, all serious adverse events,
cases of Multi-inflammatory Syndrome (MIS) in adults, and hospitalized or fatal cases of
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COVID-19 following vaccination with the Moderna COVID-19 Vaccine. To the extent
feasible, provide a copy of the VAERS form to ModernaTX, Inc. Please see the
REQUIREMENTS AND INSTRUCTIONS FOR REPORTING ADVERSE EVENTS AND
VACCINE ADMINISTRATION ERRORS section for details on reporting to VAERS and
ModernaTX, Inc.

In clinical studies, the adverse reactions in participants 18 years of age and older were pain at the
injection site (92.0%), fatigue (70.0%), headache (64.7%), myalgia (61.5%), arthralgia (46.4%),
chills (45.4%), nausea/vomiting (23.0%), axillary swelling/tenderness (19.8%), fever (15.5%),
swelling at the injection site (14.7%), and erythema at the injection site (10.0%).

Severe allergic reactions, including anaphylaxis, have been reported following administration of
the Moderna COVID-19 Vaccine during mass vaccination outside of clinical trials.

6.1 Clinical Trials Experience
Because clinical trials are conducted under widely varying conditions, adverse reaction rates
observed in the clinical trials of a vaccine cannot be directly compared with rates in the clinical
trials of another vaccine and may not reflect the rates observed in practice.

Overall, 15,419 participants aged 18 years and older received at least one dose of Moderna
COVID-19 Vaccine in three clinical trials (NCT04283461, NCT04405076, and NCT04470427).

The safety of Moderna COVID-19 Vaccine was evaluated in an ongoing Phase 3 randomized,
placebo-controlled, observer-blind clinical trial conducted in the United States involving 30,351
participants 18 years of age and older who received at least one dose of Moderna COVID-19
Vaccine (n=15,185) or placebo (n=15,166) (NCT04470427). At the time of vaccination, the
mean age of the population was 52 years (range 18-95); 22,831 (75.2%) of participants were 18
to 64 years of age and 7,520 (24.8%) of participants were 65 years of age and older. Overall,
52.7% were male, 47.3% were female, 20.5% were Hispanic or Latino, 79.2% were White,
10.2% were African American, 4.6% were Asian, 0.8% were American Indian or Alaska Native,
0.2% were Native Hawaiian or Pacific Islander, 2.1% were other races, and 2.1% were
Multiracial. Demographic characteristics were similar among participants who received Moderna
COVID-19 Vaccine and those who received placebo.

Solicited Adverse Reactions

Data on solicited local and systemic adverse reactions and use of antipyretic medication were
collected in an electronic diary for 7 days following each injection (i.e., day of vaccination and
the next 6 days) among participants receiving Moderna COVID-19 Vaccine (n=15,179) and
participants receiving placebo (n=15,163) with at least 1 documented dose. Solicited adverse
reactions were reported more frequently among vaccine participants than placebo participants.

The reported number and percentage of the solicited local and systemic adverse reactions by age
group and dose are presented in Table 1 and Table 2, respectively.



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b
  Grade 3 pain and axillary swelling/tenderness: Defined as any use of prescription pain reliever; prevents daily
  activity.
c
  Grade 3 swelling and erythema: Defined as >100 mm / >10 cm.
d
  Grade 3 fatigue, myalgia, arthralgia: Defined as significant; prevents daily activity.
e
  Grade 3 headache: Defined as significant; any use of prescription pain reliever or prevents daily activity.
f
  Grade 3 chills: Defined as prevents daily activity and requires medical intervention.
g
  Grade 3 Nausea/vomiting: Defined as prevents daily activity, requires outpatient intravenous hydration.
h
  Grade 4 Nausea/vomiting: Defined as requires emergency room visit or hospitalization for hypotensive shock.
i
  Grade 3 fever: Defined as ≥39.0° – ≤40.0°C / ≥102.1° – ≤104.0°F.
j
  Grade 4 fever: Defined as >40.0°C / >104.0°F.

Solicited local and systemic adverse reactions reported following administration of Moderna
COVID-19 Vaccine had a median duration of 1 to 3 days.

Grade 3 solicited local adverse reactions were more frequently reported after Dose 2 than after
Dose 1. Solicited systemic adverse reactions were more frequently reported by vaccine recipients
after Dose 2 than after Dose 1.

Unsolicited Adverse Events

Participants were monitored for unsolicited adverse events for up to 28 days following each dose
and follow-up is ongoing. Serious adverse events and medically attended adverse events will be
recorded for the entire study duration of 2 years. As of November 25, 2020, among participants
who had received at least 1 dose of vaccine or placebo (vaccine=15,185, placebo=15,166),
unsolicited adverse events that occurred within 28 days following each vaccination were reported
by 23.9% of participants (n=3,632) who received Moderna COVID-19 Vaccine and 21.6% of
participants (n=3,277) who received placebo. In these analyses, 87.9% of study participants had
at least 28 days of follow-up after Dose 2.

Lymphadenopathy-related events that were not necessarily captured in the 7-day e-diary were
reported by 1.1% of vaccine recipients and 0.6% of placebo recipients. These events included
lymphadenopathy, lymphadenitis, lymph node pain, vaccination-site lymphadenopathy,
injection-site lymphadenopathy, and axillary mass, which were plausibly related to vaccination.
This imbalance is consistent with the imbalance observed for solicited axillary
swelling/tenderness in the injected arm.

Hypersensitivity adverse events were reported in 1.5% of vaccine recipients and 1.1% of placebo
recipients. Hypersensitivity events in the vaccine group included injection site rash and injection
site urticaria, which are likely related to vaccination. Delayed injection site reactions that began
>7 days after vaccination were reported in 1.2% of vaccine recipients and 0.4% of placebo
recipients. Delayed injection site reactions included pain, erythema, and swelling and are likely
related to vaccination.

Throughout the same period, there were three reports of Bell’s palsy in the Moderna COVID-19
Vaccine group (one of which was a serious adverse event), which occurred 22, 28, and 32 days
after vaccination, and one in the placebo group which occurred 17 days after vaccination.
Currently available information on Bell’s palsy is insufficient to determine a causal relationship
with the vaccine.
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There were no other notable patterns or numerical imbalances between treatment groups for
specific categories of adverse events (including other neurologic, neuro-inflammatory, and
thrombotic events) that would suggest a causal relationship to Moderna COVID-19 Vaccine.

Serious Adverse Events

As of November 25, 2020, serious adverse events were reported by 1.0% (n=147) of participants
who received Moderna COVID-19 Vaccine and 1.0% (n=153) of participants who received
placebo, one of which was the case of Bell’s palsy which occurred 32 days following receipt of
vaccine.

In these analyses, 87.9% of study participants had at least 28 days of follow-up after Dose 2, and
the median follow-up time for all participants was 9 weeks after Dose 2.

There were two serious adverse events of facial swelling in vaccine recipients with a history of
injection of dermatological fillers. The onset of swelling was reported 1 and 2 days, respectively,
after vaccination and was likely related to vaccination.

There was one serious adverse event of intractable nausea and vomiting in a participant with
prior history of severe headache and nausea requiring hospitalization. This event occurred 1 day
after vaccination and was likely related to vaccination.

There were no other notable patterns or imbalances between treatment groups for specific
categories of serious adverse events (including neurologic, neuro-inflammatory, and thrombotic
events) that would suggest a causal relationship to Moderna COVID-19 Vaccine.

8 REQUIREMENTS AND INSTRUCTIONS FOR REPORTING ADVERSE EVENTS
AND VACCINE ADMINISTRATION ERRORS

See Overall Safety Summary (Section 6) for additional information.

The vaccination provider enrolled in the federal COVID-19 Vaccination Program is responsible
for the MANDATORY reporting of the listed events following Moderna COVID-19 Vaccine to
the Vaccine Adverse Event Reporting System (VAERS)
    • Vaccine administration errors whether or not associated with an adverse event
    • Serious adverse events* (irrespective of attribution to vaccination)
    • Cases of multisystem inflammatory syndrome (MIS) in adults
    • Cases of COVID-19 that results in hospitalization or death

*Serious Adverse Events are defined as:
   • Death;
   • A life-threatening adverse event;
   • Inpatient hospitalization or prolongation of existing hospitalization;
   • A persistent or significant incapacity or substantial disruption of the ability to conduct

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       normal life functions;
   •   A congenital anomaly/birth defect;
   •   An important medical event that based on appropriate medical judgement may jeopardize
       the individual and may require medical or surgical intervention to prevent one of the
       outcomes listed above.

Instructions for Reporting to VAERS

The vaccination provider enrolled in the federal COVID-19 Vaccination Program should
complete and submit a VAERS form to FDA using one of the following methods:
   • Complete and submit the report online: https://vaers.hhs.gov/reportevent.html, or
   • If you are unable to submit this form electronically, you may fax it to VAERS at 1-877-
       721-0366. If you need additional help submitting a report, you may call the VAERS toll-
       free information line at 1-800-822-7967 or send an email to info@vaers.org.

IMPORTANT: When reporting adverse events or vaccine administration errors to
VAERS, please complete the entire form with detailed information. It is important that the
information reported to FDA be as detailed and complete as possible. Information to
include:
    • Patient demographics (e.g., patient name, date of birth)
    • Pertinent medical history
    • Pertinent details regarding admission and course of illness
    • Concomitant medications
    • Timing of adverse event(s) in relationship to administration of Moderna COVID-19
       Vaccine
    • Pertinent laboratory and virology information
    • Outcome of the event and any additional follow-up information if it is available at the
       time of the VAERS report. Subsequent reporting of follow-up information should be
       completed if additional details become available.

The following steps are highlighted to provide the necessary information for safety tracking:
   1. In Box 17, provide information on Moderna COVID-19 Vaccine and any other vaccines
       administered on the same day; and in Box 22, provide information on any other vaccines
       received within one month prior.
   2. In Box 18, description of the event:
           a. Write “Moderna COVID-19 Vaccine EUA” as the first line
           b. Provide a detailed report of vaccine administration error and/or adverse event. It
              is important to provide detailed information regarding the patient and adverse
              event/medication error for ongoing safety evaluation of this unapproved vaccine.
              Please see information to include listed above.
   3. Contact information:
           a. In Box 13, provide the name and contact information of the prescribing healthcare
              provider or institutional designee who is responsible for the report.
           b. In Box 14, provide the name and contact information of the best doctor/healthcare
              professional to contact about the adverse event.

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            c. In Box 15, provide the address of the facility where vaccine was given (NOT the
               healthcare provider’s office address).

Other Reporting Instructions

Vaccination providers may report to VAERS other adverse events that are not required to be
reported using the contact information above.

To the extent feasible, report adverse events to ModernaTX, Inc. using the contact information
below or by providing a copy of the VAERS form to ModernaTX, Inc.

               Email                         Fax number                Telephone number

  ModernaPV@modernatx.com                  1-866-599-1342                1-866-MODERNA
                                                                          (1-866-663-3762)

10 DRUG INTERACTIONS

There are no data to assess the concomitant administration of the Moderna COVID-19 Vaccine
with other vaccines.

11 USE IN SPECIFIC POPULATIONS

11.1     Pregnancy

Pregnancy Exposure Registry

There is a pregnancy exposure registry that monitors pregnancy outcomes in women exposed to
Moderna COVID-19 Vaccine during pregnancy. Women who are vaccinated with Moderna
COVID-19 Vaccine during pregnancy are encouraged to enroll in the registry by calling 1-866-
MODERNA (1-866-663-3762).

Risk Summary

All pregnancies have a risk of birth defect, loss, or other adverse outcomes. In the U.S. general
population, the estimated background risk of major birth defects and miscarriage in clinically
recognized pregnancies is 2% to 4% and 15% to 20%, respectively. Available data on Moderna
COVID-19 Vaccine administered to pregnant women are insufficient to inform vaccine-
associated risks in pregnancy.

In a developmental toxicity study, 0.2 mL of a vaccine formulation containing the same quantity
of nucleoside-modified messenger ribonucleic acid (mRNA) (100 mcg) and other ingredients
included in a single human dose of Moderna COVID-19 Vaccine was administered to female rats
by the intramuscular route on four occasions: 28 and 14 days prior to mating, and on gestation
days 1 and 13. No vaccine-related adverse effects on female fertility, fetal development, or
postnatal development were reported in the study.
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11.2 Lactation

Risk Summary

Data are not available to assess the effects of Moderna COVID-19 Vaccine on the breastfed
infant or on milk production/excretion.

11.3 Pediatric Use
Safety and effectiveness have not been assessed in persons less than 18 years of age. Emergency
Use Authorization of Moderna COVID-19 Vaccine does not include use in individuals younger
than 18 years of age.

11.4 Geriatric Use
Clinical studies of Moderna COVID-19 Vaccine included participants 65 years of age and older
receiving vaccine or placebo, and their data contribute to the overall assessment of safety and
efficacy. In an ongoing Phase 3 clinical study, 24.8% (n=7,520) of participants were 65 years of
age and older and 4.6% (n=1,399) of participants were 75 years of age and older. Vaccine
efficacy in participants 65 years of age and older was 86.4% (95% CI 61.4, 95.2) compared to
95.6% (95% CI 90.6, 97.9) in participants 18 to <65 years of age [see Clinical Trial Results and
Supporting Data for EUA (18)]. Overall, there were no notable differences in the safety profiles
observed in participants 65 years of age and older and younger participants [see Overall Safety
Summary (6.1)].

13 DESCRIPTION

Moderna COVID-19 Vaccine is provided as a white to off-white suspension for intramuscular
injection. Each 0.5 mL dose of Moderna COVID-19 Vaccine contains 100 mcg of nucleoside-
modified messenger RNA (mRNA) encoding the pre-fusion stabilized Spike glycoprotein (S) of
SARS-CoV-2 virus.

Each dose of the Moderna COVID-19 Vaccine contains the following ingredients: a total lipid
content of 1.93 mg (SM-102, polyethylene glycol [PEG] 2000 dimyristoyl glycerol [DMG],
cholesterol, and 1,2-distearoyl-sn-glycero-3-phosphocholine [DSPC]), 0.31 mg tromethamine,
1.18 mg tromethamine hydrochloride, 0.043 mg acetic acid, 0.20 mg sodium acetate trihydrate,
and 43.5 mg sucrose.

Moderna COVID-19 Vaccine does not contain a preservative.

The vial stoppers are not made with natural rubber latex.




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14 CLINICAL PHARMACOLOGY

14.1 Mechanism of Action

The nucleoside-modified mRNA in the Moderna COVID-19 Vaccine is formulated in lipid
particles, which enable delivery of the nucleoside-modified mRNA into host cells to allow
expression of the SARS-CoV-2 S antigen. The vaccine elicits an immune response to the S
antigen, which protects against COVID-19.

18 CLINICAL TRIAL RESULTS AND SUPPORTING DATA FOR EUA

A Phase 3 randomized, placebo-controlled, observer-blind clinical trial to evaluate the efficacy,
safety, and immunogenicity of the Moderna COVID-19 Vaccine in participants 18 years of age
and older is ongoing in the United States (NCT04470427). Randomization was stratified by age
and health risk: 18 to <65 years of age without comorbidities (not at risk for progression to
severe COVID-19), 18 to <65 years of age with comorbidities (at risk for progression to severe
COVID-19), and 65 years of age and older with or without comorbidities. Participants who were
immunocompromised and those with a known history of SARS-CoV-2 infection were excluded
from the study. Participants with no known history of SARS-CoV-2 infection but with positive
laboratory results indicative of infection at study entry were included. The study allowed for the
inclusion of participants with stable pre-existing medical conditions, defined as disease not
requiring significant change in therapy or hospitalization for worsening disease during the 3
months before enrollment, as well as participants with stable human immunodeficiency virus
(HIV) infection. A total of 30,420 participants were randomized equally to receive 2 doses of the
Moderna COVID-19 Vaccine or saline placebo 1 month apart. Participants will be followed for
efficacy and safety until 24 months after the second dose.

The primary efficacy analysis population (referred to as the Per-Protocol Set) included 28,207
participants who received two doses (at 0 and 1 month) of either Moderna COVID-19 Vaccine
(n=14,134) or placebo (n=14,073), and had a negative baseline SARS-CoV-2 status. In the Per-
Protocol Set, 47.4% were female, 19.7% were Hispanic or Latino; 79.5% were White, 9.7% were
African American, 4.6% were Asian, and 2.1% other races. The median age of participants was
53 years (range 18-95) and 25.3% of participants were 65 years of age and older. Of the study
participants in the Per-Protocol Set, 18.5% were at increased risk of severe COVID-19 due to at
least one pre-existing medical condition (chronic lung disease, significant cardiac disease, severe
obesity, diabetes, liver disease, or HIV infection) regardless of age. Between participants who
received Moderna COVID-19 Vaccine and those who received placebo, there were no notable
differences in demographics or pre-existing medical conditions.

Efficacy Against COVID-19

COVID-19 was defined based on the following criteria: The participant must have experienced
at least two of the following systemic symptoms: fever (≥38ºC), chills, myalgia, headache, sore
throat, new olfactory and taste disorder(s); or the participant must have experienced at least one
of the following respiratory signs/symptoms: cough, shortness of breath or difficulty breathing,
or clinical or radiographical evidence of pneumonia; and the participant must have at least one
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air at sea level or PaO2/FIO2 <300 mm Hg; or respiratory failure or ARDS (defined as needing
high-flow oxygen, non-invasive or mechanical ventilation, or ECMO), evidence of shock
(systolic blood pressure <90 mmHg, diastolic BP <60 mmHg or requiring vasopressors); or
significant acute renal, hepatic, or neurologic dysfunction; or admission to an intensive care unit
or death.

Among all participants in the Per-Protocol Set analysis, which included COVID-19 cases
confirmed by an adjudication committee, no cases of severe COVID-19 were reported in the
Moderna COVID-19 Vaccine group compared with 30 cases reported in the placebo group
(incidence rate 9.138 per 1,000 person-years). One PCR-positive case of severe COVID-19 in a
vaccine recipient was awaiting adjudication at the time of the analysis.

19 HOW SUPPLIED/STORAGE AND HANDLING

Moderna COVID-19 Vaccine Suspension for Intramuscular Injection Multiple-Dose Vials are
supplied as follows:

NDC 80777-273-99 Carton of 10 multiple-dose vials, each vial containing a maximum of
                 11 doses: range 10-11 doses (0.5 mL)

NDC 80777-273-98 Carton of 10 multiple-dose vials, each vial containing a maximum of
                 15 doses: range 13-15 doses (0.5 mL)

During storage, minimize exposure to room light.

Store frozen between -50º to -15ºC (-58º to 5ºF). Store in the original carton to protect from light.

Do not store on dry ice or below -50ºC (-58ºF). Use of dry ice may subject vials to temperatures
colder than -50°C (-58°F).

Vials may be stored refrigerated between 2° to 8°C (36° to 46°F) for up to 30 days prior to first
use. Do not refreeze.

Vials may be stored between 8° to 25°C (46° to 77°F) for a total of 24 hours.

After the first dose has been withdrawn, the vial should be held between 2° to 25°C (36° to
77°F). Vials should be discarded 12 hours after the first puncture.

Thawed vials can be handled in room light conditions.

Do not refreeze once thawed.

Transportation of Thawed Vials at 2°C to 8°C (35°F to 46°F)

If transport at -50° to -15°C (-58° to 5°F) is not feasible, available data support transportation of
one or more thawed vials for up to 12 hours at 2° to 8°C (35° to 46°F) when shipped using
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shipping containers which have been qualified to maintain 2° to 8°C (35° to 46°F) and under
routine road and air transport conditions with shaking and vibration minimized. Once thawed and
transported at 2° to 8°C (35° to 46°F), vials should not be refrozen and should be stored at 2° to
8°C (35° to 46°F) until use.

20 PATIENT COUNSELING INFORMATION

Advise the recipient or caregiver to read the Fact Sheet for Recipients and Caregivers.

The vaccination provider must include vaccination information in the state/local jurisdiction’s
Immunization Information System (IIS) or other designated system. Advise recipient or caregiver
that more information about IISs can be found at:
https://www.cdc.gov/vaccines/programs/iis/about.html.

21 CONTACT INFORMATION

For general questions, send an email or call the telephone number provided below.

                    Email                                     Telephone number
          medinfo@modernatx.com                                1-866-MODERNA
                                                                (1-866-663-3762)

This EUA Prescribing Information may have been updated. For the most resent Full EUA
Prescribing Information, please visit www.modernatx.com/covid19vaccine-eua.

Moderna US, Inc.
Cambridge, MA 02139

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Patent(s): www.modernatx.com/patents
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                                               ATTACHMENT G




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    FACT SHEET FOR HEALTHCARE PROVIDERS ADMINISTERING VACCINE
                      (VACCINATION PROVIDERS)
                EMERGENCY USE AUTHORIZATION (EUA) OF
         THE JANSSEN COVID-19 VACCINE TO PREVENT CORONAVIRUS
                         DISEASE 2019 (COVID-19)
The U.S. Food and Drug Administration (FDA) has issued an Emergency Use Authorization
(EUA) to permit the emergency use of the unapproved product, Janssen COVID-19 Vaccine, for
active immunization to prevent COVID-19 in individuals 18 years of age and older.
SUMMARY OF INSTRUCTIONS FOR COVID-19 VACCINATION PROVIDERS
Vaccination providers enrolled in the federal COVID-19 Vaccination Program must report all
vaccine administration errors, all serious adverse events, cases of Multisystem Inflammatory
Syndrome (MIS) in adults, and cases of COVID-19 that result in hospitalization or death following
administration of the Janssen COVID-19 Vaccine. See “MANDATORY REQUIREMENTS FOR
THE JANSSEN COVID-19 VACCINE ADMINISTRATION UNDER EMERGENCY USE
AUTHORIZATION” for reporting requirements.
The Janssen COVID-19 Vaccine is a suspension for intramuscular injection administered as a
single dose (0.5 mL).
See this Fact Sheet for instructions for preparation and administration. This Fact Sheet may have
been updated. For the most recent Fact Sheet, please see www.janssencovid19vaccine.com.
For information on clinical trials that are testing the use of the Janssen COVID-19 Vaccine for
active immunization against COVID-19, please see www.clinicaltrials.gov.
DESCRIPTION OF COVID-19
Coronavirus disease 2019 (COVID-19) is an infectious disease caused by the novel coronavirus,
SARS-CoV-2, that appeared in late 2019. It is predominantly a respiratory illness that can affect
other organs. People with COVID-19 have reported a wide range of symptoms, ranging from mild
symptoms to severe illness. Symptoms may appear 2 to 14 days after exposure to the virus.
Symptoms may include: fever or chills; cough; shortness of breath; fatigue; muscle or body aches;
headache; new loss of taste or smell; sore throat; congestion or runny nose; nausea or vomiting;
diarrhea.
DOSAGE AND ADMINISTRATION
The storage and handling information in this Fact Sheet supersedes the storage and handling
information on the carton and vial labels.
Storage and Handling
Storage Prior to First Puncture of the Vaccine Vial
Store unpunctured multi-dose vials of the Janssen COVID-19 Vaccine at 2°C to 8°C (36°F to
46°F) and protect from light. Do not store frozen.

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Unpunctured vials of Janssen COVID-19 Vaccine may be stored between 9°C to 25°C (47°F to
77°F) for up to 12 hours.
The Janssen COVID-19 Vaccine is initially stored frozen by the manufacturer, then shipped at 2°C
to 8°C (36°F to 46°F). If vaccine is still frozen upon receipt, thaw at 2°C to 8°C (36°F to 46°F). If
needed immediately, thaw at room temperature (maximally 25°C/77°F). At room temperature
(maximally 25°C/77°F), a carton of 10 vials will take approximately 2 hours to thaw, and an
individual vial will take approximately 1 hour to thaw. Do not refreeze once thawed.
Storage After First Puncture of the Vaccine Vial
After the first dose has been withdrawn, hold the vial between 2° to 8°C (36° to 46°F) for up to
6 hours or at room temperature (maximally 25°C/77°F) for up to 2 hours. Discard the vial if
vaccine is not used within these times.
Dosing and Schedule
The Janssen COVID-19 Vaccine is administered intramuscularly as a single dose (0.5 mL).
There are no data available on the use of the Janssen COVID-19 Vaccine to complete a vaccination
series initiated with another COVID-19 Vaccine.
Dose Preparation

•     The Janssen COVID-19 Vaccine is a colorless to slightly yellow, clear to very opalescent
      suspension. Visually inspect the Janssen COVID-19 Vaccine vials for particulate matter and
      discoloration prior to administration. If either of these conditions exists, do not administer
      the vaccine.
•     Before withdrawing each dose of vaccine, carefully mix the contents of the multi-dose vial
      by swirling gently in an upright position for 10 seconds. Do not shake.
•     Each dose is 0.5 mL. Each vial contains five doses. Do not pool excess vaccine from multiple
      vials.
•     The Janssen COVID-19 Vaccine does not contain a preservative. Record the date and time
      of first use on the Janssen COVID-19 Vaccine vial label. After the first dose has been
      withdrawn, hold the vial between 2° to 8°C (36° to 46°F) for up to 6 hours or at room
      temperature (maximally 25°C/77°F) for up to 2 hours. Discard if vaccine is not used within
      these times.
Administration
Visually inspect each dose in the dosing syringe prior to administration. The Janssen COVID-19
Vaccine is a colorless to slightly yellow, clear to very opalescent suspension. During the visual
inspection,

•     verify the final dosing volume of 0.5 mL.

•     confirm there are no particulates and that no discoloration is observed.

•     do not administer if vaccine is discolored or contains particulate matter.

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Administer the Janssen COVID-19 Vaccine intramuscularly.
CONTRAINDICATION
Do not administer the Janssen COVID-19 Vaccine to individuals with a known history of a severe
allergic reaction (e.g., anaphylaxis) to any component of the Janssen COVID-19 Vaccine (see Full
EUA Prescribing Information).
WARNINGS
Appropriate medical treatment to manage immediate allergic reactions must be immediately
available in the event an acute anaphylactic reaction occurs following administration of the Janssen
COVID-19 Vaccine.
Monitor Janssen COVID-19 Vaccine recipients for the occurrence of immediate adverse reactions
according to the Centers for Disease Control and Prevention guidelines
(https://www.cdc.gov/vaccines/covid-19/clinical-considerations/managing-anaphylaxis.html).
Immunocompromised persons, including individuals receiving immunosuppressant therapy, may
have a diminished immune response to the Janssen COVID-19 Vaccine.
The Janssen COVID-19 Vaccine may not protect all vaccinated individuals.
ADVERSE REACTIONS
Adverse reactions reported in a clinical trial following administration of the Janssen COVID-19
Vaccine include injection site pain, headache, fatigue, myalgia, nausea, fever, injection site
erythema and injection site swelling. In clinical studies, severe allergic reactions, including
anaphylaxis, have been reported following the administration of the Janssen COVID-19 Vaccine
(see Full EUA Prescribing Information).
Additional adverse reactions, some of which may be serious, may become apparent with more
widespread use of the Janssen COVID-19 Vaccine.
USE WITH OTHER VACCINES
There is no information on the co-administration of the Janssen COVID-19 Vaccine with other
vaccines.
INFORMATION TO PROVIDE TO VACCINE RECIPIENTS/CAREGIVERS
As the vaccination provider, you must communicate to the recipient or their caregiver, information
consistent with the “Fact Sheet for Recipients and Caregivers” (and provide a copy or direct the
individual to the website www.janssencovid19vaccine.com to obtain the Fact Sheet) prior to the
individual receiving the Janssen COVID-19 Vaccine, including:

•     FDA has authorized the emergency use of the Janssen COVID-19 Vaccine, which is not an
      FDA approved vaccine.

•     The recipient or their caregiver has the option to accept or refuse the Janssen COVID-19
      Vaccine.

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•     The significant known and potential risks and benefits of the Janssen COVID-19 Vaccine,
      and the extent to which such risks and benefits are unknown.

•     Information about available alternative vaccines and the risks and benefits of those
      alternatives.
For information on clinical trials that are testing the use of the Janssen COVID-19 Vaccine to
prevent COVID-19, please see www.clinicaltrials.gov.
Provide a vaccination card to the recipient or their caregiver with the name of the vaccine (“Janssen
COVID-19 Vaccine”) and date of administration to document vaccination.
Provide the v-safe information sheet to vaccine recipients/caregivers and encourage vaccine
recipients to participate in v-safe. V-safe is a new voluntary smartphone-based tool that uses text
messaging and web surveys to check in with people who have been vaccinated to identify potential
side effects after COVID-19 vaccination. V-safe asks questions that help CDC monitor the safety
of COVID-19 vaccines. V-safe also provides live telephone follow-up by CDC if participants
report a significant health impact following COVID-19 vaccination. For more information, visit:
www.cdc.gov/vsafe.
MANDATORY    REQUIREMENTS   FOR   JANSSEN   COVID-19                                    VACCINE
ADMINISTRATION UNDER EMERGENCY USE AUTHORIZATION
In order to mitigate the risks of using this unapproved product under EUA and to optimize the
potential benefit of the Janssen COVID-19 Vaccine, the following items are required. Use of
unapproved Janssen COVID-19 Vaccine for active immunization to prevent COVID-19 under this
EUA is limited to the following (all requirements must be met):
1.     The Janssen COVID-19 Vaccine is authorized for use in individuals 18 years of age and
       older.
2.     The vaccination provider must communicate to the individual receiving the Janssen
       COVID-19 Vaccine or their caregiver, information consistent with the “Fact Sheet for
       Recipients and Caregivers” prior to the individual receiving the Janssen COVID-19
       Vaccine.
3.     The vaccination provider must include vaccination information in the state/local
       jurisdiction’s Immunization Information System (IIS) or other designated system.
4.     The vaccination provider is responsible for mandatory reporting of the following to the
       Vaccine Adverse Event Reporting System (VAERS):

       •       vaccine administration errors whether or not associated with an adverse event,

       •       serious adverse events* (irrespective of attribution to vaccination),

       •       cases of Multisystem Inflammatory Syndrome (MIS) in adults, and

       •       cases of COVID-19 that result in hospitalization or death.


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        Complete and submit reports to VAERS online at https://vaers.hhs.gov/reportevent.html.
        For further assistance with reporting to VAERS, call 1-800-822-7967. The reports should
        include the words “Janssen COVID-19 Vaccine EUA” in the description section of the
        report.
5.      The vaccination provider is responsible for responding to FDA requests for information
        about vaccine administration errors, adverse events, cases of MIS in adults, and cases of
        COVID-19 that result in hospitalization or death following administration of the Janssen
        COVID-19 Vaccine to recipients.
        *   Serious adverse events are defined as:
            •   Death;
            •   A life-threatening adverse event;
            •   Inpatient hospitalization or prolongation of existing hospitalization;
            •   A persistent or significant incapacity or substantial disruption of the ability to conduct
                normal life functions;
            •   A congenital anomaly/birth defect;
            •   An important medical event that based on appropriate medical judgement may jeopardize
                the individual and may require medical or surgical intervention to prevent one of the
                outcomes listed above.

OTHER ADVERSE EVENT REPORTING TO VAERS AND JANSSEN BIOTECH, INC.
Vaccination providers may report to VAERS other adverse events that are not required to be
reported using the contact information above.
To the extent feasible, report adverse events to Janssen Biotech, Inc. using the contact information
below or by providing a copy of the VAERS form to Janssen Biotech, Inc:

              e-mail                         Fax number                   Telephone numbers
     JNJvaccineAE@its.jnj.com                215-293-9955             US Toll Free: 1-800-565-4008
                                                                        US Toll: (908) 455-9922

ADDITIONAL INFORMATION
For general questions or to access the most recent Janssen COVID-19 Vaccine Fact Sheets, scan
the QR code using your device, visit www.janssencovid19vaccine.com or call the telephone
numbers provided below.

        QR Code                   Fact Sheets Website                       Telephone numbers
                             www.janssencovid19vaccine.com.             US Toll Free: 1-800-565-4008
                                                                          US Toll: 1-908-455-9922




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AVAILABLE ALTERNATIVES
There is no approved alternative vaccine to prevent COVID-19. There may be clinical trials or
availability under EUA of other COVID-19 vaccines.
FEDERAL COVID-19 VACCINATION PROGRAM
This vaccine is being made available for emergency use exclusively through the CDC COVID-19
Vaccination Program (the Vaccination Program). Healthcare providers must enroll as providers
in the Vaccination Program and comply with the provider requirements. Vaccination providers
may not charge any fee for the vaccine and may not charge the vaccine recipient any out-of-pocket
charge for administration. However, vaccination providers may seek appropriate reimbursement
from a program or plan that covers COVID-19 vaccine administration fees for the vaccine recipient
(private insurance, Medicare, Medicaid, HRSA COVID-19 Uninsured Program for non-insured
recipients). For information regarding provider requirements and enrollment in the CDC COVID-
19 Vaccination Program, see https://www.cdc.gov/vaccines/covid-19/provider-enrollment.html.
Individuals becoming aware of any potential violations of the CDC COVID-19 Vaccination
Program requirements are encouraged to report them to the Office of the Inspector General, U.S.
Department of Health and Human Services, at 1-800-HHS-TIPS or TIPS.HHS.GOV.
AUTHORITY FOR ISSUANCE OF THE EUA
The Secretary of the Department of Health and Human Services (HHS) declared a public health
emergency that justifies the emergency use of drugs and biological products during the COVID-
19 pandemic. In response, FDA has issued an EUA for the unapproved product, Janssen COVID-
19 Vaccine, for active immunization to prevent COVID-19 in individuals 18 years of age and
older.
FDA issued this EUA, based on Janssen Biotech, Inc.’s request and submitted data.
Although limited scientific information is available, based on the totality of the scientific evidence
available to date, it is reasonable to believe that the Janssen COVID-19 Vaccine may be effective
for the prevention of COVID-19 in individuals as specified in the Full EUA Prescribing
Information.
This EUA for the Janssen COVID-19 Vaccine will end when the Secretary of HHS determines
that the circumstances justifying the EUA no longer exist or when there is a change in the approval
status of the product such that an EUA is no longer needed.
For additional information about Emergency Use Authorization visit FDA at:
https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-regulatory-and-policy-
framework/emergency-use-authorization.
THE COUNTERMEASURES INJURY COMPENSATION PROGRAM
The Countermeasures Injury Compensation Program (CICP) is a federal program that has been
created to help pay for related costs of medical care and other specific expenses to compensate
people injured after use of certain medical countermeasures. Medical countermeasures are specific
vaccines, medications, devices, or other items used to prevent, diagnose, or treat the public during
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a public health emergency or a security threat. For more information about CICP, visit
www.hrsa.gov/cicp, email cicp@hrsa.gov, or call: 1-855-266-2427.
Manufactured by:
Janssen Biotech, Inc.
a Janssen Pharmaceutical Company of Johnson & Johnson
Horsham, PA 19044, USA




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                         END SHORT VERSION FACT SHEET
           Long Version (Full EUA Prescribing Information) Begins On Next Page

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FULL EMERGENCY USE AUTHORIZATION (EUA) PRESCRIBING INFORMATION
JANSSEN COVID-19 VACCINE
FULL EMERGENCY USE AUTHORIZATION                  10   DRUG INTERACTIONS
                                                  11   USE IN SPECIFIC POPULATIONS
(EUA) PRESCRIBING INFORMATION:                         11.1 Pregnancy
CONTENTS*                                              11.2 Lactation
                                                       11.3 Pediatric Use
                                                       11.4 Geriatric Use
1   AUTHORIZED USE
                                                  13   DESCRIPTION
2   DOSAGE AND ADMINISTRATION
                                                  14   CLINICAL PHARMACOLOGY
    2.1 Preparation for Administration
                                                       14.1 Mechanism of Action
    2.2 Administration
                                                  18   CLINICAL TRIAL RESULTS AND SUPPORTING
    2.3 Dosing and Schedule
                                                       DATA FOR EUA
3   DOSAGE FORMS AND STRENGTHS
                                                  19   HOW SUPPLIED/STORAGE AND HANDLING
4   CONTRAINDICATIONS
                                                  20   PATIENT COUNSELING INFORMATION
5   WARNINGS AND PRECAUTIONS
                                                  21   CONTACT INFORMATION
    5.1 Management of Acute Allergic Reactions
    5.2 Altered Immunocompetence
                                                  *Sections or subsections omitted from the full prescribing information are not
    5.3 Limitations of Vaccine Effectiveness
                                                  listed.
6   OVERALL SAFETY SUMMARY
    6.1 Clinical Trials Experience
8   REQUIREMENTS AND INSTRUCTIONS FOR
    REPORTING ADVERSE EVENTS AND VACCINE
    ADMINISTRATION ERRORS




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FULL EMERGENCY USE AUTHORIZATION (EUA) PRESCRIBING INFORMATION
1       AUTHORIZED USE
Janssen COVID-19 vaccine is authorized for use under an Emergency Use Authorization (EUA)
for active immunization to prevent coronavirus disease 2019 (COVID-19) caused by severe acute
respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 18 years of age and older.
2       DOSAGE AND ADMINISTRATION
For intramuscular injection only.
2.1     Preparation for Administration

•      The Janssen COVID-19 Vaccine is a colorless to slightly yellow, clear to very opalescent
       suspension. Visually inspect the Janssen COVID-19 Vaccine vials for particulate matter and
       discoloration prior to administration. If either of these conditions exists, do not administer
       the vaccine.
•      Before withdrawing each dose of vaccine, carefully mix the contents of the multi-dose vial
       by swirling gently in an upright position for 10 seconds. Do not shake.
•      Each dose is 0.5 mL. Each vial contains five doses. Do not pool excess vaccine from multiple
       vials.
•      The Janssen COVID-19 Vaccine does not contain a preservative. Record the date and time
       of first use on the Janssen COVID-19 Vaccine vial label. After the first dose has been
       withdrawn, hold the vial between 2° to 8°C (36° to 46°F) for up to 6 hours or at room
       temperature (maximally 25°C/77°F) for up to 2 hours. Discard if vaccine is not used within
       these times.
2.2     Administration
Visually inspect each dose in the dosing syringe prior to administration. The Janssen COVID-19
Vaccine is a colorless to slightly yellow, clear to very opalescent suspension. During the visual
inspection,

•      verify the final dosing volume of 0.5 mL.

•      confirm there are no particulates and that no discoloration is observed.

•      do not administer if vaccine is discolored or contains particulate matter.
Administer the Janssen COVID-19 Vaccine intramuscularly.
2.3     Dosing and Schedule
The Janssen COVID-19 Vaccine is administered intramuscularly as a single dose (0.5 mL).
There are no data available on the use of the Janssen COVID-19 Vaccine to complete a vaccination
series initiated with another COVID-19 Vaccine.



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3       DOSAGE FORMS AND STRENGTHS
Janssen COVID-19 Vaccine is a suspension for intramuscular injection. A single dose is 0.5 mL.
4       CONTRAINDICATIONS
Do not administer the Janssen COVID-19 Vaccine to individuals with a known history of severe
allergic reaction (e.g., anaphylaxis) to any component of the Janssen COVID-19 Vaccine [see
Description (13)].
5       WARNINGS AND PRECAUTIONS
5.1     Management of Acute Allergic Reactions
Appropriate medical treatment used to manage immediate allergic reactions must be immediately
available in the event an acute anaphylactic reaction occurs following administration of the Janssen
COVID-19 Vaccine.
Monitor Janssen COVID-19 Vaccine recipients for the occurrence of immediate adverse reactions
according to the Centers for Disease Control and Prevention guidelines
(https://www.cdc.gov/vaccines/covid-19/clinical-considerations/managing-anaphylaxis.html).
5.2     Altered Immunocompetence
Immunocompromised persons, including individuals receiving immunosuppressant therapy, may
have a diminished immune response to the Janssen COVID-19 Vaccine.
5.3     Limitations of Vaccine Effectiveness
The Janssen COVID-19 Vaccine may not protect all vaccinated individuals.
6       OVERALL SAFETY SUMMARY
It is MANDATORY for vaccination providers to report to the Vaccine Adverse Event
Reporting System (VAERS) all vaccine administration errors, all serious adverse events,
cases of Multisystem Inflammatory Syndrome (MIS) in adults, and hospitalized or fatal cases
of COVID-19 following vaccination with the Janssen COVID-19 Vaccine. To the extent
feasible, provide a copy of the VAERS form to Janssen Biotech, Inc. Please see the
REQUIREMENTS AND INSTRUCTIONS FOR REPORTING ADVERSE EVENTS AND
VACCINE ADMINISTRATION ERRORS section for details on reporting to VAERS or
Janssen Biotech, Inc.
In study COV3001, the most common local solicited adverse reaction (≥10%) reported was
injection site pain (48.6%). The most common systemic adverse reactions (≥10%) were headache
(38.9%), fatigue (38.2%), myalgia (33.2%), and nausea (14.2%) (see Tables 1 to 4).
Severe allergic reactions, including one case of anaphylaxis in an ongoing open-label study in
South Africa, have been reported following the Janssen COVID-19 vaccine administered in
clinical studies.



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6.1     Clinical Trials Experience
Because clinical trials are conducted under widely varying conditions, adverse reaction rates
observed in the clinical trials of a drug cannot be directly compared to rates in the clinical trials of
another drug and may not reflect the rates observed in practice.
The safety of the Janssen COVID-19 Vaccine has been assessed in an ongoing Phase 3 Study
(COV3001). A total of 43,783 individuals were enrolled in this study, of whom 21,895 adults aged
18 years and older received the Janssen COVID-19 Vaccine [Full Analysis Set (FAS)]. This study
is being conducted in the United States (n=19,302), Brazil (n= 7,278), South Africa (n=6,576),
Colombia (n=4,248), Argentina (n=2,996), Peru (n=1,771), Chile (n=1,133), Mexico (n=479). In
this study, 45.0% were female, 54.9% were male, 58.7% were White, 19.4% were Black or African
American, 45.3% were Hispanic or Latino, 3.3% were Asian, 9.5% were American Indian/Alaska
Native and 0.2% were Native Hawaiian or other Pacific Islander, 5.6% were from multiple racial
groups and 1.4% were unknown races (see Table 5). The median age of individuals was 52.0 years
(range: 18-100). There were 4,217 (9.6%) individuals who were SARS-CoV-2 seropositive at
baseline and who were included in the study. In the United States, 838 of 19,302 (4.3%) individuals
were SARS-CoV-2 seropositive. Demographic characteristics were similar among individuals
who received the Janssen COVID-19 Vaccine and those who received saline placebo.
The safety subset includes 6,736 individuals (3,356 from the Janssen COVID-19 Vaccine group,
3,380 from the placebo group). The demographic profile in the safety subset was similar in terms
of age and gender compared to the FAS. A larger percentage of individuals in the safety subset
were White (83.4%) compared to the FAS (58.7%). Geographically, the safety subset was limited
to individuals from the United States (51.4%), Brazil (38.5%) and South Africa (10.2%). Fewer
individuals in the safety subset compared to the FAS were SARS-CoV-2 seropositive at baseline,
4.5% vs. 9.6%, and had at least one comorbidity 34.1% vs 40.8%.
Safety monitoring in the clinical study consisted of monitoring for: (1) solicited local and systemic
reactions occurring in the 7 days following vaccination in a subset of individuals (safety subset),
(2) unsolicited adverse events (AEs) occurring in the 28 days following vaccination in the safety
subset, (3) medically-attended AEs (MAAEs) occurring in the 6 months following vaccination in
the entire study population (FAS), (4) serious AEs (SAEs) and AEs leading to study
discontinuation for the duration of the study in the entire study population.
Solicited adverse reactions
Shown below are the frequencies of solicited local adverse reactions (Tables 1 and 2) and systemic
adverse reactions (Tables 3 and 4) reported in adults by age group in the ongoing Phase 3 clinical
trial (COV3001) in the 7 days following vaccination.




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 Table 1:       Solicited Local Adverse Reactions Reported in the 7 Days Following Vaccination -
                Individuals 18 to 59 Years of Age
                                        Janssen COVID-19 Vaccine                    Placebo
                                                  N=2,036                           N=2,049
 Adverse Reactions                                 n(%)                              n(%)
 Injection Site Pain
     Any                                                             1,193 (58.6)                                     357 (17.4)
     Grade 3a                                                           8 (0.4)                                           0
 Injection Site Erythema
     Any (≥25 mm)                                                     184 (9.0)                                        89 (4.3)
     Grade 3b                                                          6 (0.3)                                          2 (0.1)
 Injection Site Swelling
     Any (≥25 mm)                                                     142 (7.0)                                        32 (1.6)
     Grade 3b                                                          5 (0.2)                                          2 (0.1)
 a
     Grade 3 injection site pain: Defined as incapacitating symptoms; inability to do work, school, or usual activities; use of narcotic pain
     reliever.
 b
     Grade 3 injection site swelling and erythema: Defined as >100 mm.


 Table 2:       Solicited Local Adverse Reactions Reported in the 7 Days Following Vaccination -
                Individuals 60 Years of Age and Older
 Adverse Reactions                      Janssen COVID-19 Vaccine                    Placebo
                                                  N=1,320                           N=1,331
                                                   n(%)                              n(%)
 Injection Site Pain
     Any                                                              439 (33.3)                                      207 (15.6)
     Grade 3a                                                           3 (0.2)                                         2 (0.2)
 Injection Site Erythema
     Any (≥25 mm)                                                      61 (4.6)                                        42 (3.2)
     Grade 3b                                                           1 (0.1)                                           0
 Injection Site Swelling
     Any (≥25 mm)                                                      36 (2.7)                                        21 (1.6)
     Grade 3b                                                           2 (0.2)                                           0
 a
     Grade 3 injection site pain: Defined as incapacitating symptoms; inability to do work, school, or usual activities; use of narcotic pain
     reliever.
 b
     Grade 3 injection site swelling and erythema: Defined as >100 mm.


 Table 3:       Solicited Systemic Adverse Reactions Reported in the 7 Days Following Vaccination -
                Individuals 18 to 59 Years of Age
 Adverse Reactions                      Janssen COVID-19 Vaccine                    Placebo
                                                  N=2,036                           N=2,049
                                                   n(%)                              n(%)
 Headache
     Any                                                              905 (44.4)                                      508 (24.8)
     Grade 3a                                                          18 (0.9)                                         5 (0.2)
 Fatigue
     Any                                                              891 (43.8)                                      451 (22.0)
     Grade 3b                                                          25 (1.2)                                         4 (0.2)
 Myalgia
     Any                                                              796 (39.1)                                      248 (12.1)
     Grade 3b                                                          29 (1.4)                                        1 (<0.1)
 Nausea
     Any                                                              315 (15.5)                                       183 (8.9)
     Grade 3b                                                           3 (0.1)                                         3 (0.1)
 Fever c
     Any                                                              261 (12.8)                                       14 (0.7)
     Grade 3                                                            7 (0.3)                                           0
 Use of antipyretic or pain medication                                538 (26.4)                                       123 (6.0)


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 a
     Grade 3 headache: Defined as incapacitating symptoms; requires bed rest and/or results in loss of work, school, or cancellation of social
     activities; use of narcotic pain reliever.
 b
     Grade 3 fatigue, myalgia, nausea: Defined as incapacitating symptoms; requires bed rest and/or results in loss of work, school, or
     cancellation of social activities; use of narcotic pain reliever.
 c
     Fever of any grade: Defined as body temperature ≥38 C/100.4 F. Grade 3 fever: Defined as 39.0 C - 40.0 C (102.1 F - 104.0 F).


 Table 4:       Solicited Systemic Adverse Reactions Reported in the 7 Days Following Vaccination -
                Individuals 60 Years of Age and Older
 Adverse Reactions                       Janssen COVID-19 Vaccine                   Placebo
                                                  N=1,320                           N=1,331
                                                   n(%)                              n(%)
 Headache
     Any                                                             401 (30.4)                                     294 (22.1)
     Grade 3a                                                          5 (0.4)                                       4 (0.3)
 Fatigue
     Any                                                             392 (29.7)                                     277 (20.8)
     Grade 3b                                                         10 (0.8)                                       5 (0.4)
 Myalgia
     Any                                                             317 (24.0)                                     182 (13.7)
     Grade 3b                                                          3 (0.2)                                       5 (0.4)
 Nausea
     Any                                                             162 (12.3)                                     144 (10.8)
     Grade 3b                                                          3 (0.2)                                       3 (0.2)
 Fever c
     Any                                                             41 (3.1)                                        6 (0.5)
     Grade 3                                                          1 (0.1)                                           0
 Use of antipyretic or pain medication                               130 (9.8)                                       68 (5.1)
 a
     Grade 3 headache: Defined as incapacitating symptoms; requires bed rest and/or results in loss of work, school, or cancellation of social
     activities; use of narcotic pain reliever
 b
     Grade 3 fatigue, myalgia, nausea: Defined as incapacitating symptoms; requires bed rest and/or results in loss of work, school, or
     cancellation of social activities; use of narcotic pain reliever.
 c
     Fever of any grade: Defined as body temperature ≥38 C/100.4 F. Grade 3 fever: Defined as 39.0 C - 40.0 C (102.1 F - 104.0 F).


Solicited local and systemic adverse reactions reported following administration of the Janssen
COVID-19 Vaccine had a median duration of 1 to 2 days.

Unsolicited adverse events
Individuals within the safety subset in study COV3001 (N=6,736) were monitored for unsolicited
adverse events (AEs) for 28 days following vaccination with 99.9% (N= 6,730) of individuals
completing the full 28 days of follow-up. The proportion of individuals who reported one or more
unsolicited AEs was similar among those in the Janssen COVID-19 Vaccine group (13.1%) and
those in the placebo group (12.0%).
Serious Adverse Events (SAEs) and other events of interest
In study COV3001, up to a cut-off date of January 22, 2021, 54.6% of individuals had follow-up
duration of 8 weeks. The median follow-up duration for all individuals was 58 days. SAEs,
excluding those related to confirmed COVID-19, were reported by 0.4% (n= 83) of individuals
who received the Janssen COVID-19 Vaccine (N= 21,895) and 0.4% (n=96) of individuals who
received placebo (N= 21,888).
Additional adverse events of interest, including but not limited to allergic, neurologic,
inflammatory, vascular, and autoimmune disorders, were analyzed among all adverse events
collected through protocol-specified safety monitoring procedures as well as unsolicited reporting.

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Urticaria (all non-serious) was reported in five vaccinated individuals and 1 individual who
received placebo in the 7 days following vaccination. In addition, an SAE of hypersensitivity, not
classified as anaphylaxis, was reported in 1 vaccinated individual with urticaria beginning
two days following vaccination and angioedema of the lips with no respiratory distress beginning
four days following vaccination. The event was likely related to the vaccine.
An SAE of severe pain in the injected arm, not responsive to analgesics, with immediate onset at
time of vaccination, and that was ongoing 74 days following vaccination was reported in an
individual who received the Janssen COVID-19 Vaccine. An SAE of severe generalized weakness,
fever, and headache, with onset on the day following vaccination and resolution three days
following vaccination was reported in an individual who received the Janssen COVID-19 Vaccine.
Both SAEs are likely related to the vaccine.
Numerical imbalances, with more events in vaccine than placebo recipients, were observed for the
following serious and other adverse events of interest in individuals receiving the vaccine or
placebo, respectively:

•    Thromboembolic events:

     •      Deep vein thrombosis: 6 events (2 serious; 5 within 28 days of vaccination) vs.
            2 events (1 serious; 2 within 28 days of vaccination).

     •      Pulmonary embolism: 4 events (3 serious; 2 within 28 days of vaccination) vs. 1 event
            (serious and within 28 days of vaccination).

     •      Transverse sinus thrombosis: 1 event (serious and within 28 days of vaccination) vs.
            0.

•    Seizures: 4 events (1 serious; 4 within 28 days of vaccination) vs. 1 event (0 serious and
     0 within 28 days following vaccination).

•    Tinnitus: 6 events (0 serious; 6 within 28 days of vaccination, including 3 within 2 days of
     vaccination) vs. 0.
For these events, a causal relationship with the Janssen COVID-19 vaccine cannot be determined.
The assessment of causality was confounded by the presence of underlying medical conditions
that may have predisposed individuals to these events.
There were no additional notable patterns or numerical imbalances between treatment groups for
specific categories of serious adverse events (including neurologic, neuro-inflammatory, and
cardiovascular events) that would suggest a causal relationship to the Janssen COVID-19 Vaccine.
8        REQUIREMENTS AND INSTRUCTIONS FOR REPORTING ADVERSE
         EVENTS AND VACCINE ADMINISTRATION ERRORS
See Overall Safety Summary (Section 6) for additional information.
The vaccination provider enrolled in the federal COVID-19 Vaccination Program is responsible
for MANDATORY reporting of the listed events following Janssen COVID-19 Vaccine
administration to the Vaccine Adverse Event Reporting System (VAERS):

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•    Vaccine administration errors whether or not associated with an adverse event,

•    Serious adverse events* (irrespective of attribution to vaccination),

•    Cases of Multisystem Inflammatory Syndrome (MIS) in adults,

•    Cases of COVID-19 that result in hospitalization or death.
     *   Serious Adverse Events are defined as:
         • Death;
         • A life-threatening adverse event;
         • Inpatient hospitalization or prolongation of existing hospitalization;
         • A persistent or significant incapacity or substantial disruption of the ability to
             conduct normal life functions;
         • A congenital anomaly/birth defect;
         • An important medical event that based on appropriate medical judgement may
             jeopardize the individual and may require medical or surgical intervention to prevent
             one of the outcomes listed above.
Instructions for Reporting to VAERS
The vaccination provider enrolled in the federal COVID-19 Vaccination Program should complete
and submit a VAERS form to FDA using one of the following methods:

•    Complete and submit the report online: https://vaers.hhs.gov/reportevent.html, or

•    If you are unable to submit this form electronically, you may fax it to VAERS at 1-877-721-
     0366. If you need additional help submitting a report you may call the VAERS toll-free
     information line at 1-800-822-7967 or send an email to info@vaers.org.
IMPORTANT: When reporting adverse events or vaccine administration errors to VAERS,
please complete the entire form with detailed information. It is important that the
information reported to FDA be as detailed and complete as possible. Information to include:

•    Patient demographics, (e.g., patient name, date of birth),

•    Pertinent medical history,

•    Pertinent details regarding admission and course of illness,

•    Concomitant medications,

•    Timing of adverse event(s) in relationship to administration of Janssen COVID-19 vaccine,

•    Pertinent laboratory and virology information,

•    Outcome of the event and any additional follow-up information if it is available at the time
     of the VAERS report. Subsequent reporting of follow-up information should be completed
     if additional details become available.


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The following steps are highlighted to provide the necessary information for safety tracking:
1.     In Box 17, provide information on Janssen COVID-19 Vaccine and any other vaccines
       administered on the same day; and in Box 22, provide information on any other vaccines
       received within one month prior.
2.     In Box 18, description of the event:
       a.   Write “Janssen COVID-19 Vaccine EUA” as the first line.
       b.   Provide a detailed report of vaccine administration error and/or adverse event. It is
            important to provide detailed information regarding the patient and adverse
            event/medication error for ongoing safety evaluation of this unapproved vaccine.
            Please see information to include listed above.
3.     Contact information:
       a.   In Box 13, provide the name and contact information of the prescribing healthcare
            provider or institutional designee who is responsible for the report.
       b.   In Box 14, provide the name and contact information of the best doctor/healthcare
            professional to contact about the adverse event.
       c.   In Box 15, provide the address of the facility where vaccine was given (NOT the
            healthcare provider’s office address).
Other Reporting Instructions
Vaccination providers may report to VAERS other adverse events that are not required to be
reported using the contact information above.
To the extent feasible, report adverse events to Janssen Biotech, Inc. using the contact information
below or by providing a copy of the VAERS form to Janssen Biotech, Inc:

              e-mail                      Fax number                    Telephone numbers
     JNJvaccineAE@its.jnj.com             215-293-9955              US Toll Free: 1-800-565-4008
                                                                      US Toll: (908) 455-9922

10       DRUG INTERACTIONS
There are no data to assess the concomitant administration of the Janssen COVID-19 Vaccine with
other vaccines.
11       USE IN SPECIFIC POPULATIONS
11.1     Pregnancy
Pregnancy Exposure Registry
There is a pregnancy exposure registry that monitors pregnancy outcomes in women exposed to
Janssen COVID-19 Vaccine during pregnancy. Women who are vaccinated with Janssen COVID-

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19 Vaccine during pregnancy are encouraged to enroll in the registry by visiting https://c-
viper.pregistry.com.
Risk Summary
All Pregnancies have a risk of birth defect, loss, or other adverse outcomes. In the U.S. general
population, the estimated background risk of major birth defects and miscarriage in clinically
recognized pregnancies is 2% to 4% and 15% to 20%, respectively.
Available data on Janssen COVID-19 Vaccine administered to pregnant women are insufficient to
inform vaccine-associated risks in pregnancy.
In a reproductive developmental toxicity study female rabbits were administered 1 mL of the
Janssen COVID-19 Vaccine (a single human dose is 0.5 mL) by intramuscular injection 7 days
prior to mating and on Gestation Days 6 and 20 (i.e., one vaccination during early and late
gestation, respectively). No vaccine related adverse effects on female fertility, embryo-fetal or
postnatal development up to Postnatal Day 28 were observed.
11.2   Lactation
Risk Summary
Data are not available to assess the effects of Janssen COVID-19 Vaccine on the breastfed infant
or on milk production/excretion.
11.3   Pediatric Use
Emergency Use Authorization of the Janssen COVID-19 Vaccine does not include use in
individuals younger than 18 years of age.
11.4   Geriatric Use
Clinical studies of Janssen COVID-19 Vaccine included individuals 65 years of age and older and
their data contributes to the overall assessment of safety and efficacy [see Overall Safety Summary
(6.1) and Clinical Trial Results and Supporting Data for EUA (18)]. Of the 21,895 individuals
who received a single-dose of the Janssen COVID-19 Vaccine in COV3001, 19.5% (n=4,259)
were 65 years of age and older and 3.7% (n=809) were 75 years of age and older. No overall
differences in safety or efficacy were observed between individuals 65 years of age and older and
younger individuals.
13     DESCRIPTION
The Janssen COVID-19 Vaccine is a colorless to slightly yellow, clear to very opalescent sterile
suspension for intramuscular injection. It contains no visible particulates. The vaccine consists of
a replication-incompetent recombinant adenovirus type 26 (Ad26) vector expressing the severe
acute respiratory syndrome coronavirus-2 (SARS-CoV-2) spike (S) protein in a stabilized
conformation.
The Ad26 vector expressing the SARS-CoV-2 S protein is grown in PER.C6 TetR cells, in media
containing amino acids and no animal-derived proteins. After propagation, the vaccine is


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processed through several purification steps, formulated with inactive ingredients and filled into
vials.
Each 0.5 mL dose of Janssen COVID-19 Vaccine is formulated to contain 5×1010 virus particles
(VP) and the following inactive ingredients: citric acid monohydrate (0.14 mg), trisodium citrate
dihydrate (2.02 mg), ethanol (2.04 mg), 2-hydroxypropyl-β-cyclodextrin (HBCD) (25.50 mg),
polysorbate-80 (0.16 mg), sodium chloride (2.19 mg). Each dose may also contain residual
amounts of host cell proteins (≤0.15 mcg) and/or host cell DNA (≤3 ng).
Janssen COVID-19 Vaccine does not contain a preservative.
The vial stoppers are not made with natural rubber latex.
14     CLINICAL PHARMACOLOGY
14.1   Mechanism of Action
The Janssen COVID-19 Vaccine is composed of a recombinant, replication-incompetent human
adenovirus type 26 vector that, after entering human cells, expresses the SARS-CoV-2 spike (S)
antigen without virus propagation. An immune response elicited to the S antigen protects against
COVID-19.
18     CLINICAL TRIAL RESULTS AND SUPPORTING DATA FOR EUA
An ongoing, multicenter, randomized, double-blind, placebo-controlled Phase 3 Study
(COV3001) (NCT04505722) is being conducted in the United States, South Africa, Brazil, Chile,
Argentina, Colombia, Peru and Mexico to assess the efficacy, safety, and immunogenicity of a
single-dose of the Janssen COVID-19 Vaccine for the prevention of COVID-19 in adults aged
18 years and older. Randomization was stratified by age (18-59 years, 60 years and older) and
presence or absence of comorbidities associated with an increased risk of progression to severe
COVID-19. The study allowed for the inclusion of individuals with stable pre-existing medical
conditions, defined as disease not requiring significant change in therapy during the 3 months
preceding vaccination, as well as individuals with stable human immunodeficiency virus (HIV)
infection.
A total of 44,325 individuals were randomized equally to receive Janssen COVID-19 Vaccine or
saline placebo. Individuals are planned to be followed for up to 24 months, for assessments of
safety and efficacy against COVID-19.
The primary efficacy analysis population of 39,321 individuals (19,630 in the Janssen COVID-19
Vaccine group and 19,691 in the placebo group) included 38,059 SARSCoV-2 seronegative
individuals at baseline and 1,262 individuals with an unknown serostatus. Demographic and
baseline characteristics were similar among individuals who received the Janssen COVID-19
Vaccine and those who received placebo (see Table 5).




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 Table 5:             Summary of Demographics and Baseline Characteristics - Primary Efficacy Analysis
                      Population
                                                  Janssen COVID-19 Vaccine                  Placebo
                                                          (N=19,630)                      (N=19,691)
                                                            n (%)                            n (%)
 Sex
    Male                                                                   10,924 (55.6)                              10,910 (55.4)
    Female                                                                 8,702 (44.3)                               8,777 (44.6)
 Age (years)
    Mean (SD)                                                                51.1 (15.0)                               51.2 (15.0)
    Median                                                                      52.0                                      53.0
    Min, max                                                                  (18; 100)                                 (18; 94)
 Age group
    ≥18 to 59 years of age                                                 12,830 (65.4)                              12,881 (65.4)
    ≥60 years of age                                                       6,800 (34.6)                               6,810 (34.6)
    ≥65 years of age                                                       3,984 (20.3)                               4,018 (20.4)
    ≥75 years of age                                                         755 (3.8)                                  693 (3.5)
 Racea
    White                                                                  12,200 (62.1)                              12,216 (62.0)
    Black or African American                                              3,374 (17.2)                               3,390 (17.2)
    Asian                                                                    720 (3.7)                                  663 (3.4)
    American Indian/Alaska Nativeb                                          1,643 (8.4)                                1,628 (8.3)
    Native Hawaiian or other Pacific Islander                                54 (0.3)                                   45 (0.2)
    Multiple                                                                1,036 (5.3)                                1,087 (5.5)
    Unknown                                                                  262 (1.3)                                  272 (1.4)
    Not reported                                                             341 (1.7)                                  390 (2.0)
 Ethnicity
    Hispanic or Latino                                                     8,793 (44.8)                               8,936 (45.4)
    Not Hispanic or Latino                                                 10,344 (52.7)                              10,259 (52.1)
    Unknown                                                                  173 (0.9)                                  162 (0.8)
    Not reported                                                             319 (1.6)                                  333 (1.7)
 Region
    Northern America (United States)                                        9,185 (46.8)                              9,171 (46.6)
    Latin America                                                           7,967 (40.6)                              8,014 (40.7)
    Southern Africa (South Africa)                                          2,478 (12.6)                              2,506 (12.7)
 Comorbiditiesc
    Yes                                                                    7,830 (39.9)                               7,867 (40.0)
    No                                                                     11,800 (60.1)                              11,824 (60.0)
 a
     Some individuals could be classified in more than one category.
 b
     Including 175 individuals in the United States, which represents 1% of the population recruited in the United States.
 c
     Number of individuals who have 1 or more comorbidities at baseline that increase the risk of progression to severe/critical COVID-19:
     Obesity defined as BMI ≥30 kg/m2 (27.5%), hypertension (10.3%), type 2 diabetes (7.2%), stable/well-controlled HIV infection (2.5%),
     serious heart conditions (2.4%), asthma (1.3%), and in ≤1% of individuals: cancer, cerebrovascular disease, chronic kidney disease, chronic
     obstructive pulmonary disease, cystic fibrosis, immunocompromised state (weakened immune system) from blood or organ transplant, liver
     disease, neurologic conditions, pulmonary fibrosis, sickle cell disease, thalassemia and type 1 diabetes, regardless of age.


Efficacy Against COVID-19
The co-primary endpoints evaluated the first occurrence of moderate to severe/critical COVID-19
with onset of symptoms at least 14 days and at least 28 days after vaccination. Moderate to
severe/critical COVID-19 was molecularly confirmed by a central laboratory based on a positive
SARS-CoV-2 viral RNA result using a polymerase chain reaction (PCR)-based test.

•      Moderate COVID-19 was defined based on the following criteria: the individual must have
       experienced any one of the following new or worsening signs or symptoms: respiratory rate

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          ≥20 breaths/minute, abnormal saturation of oxygen (SpO2) but still >93% on room air at sea
          level, clinical or radiologic evidence of pneumonia, radiologic evidence of deep vein
          thrombosis (DVT), shortness of breath or difficulty breathing OR any two of the following
          new or worsening signs or symptoms: fever (≥38.0°C or ≥100.4°F), heart rate
          ≥90 beats/minute, shaking chills or rigors, sore throat, cough, malaise, headache, muscle
          pain (myalgia), gastrointestinal symptoms, new or changing olfactory or taste disorders, red
          or bruised appearing feet or toes.

•         Severe/critical COVID-19 was defined based on the following criteria: the individual must
          have experienced any one of the following at any time during the course of observation:
          clinical signs at rest indicative of severe systemic illness (respiratory rate
          ≥30 breaths/minute, heart rate ≥125 beats/minute, oxygen saturation (SpO2) ≤93% on room
          air at sea level, or partial pressure of oxygen/fraction of inspired oxygen (PaO2/FiO2)
          <300 mmHg), respiratory failure (defined as needing high-flow oxygen, non-invasive
          ventilation, mechanical ventilation, or extracorporeal membrane oxygenation [ECMO]),
          evidence of shock (defined as systolic blood pressure <90 mmHg, diastolic blood pressure
          <60 mmHg, or requiring vasopressors), significant acute renal, hepatic, or neurologic
          dysfunction, admission to intensive care unit (ICU), death.
Final determination of severe/critical COVID-19 cases were made by an independent adjudication
committee.
The median length of follow up for efficacy for individuals in the study was 8 weeks post-
vaccination. Vaccine efficacy for the co-primary endpoints against moderate to severe/critical
COVID-19 in individuals who were seronegative or who had an unknown serostatus at baseline
was 66.9% (95% CI: 59.0; 73.4) at least 14 days after vaccination and 66.1% (95% CI: 55.0; 74.8)
at least 28 days after vaccination (see Table 6).
    Table 6:          Analyses of Vaccine Efficacy Against Centrally Confirmed Moderate to Severe/Critical
                      COVID-19 – With Onset at Least 14 Days and at Least 28 Days Post-Vaccination - Primary
                      Efficacy Analysis Population
                                  Janssen COVID-19 Vaccine               Placebo
                                           N=19,630                     N=19,691
                                  COVID-19                     COVID-19                         % Vaccine
                                    Cases                        Cases                            Efficacy
             Subgroup                 (n)        Person-Years      (n)       Person-Years        (95% CI)
    14 days post-vaccination
    All subjectsa                     116           3116.6         348           3096.1             66.9
                                                                                                (59.0; 73.4)
        18 to 59 years of age          95           2106.8         260           2095.0             63.7
                                                                                                (53.9; 71.6)
        60 years and older             21           1009.8         88            1001.2             76.3
                                                                                                (61.6; 86.0)
    28 days post-vaccination
    All subjectsa                      66           3102.0         193           3070.7             66.1
                                                                                               (55.0; 74.8)b
        18 to 59 years of age          52           2097.6         152           2077.0             66.1
                                                                                                (53.3; 75.8)
        60 years and older             14           1004.4         41            993.6              66.2
                                                                                                (36.7; 83.0)
    a
        Co-primary endpoint.
    b
        The adjusted CI implements type I error control for multiple testing and is presented upon meeting the prespecified testing conditions.


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Vaccine efficacy against severe/critical COVID-19 at least 14 days after vaccination was 76.7%
(95% CI: 54.6; 89.1) and 85.4% (95% CI: 54.2; 96.9) at least 28 days after vaccination (see Table
7).
 Table 7:          Analyses of Vaccine Efficacy: Secondary Endpoints of Centrally Confirmed Severe/Critical
                   COVID-19 – in Adults 18 Years of Age and Older With Onset at Least 14 Days and at Least 28
                   Days Post-Vaccination – Primary Efficacy Analysis Population
                               Janssen COVID-19 Vaccine                 Placebo
                                       N=19,630                         N=19,691
                               COVID-19                       COVID-19                          % Vaccine
                                 Cases                           Cases                           Efficacy
         Subgroup                 (n)         Person-Years        (n)         Person-Years      (95% CI)
 14 days post-vaccination
    Severe/critical                                                                                76.7
                                  14             3125.1           60             3122.0        (54.6; 89.1)a
 28 days post-vaccination
    Severe/critical                                                                                85.4
                                   5             3106.2           34             3082.6        (54.2; 96.9)a
 a
     The adjusted CI implements type I error control for multiple testing and is presented upon meeting the prespecified testing conditions.



Among all COVID-19 cases with onset at least 14 days post vaccination, including cases diagnosed
by a positive PCR from a local laboratory and still awaiting confirmation at the central laboratory,
there were 2 COVID-19 related hospitalizations in the vaccine group (with none after 28 days) and
29 in the placebo group (with 16 after 28 days).
As of the primary analysis cut-off date of January 22, 2021, there were no COVID-19-related
deaths reported in Janssen COVID-19 Vaccine recipients compared to 5 COVID-19-related deaths
reported in placebo recipients, who were SARS-CoV-2 PCR negative at baseline.
Janssen COVID-19 Vaccine Efficacy in Countries With Different Circulating SARS-CoV-2
Variants.
Exploratory subgroup analyses of vaccine efficacy against moderate to severe/critical COVID-19
and severe/critical COVID-19 for Brazil, South Africa, and the United States were conducted (see
Table 8). For the subgroup analyses, all COVID-19 cases accrued up to the primary efficacy
analysis data cutoff date, including cases confirmed by the central laboratory and cases with
documented positive SARS-CoV-2 PCR from a local laboratory which are still awaiting
confirmation by the central laboratory, were included. The concordance rate observed up to the
data cut-off date between the PCR results from the local laboratory and the central laboratory was
90.3%.




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 Table 8:         Summary of Vaccine Efficacy against Moderate to Severe/Critical and Severe/Critical
                  COVID-19 for Countries With >100 Reported Moderate to Severe/Critical Cases
                                                                           Severity
                                                         Moderate to
                                                       Severe/Critical               Severe/Critical
                              Onset                Point estimate (95% CI)      Point estimate (95% CI)
 US             at least 14 days after vaccination    74.4% (65.0; 81.6)            78.0% (33.1; 94.6)
                at least 28 days after vaccination    72.0% (58.2;81.7)             85.9% (-9.4; 99.7)
 Brazil         at least 14 days after vaccination    66.2% (51.0; 77.1)            81.9% (17.0; 98.1)
                at least 28 days after vaccination    68.1% (48.8; 80.7)            87.6% (7.8; 99.7)
 South Africa   at least 14 days after vaccination    52.0% (30.3; 67.4)            73.1% (40.0; 89.4)
                at least 28 days after vaccination    64.0% (41.2; 78.7)            81.7% (46.2; 95.4)

Strain sequencing was conducted on available samples with sufficient viral load from centrally
confirmed COVID-19 cases (one sequence per case). As of February 12, 2021, samples from
71.7% of central laboratory confirmed primary analysis cases had been sequenced [United States
(73.5%), South Africa (66.9%) and Brazil (69.3%)]. In the United States, 96.4% of strains were
identified as the Wuhan-H1 variant D614G; in South Africa, 94.5% of strains were identified as
the 20H/501Y.V2 variant (B.1.351 lineage); in Brazil, 69.4% of strains were identified to be a
variant of the P.2 lineage and 30.6% of strains were identified as the Wuhan-H1 variant D614G.
As of February 12, 2021, SARS-CoV-2 variants from the B1.1.7 or P.1 lineages were not found in
any of the sequenced samples.
19        HOW SUPPLIED/STORAGE AND HANDLING
Janssen COVID-19 Vaccine is supplied in a carton of 10 multi-dose vials (NDC 59676-580-15).
A maximum of 5 doses can be withdrawn from the multi-dose vial.
The storage and handling information in this Fact Sheet supersedes the storage and handling
information on the carton and vial labels.
Storage Prior to First Puncture of the Vaccine Vial
Store unpunctured multi-dose vials of the Janssen COVID-19 Vaccine at 2°C to 8°C (36°F to
46°F) and protect from light. Do not store frozen.
Unpunctured vials of Janssen COVID-19 Vaccine may be stored between 9°C to 25°C (47°F to
77°F) for up to 12 hours.
The Janssen COVID-19 Vaccine is initially stored frozen by the manufacturer, then shipped at 2°C
to 8°C (36°F to 46°F). If vaccine is still frozen upon receipt, thaw at 2°C to 8°C (36°F to 46°F). If
needed immediately, thaw at room temperature (maximally 25°C/77°F). At room temperature
(maximally 25°C/77°F), a carton of 10 vials will take approximately 2 hours to thaw, and an
individual vial will take approximately 1 hour to thaw. Do not refreeze once thawed.
Storage After First Puncture of the Vaccine Vial
After the first dose has been withdrawn, hold the vial between 2° to 8°C (36° to 46°F) for up to
6 hours or at room temperature (maximally 25°C/77°F) for up to 2 hours. Discard the vial if
vaccine is not used within these times.


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20     PATIENT COUNSELING INFORMATION
Advise the recipient or caregiver to read the Fact Sheet for Recipients and Caregivers.
The vaccination provider must include vaccination information in the state/local jurisdiction’s
Immunization Information System (IIS) or other designated system. Advise recipient or caregiver
that more information about IISs can be found at:
https://www.cdc.gov/vaccines/programs/iis/about.html.
21     CONTACT INFORMATION
For general questions or to access the most recent Janssen COVID-19 Vaccine Fact Sheets, scan
the QR code using your device, visit www.janssencovid19vaccine.com or call the telephone
numbers provided below.

       QR Code                    Fact Sheets Website                     Telephone numbers
                             www.janssencovid19vaccine.com.           US Toll Free: 1-800-565-4008
                                                                        US Toll: 1-908-455-9922




This Full EUA Prescribing Information may have been updated. For the most recent Full EUA
Prescribing Information, please see www.janssencovid19vaccine.com.
Manufactured by:
Janssen Biotech, Inc.
a Janssen Pharmaceutical Company of Johnson & Johnson
Horsham, PA 19044, USA




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                 FACT SHEET FOR RECIPIENTS AND CAREGIVERS

               EMERGENCY USE AUTHORIZATION (EUA) OF
   THE PFIZER-BIONTECH COVID-19 VACCINE TO PREVENT CORONAVIRUS
                         DISEASE 2019 (COVID-19)
              IN INDIVIDUALS 16 YEARS OF AGE AND OLDER

You are being offered the Pfizer-BioNTech COVID-19 Vaccine to prevent Coronavirus
Disease 2019 (COVID-19) caused by SARS-CoV-2. This Fact Sheet contains
information to help you understand the risks and benefits of the Pfizer-BioNTech
COVID-19 Vaccine, which you may receive because there is currently a pandemic of
COVID-19.

The Pfizer-BioNTech COVID-19 Vaccine is a vaccine and may prevent you from getting
COVID-19. There is no U.S. Food and Drug Administration (FDA) approved vaccine to
prevent COVID-19.

Read this Fact Sheet for information about the Pfizer-BioNTech COVID-19 Vaccine.
Talk to the vaccination provider if you have questions. It is your choice to receive the
Pfizer-BioNTech COVID-19 Vaccine.

The Pfizer-BioNTech COVID-19 Vaccine is administered as a 2-dose series, 3 weeks
apart, into the muscle.

The Pfizer-BioNTech COVID-19 Vaccine may not protect everyone.

This Fact Sheet may have been updated. For the most recent Fact Sheet, please see
www.cvdvaccine.com.

WHAT YOU NEED TO KNOW BEFORE YOU GET THIS VACCINE

WHAT IS COVID-19?
COVID-19 disease is caused by a coronavirus called SARS-CoV-2. This type of
coronavirus has not been seen before. You can get COVID-19 through contact with
another person who has the virus. It is predominantly a respiratory illness that can
affect other organs. People with COVID-19 have had a wide range of symptoms
reported, ranging from mild symptoms to severe illness. Symptoms may appear 2 to
14 days after exposure to the virus. Symptoms may include: fever or chills; cough;
shortness of breath; fatigue; muscle or body aches; headache; new loss of taste or
smell; sore throat; congestion or runny nose; nausea or vomiting; diarrhea.

WHAT IS THE PFIZER-BIONTECH COVID-19 VACCINE?
The Pfizer-BioNTech COVID-19 Vaccine is an unapproved vaccine that may prevent
COVID-19. There is no FDA-approved vaccine to prevent COVID-19.




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The FDA has authorized the emergency use of the Pfizer-BioNTech COVID-19 Vaccine
to prevent COVID-19 in individuals 16 years of age and older under an Emergency Use
Authorization (EUA).

For more information on EUA, see the “What is an Emergency Use Authorization
(EUA)?” section at the end of this Fact Sheet.

WHAT SHOULD YOU MENTION TO YOUR VACCINATION PROVIDER BEFORE
YOU GET THE PFIZER-BIONTECH COVID-19 VACCINE?
Tell the vaccination provider about all of your medical conditions, including if
you:
     • have any allergies
     • have a fever
     • have a bleeding disorder or are on a blood thinner
     • are immunocompromised or are on a medicine that affects your immune system
     • are pregnant or plan to become pregnant
     • are breastfeeding
     • have received another COVID-19 vaccine

WHO SHOULD GET THE PFIZER-BIONTECH COVID-19 VACCINE?
FDA has authorized the emergency use of the Pfizer-BioNTech COVID-19 Vaccine in
individuals 16 years of age and older.

WHO SHOULD NOT GET THE PFIZER-BIONTECH COVID-19 VACCINE?
You should not get the Pfizer-BioNTech COVID-19 Vaccine if you:
   • had a severe allergic reaction after a previous dose of this vaccine
   • had a severe allergic reaction to any ingredient of this vaccine.

WHAT ARE THE INGREDIENTS IN THE PFIZER-BIONTECH COVID-19 VACCINE?
The Pfizer-BioNTech COVID-19 Vaccine includes the following ingredients: mRNA,
lipids ((4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 2
[(polyethylene glycol)-2000]-N,N-ditetradecylacetamide, 1,2-Distearoyl-sn-glycero-3-
phosphocholine, and cholesterol), potassium chloride, monobasic potassium
phosphate, sodium chloride, dibasic sodium phosphate dihydrate, and sucrose.

HOW IS THE PFIZER-BIONTECH COVID-19 VACCINE GIVEN?
The Pfizer-BioNTech COVID-19 Vaccine will be given to you as an injection into the
muscle.

The Pfizer-BioNTech COVID-19 Vaccine vaccination series is 2 doses given 3 weeks
apart.

If you receive one dose of the Pfizer-BioNTech COVID-19 Vaccine, you should receive
a second dose of this same vaccine 3 weeks later to complete the vaccination series.



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HAS THE PFIZER-BIONTECH COVID-19 VACCINE BEEN USED BEFORE?
The Pfizer-BioNTech COVID-19 Vaccine is an unapproved vaccine. In clinical trials,
approximately 20,000 individuals 16 years of age and older have received at least
1 dose of the Pfizer-BioNTech COVID-19 Vaccine.

WHAT ARE THE BENEFITS OF THE PFIZER-BIONTECH COVID-19 VACCINE?
In an ongoing clinical trial, the Pfizer-BioNTech COVID-19 Vaccine has been shown to
prevent COVID-19 following 2 doses given 3 weeks apart. The duration of protection
against COVID-19 is currently unknown.

WHAT ARE THE RISKS OF THE PFIZER-BIONTECH COVID-19 VACCINE?
There is a remote chance that the Pfizer-BioNTech COVID-19 Vaccine could cause a
severe allergic reaction. A severe allergic reaction would usually occur within a few
minutes to one hour after getting a dose of the Pfizer-BioNTech COVID-19 Vaccine. For
this reason, your vaccination provider may ask you to stay at the place where you
received your vaccine for monitoring after vaccination. Signs of a severe allergic
reaction can include:
    • Difficulty breathing
    • Swelling of your face and throat
    • A fast heartbeat
    • A bad rash all over your body
    • Dizziness and weakness

Side effects that have been reported with the Pfizer-BioNTech COVID-19 Vaccine
include:
    • severe allergic reactions
    • non-severe allergic reactions such as rash, itching, hives, or swelling of the face
    • injection site pain
    • tiredness
    • headache
    • muscle pain
    • chills
    • joint pain
    • fever
    • injection site swelling
    • injection site redness
    • nausea
    • feeling unwell
    • swollen lymph nodes (lymphadenopathy)
    •
    • diarrhea
    • vomiting
    • arm pain




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These may not be all the possible side effects of the Pfizer-BioNTech COVID-19
Vaccine. Serious and unexpected side effects may occur. Pfizer-BioNTech COVID-19
Vaccine is still being studied in clinical trials.

WHAT SHOULD I DO ABOUT SIDE EFFECTS?
If you experience a severe allergic reaction, call 9-1-1, or go to the nearest hospital.

Call the vaccination provider or your healthcare provider if you have any side effects
that bother you or do not go away.

Report vaccine side effects to FDA/CDC Vaccine Adverse Event Reporting System
(VAERS). The VAERS toll-free number is 1-800-822-7967 or report online to
https://vaers.hhs.gov/reportevent.html. Please include “Pfizer-BioNTech COVID-19
Vaccine EUA” in the first line of box #18 of the report form.

In addition, you can report side effects to Pfizer Inc. at the contact information provided
below.

              Website                         Fax number           Telephone number

  www.pfizersafetyreporting.com           1-866-635-8337             1-800-438-1985

You may also be given an option to enroll in v-safe. V-safe is a new voluntary
smartphone-based tool that uses text messaging and web surveys to check in with
people who have been vaccinated to identify potential side effects after COVID-19
vaccination. V-safe asks questions that help CDC monitor the safety of COVID-19
vaccines. V-safe also provides second-dose reminders if needed and live telephone
follow-up by CDC if participants report a significant health impact following COVID-19
vaccination. For more information on how to sign up, visit: www.cdc.gov/vsafe.

WHAT IF I DECIDE NOT TO GET THE PFIZER-BIONTECH COVID-19 VACCINE?
It is your choice to receive or not receive the Pfizer-BioNTech COVID-19 Vaccine.
Should you decide not to receive it, it will not change your standard medical care.

ARE OTHER CHOICES AVAILABLE FOR PREVENTING COVID-19 BESIDES
PFIZER-BIONTECH COVID-19 VACCINE?
Currently, there is no approved alternative vaccine available for prevention of COVID-19.
Other vaccines to prevent COVID-19 may be available under Emergency Use
Authorization.

CAN I RECEIVE THE PFIZER-BIONTECH COVID-19 VACCINE WITH OTHER
VACCINES?
There is no information on the use of the Pfizer-BioNTech COVID-19 Vaccine with
other vaccines.



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WHAT IF I AM PREGNANT OR BREASTFEEDING?
If you are pregnant or breastfeeding, discuss your options with your healthcare
provider.

WILL THE PFIZER-BIONTECH COVID-19 VACCINE GIVE ME COVID-19?
No. The Pfizer-BioNTech COVID-19 Vaccine does not contain SARS-CoV-2 and
cannot give you COVID-19.

KEEP YOUR VACCINATION CARD
When you get your first dose, you will get a vaccination card to show you when to
return for your second dose of Pfizer-BioNTech COVID-19 Vaccine. Remember to bring
your card when you return.

ADDITIONAL INFORMATION
If you have questions, visit the website or call the telephone number provided below.

To access the most recent Fact Sheets, please scan the QR code provided below.

             Global website                             Telephone number
           www.cvdvaccine.com
                                                          1-877-829-2619
                                                        (1-877-VAX-CO19)




HOW CAN I LEARN MORE?
  • Ask the vaccination provider.
  • Visit CDC at https://www.cdc.gov/coronavirus/2019-ncov/index.html.
  • Visit FDA at https://www.fda.gov/emergency-preparedness-and-response/mcm-
    legal-regulatory-and-policy-framework/emergency-use-authorization.
  • Contact your local or state public health department.

WHERE WILL MY VACCINATION INFORMATION BE RECORDED?
The vaccination provider may include your vaccination information in your state/local
jurisdiction’s Immunization Information System (IIS) or other designated system. This
will ensure that you receive the same vaccine when you return for the second dose. For
more information about IISs visit: https://www.cdc.gov/vaccines/programs/iis/about.html.

CAN I BE CHARGED AN ADMINISTRATION FEE FOR RECEIPT OF THE COVID-19
VACCINE?

No. At this time, the provider cannot charge you for a vaccine dose and you cannot be
charged an out-of-pocket vaccine administration fee or any other fee if only receiving a
COVID-19 vaccination. However, vaccination providers may seek appropriate
reimbursement from a program or plan that covers COVID-19 vaccine administration
fees for the vaccine recipient (private insurance, Medicare, Medicaid, Health Resources
                                         5                           Revised: 06 April 2021



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& Services Administration [HRSA] COVID-19 Uninsured Program for non-insured
recipients).

WHERE CAN I REPORT CASES OF SUSPECTED FRAUD?

Individuals becoming aware of any potential violations of the CDC COVID-19
Vaccination Program requirements are encouraged to report them to the Office of the
Inspector General, U.S. Department of Health and Human Services, at 1-800-HHS-
TIPS or https://TIPS.HHS.GOV.

WHAT IS THE COUNTERMEASURES INJURY COMPENSATION PROGRAM?
The Countermeasures Injury Compensation Program (CICP) is a federal program that
may help pay for costs of medical care and other specific expenses of certain people
who have been seriously injured by certain medicines or vaccines, including this
vaccine. Generally, a claim must be submitted to the CICP within one (1) year from the
date of receiving the vaccine. To learn more about this program, visit
www.hrsa.gov/cicp/ or call 1-855-266-2427.

WHAT IS AN EMERGENCY USE AUTHORIZATION (EUA)?
The United States FDA has made the Pfizer-BioNTech COVID-19 Vaccine available
under an emergency access mechanism called an EUA. The EUA is supported by a
Secretary of Health and Human Services (HHS) declaration that circumstances exist to
justify the emergency use of drugs and biological products during the COVID-19
pandemic.

The Pfizer-BioNTech COVID-19 Vaccine has not undergone the same type of review as
an FDA-approved or cleared product. FDA may issue an EUA when certain criteria are
met, which includes that there are no adequate, approved, available alternatives. In
addition, the FDA decision is based on the totality of scientific evidence available
showing that the product may be effective to prevent COVID-19 during the COVID-19
pandemic and that the known and potential benefits of the product outweigh the known
and potential risks of the product. All of these criteria must be met to allow for the
product to be used in the treatment of patients during the COVID-19 pandemic.

The EUA for the Pfizer-BioNTech COVID-19 Vaccine is in effect for the duration of the
COVID-19 EUA declaration justifying emergency use of these products, unless
terminated or revoked (after which the products may no longer be used).




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Explaining mRNA COVID-19 vaccines
 mRNA vaccines take advantage of the process that cells use to make proteins in
  order to trigger an immune response
  – Like all vaccines, COVID-19 mRNA vaccines have been rigorously tested for
    safety before being authorized for use in the United States
  – mRNA technology is new, but not unknown. They have been studied for more
    than a decade
  – mRNA vaccines do not contain a live virus and do not carry a risk of causing
    disease in the vaccinated person
  – mRNA from the vaccine never enters the nucleus of the cell and does not
    affect or interact with a person’s DNA



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      Nucleic acid
      vaccines




Nature. Vol 580. April 30, 2020. https://media.nature.com/original/magazine-assets/d41586-020-01221-y/d41586-020-01221-y.pdf                      5




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ACIP recommendations for use of COVID-19 vaccines
 On December 12, 2020, ACIP recommended use of the Pfizer-BioNTech COVID-19
  vaccine in persons 16 years of age and older under the FDA’s Emergency Use
  Authorization


 ACIP recommends that when a COVID-19 vaccine is authorized by FDA and
  recommended by ACIP, that 1) health care personnel and 2) residents of long-term care
  facilities be offered vaccination in the initial phase of the COVID-19 vaccination
  program




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Administration
 2-dose series administered intramuscularly 3 weeks apart


 Administration of 2nd dose within 4-day grace period (e.g., day 17-21) considered valid


 If >21 days since 1st dose, 2nd dose should be administered at earliest opportunity (but
  no doses need to be repeated)


 Both doses are necessary for protection; efficacy of a single dose has not been
  systematically evaluated




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Interchangeability with other COVID-19 vaccine products
 Pfizer-BioNTech COVID-19 vaccine not interchangeable with other COVID-19 vaccine
  products
 – Safety and efficacy of a mixed series has not been evaluated

 Persons initiating series with Pfizer-BioNTech COVID-19 vaccine should complete series
  with same product


 If two doses of different mRNA COVID-19 vaccine products inadvertently administered,
  no additional doses of either vaccine recommended at this time
 – Recommendations may be updated as further information becomes available or additional
   vaccine types authorized



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Coadministration with other vaccines
 Pfizer-BioNTech COVID-19 vaccine should be administered alone with a minimum
  interval of 14 days before or after administration with any other vaccines
 – Due to lack of data on safety and efficacy of the vaccine administered simultaneously with
   other vaccines


 If Pfizer-BioNTech COVID-19 vaccine is inadvertently administered within 14 days of
  another vaccine, doses do not need to be repeated for either vaccine




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Persons with a history of SARS-CoV-2 infection
 Vaccination should be offered to persons regardless of history of prior symptomatic or
  asymptomatic SARS-CoV-2 infection
  – Data from phase 2/3 clinical trials suggest vaccination safe and likely efficacious in these
    persons

 Viral or serologic testing for acute or prior infection, respectively, is not recommended
  for the purpose of vaccine decision-making




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Persons with known current SARS-CoV-2 infection
 Vaccination should be deferred until recovery from acute illness (if person had
  symptoms) and criteria have been met to discontinue isolation


 No minimal interval between infection and vaccination


 However, current evidence suggests reinfection uncommon in the 90 days after initial
  infection, and thus persons with documented acute infection in the preceding 90 days
  may defer vaccination until the end of this period, if desired




 https://www.cdc.gov/coronavirus/2019-ncov/hcp/disposition-in-home-patients.html
 https://www.cdc.gov/coronavirus/2019-ncov/hcp/duration-isolation.html                                              14




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Persons who previously received passive antibody therapy for
COVID-19
 Currently no data on safety or efficacy of COVID-19 vaccination in persons who
  received monoclonal antibodies or convalescent plasma as part of COVID-19 treatment


 Vaccination should be deferred for at least 90 days to avoid interference of the
  treatment with vaccine-induced immune responses
  – Based on estimated half-life of therapies and evidence suggesting reinfection is uncommon
    within 90 days of initial infection




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Persons with a known SARS-CoV-2 exposure
 Community or outpatient setting:
  – Defer vaccination until quarantine period has ended to avoid exposing healthcare personnel
    (HCP) or other persons during vaccination visit


 Residents of congregate healthcare settings (e.g., long-term care facilities):
  – May be vaccinated, as likely would not result in additional exposures. HCP are already in
    close contact with residents and should employ appropriate infection prevention and control
    procedures

 Residents of other congregate settings (e.g., correctional facilities, homeless shelters)
  – May be vaccinated, in order to avoid delays and missed opportunities for vaccination
  – Where feasible, precautions should be taken to limit mixing of these individuals with other
    residents or non-essential staff

 https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/quarantine.html
 https://www.cdc.gov/coronavirus/2019-ncov/hcp/infection-control-recommendations.html                              16




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Persons with underlying medical conditions
 Vaccine may be administered to persons with underlying medical conditions who have
  no contraindications to vaccination

 Phase 2/3 clinical trials demonstrate similar safety and efficacy profiles in persons with
  underlying medical conditions, including those that place them at increased risk for
  severe COVID-19, compared to persons without comorbidities




https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html                      18




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Immunocompromised persons
 Persons with HIV infection, other immunocompromising conditions, or who take
  immunosuppressive medications or therapies might be at increased risk for severe
  COVID-19

 Data not currently available to establish safety and efficacy of vaccine in these groups


 These individuals may still receive COVID-19 vaccine unless otherwise contraindicated


 Individuals should be counseled about:
   – Unknown vaccine safety and efficacy profiles in immunocompromised persons
   – Potential for reduced immune responses
   – Need to continue to follow all current guidance to protect themselves against COVID-19

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html                      19




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Pregnant women
 There are no data on the safety of COVID-19 vaccines in pregnant women
 – Animal developmental and reproductive toxicity (DART) studies are ongoing
 – Studies in humans are ongoing and more planned


 mRNA vaccines and pregnancy
 – Not live vaccines
 – They are degraded quickly by normal cellular processes and don’t enter the nucleus of the cell


 COVID-19 and pregnancy
 – Increased risk of severe illness (ICU admission, mechanical ventilation and death)
 – Might be an increased risk of adverse pregnancy outcomes, such as preterm birth


 If a woman is part of a group (e.g., healthcare personnel) who is recommended to
  receive a COVID-19 vaccine and is pregnant, she may choose to be vaccinated. A
  discussion with her healthcare provider can help her make an informed decision.
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/pregnancy-breastfeeding.html                      20




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Pregnant women
 Considerations for vaccination:
  –   level of COVID-19 community transmission (risk of acquisition)
  –   her personal risk of contracting COVID-19 (by occupation or other activities)
  –   the risks of COVID-19 to her and potential risks to the fetus
  –   the efficacy of the vaccine
  –   the known side effects of the vaccine
  –   the lack of data about the vaccine during pregnancy

 Pregnant women who experience fever following vaccination should be counseled to
  take acetaminophen as fever has been associated with adverse pregnancy outcomes


 Routine testing for pregnancy prior to receipt of a COVID-19 vaccine is not
  recommended.

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Breastfeeding/Lactating women
 There are no data on the safety of COVID-19 vaccines in lactating women or the
  effects of mRNA vaccines on the breastfed infant or milk production/excretion


 mRNA vaccines are not considered live virus vaccines and are not thought to be a
  risk to the breastfeeding infant


 If a lactating woman is part of a group (e.g., healthcare personnel) who is
  recommended to receive a COVID-19 vaccine, she may choose to be vaccinated




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Reactogenicity
 Before vaccination, providers should counsel vaccine recipients about
  expected local and systemic post-vaccination symptoms

 Unless a person develops a contraindication to vaccination, they should be
  encouraged to complete the series even if they develop post-vaccination
  symptoms in order to optimize protection against COVID-19

 Antipyretic or analgesic medications may be taken for treatment of post-
  vaccination symptoms
 – Routine prophylaxis for the purposes of preventing symptoms is not recommended at this
   time, due to lack of information on impact of use on vaccine-induced antibody responses

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Vaccine efficacy
 Two doses required to achieve high efficacy
 – Efficacy after 2nd dose: 95.0% (95% CI: 90.3%, 97.6%)


 Patients should be counseled on importance of completing the 2-dose
  series in order to optimize protection




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Public health recommendations for vaccinated persons
 Protection from vaccine is not immediate; vaccine is a 2-dose series and will take 1 to 2
  weeks following the second dose to be considered fully vaccinated

 No vaccine is 100% effective

 Given the currently limited information on how well the vaccine works in the general
  population; how much it may reduce disease, severity, or transmission; and how long
  protection lasts, vaccinated persons should continue to follow all current guidance to
  protect themselves and others, including:
  –   Wearing a mask
  –   Staying at least 6 feet away from others
  –   Avoiding crowds
  –   Washing hands often
  –   Following CDC travel guidance
  –   Following quarantine guidance after an exposure to someone with COVID-19
  –   Following any applicable workplace or school guidance
https://www.cdc.gov/coronavirus/2019-ncov/index.html                                                               26




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Contraindications and precautions
 Package insert:
  – Severe allergic reaction (e.g., anaphylaxis) to any component of the Pfizer-BioNTech COVID-
    19 vaccine is a contraindication to vaccination
  – Appropriate medical treatment used to manage immediate allergic reactions must be
    immediately available in the event an acute anaphylactic reaction occurs following
    administration of the vaccine

 Because of reports of anaphylactic reactions in persons vaccinated outside of clinical
  trials, the additional following guidance is proposed:
  – A severe allergic reaction to any vaccine or injectable therapy (intramuscular, intravenous, or
    subcutaneous) is a precaution to vaccination at this time
  – Vaccine providers should observe patients after vaccination to monitor for the occurrence of
    immediate adverse reactions:
    • Persons with a history of anaphylaxis: 30 minutes
    • All other persons: 15 mins
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SARS-CoV-2 tests
 Viral tests: Prior receipt of the Pfizer-BioNTech COVID-19 vaccine will not affect the
  results of SARS-CoV-2 nucleic acid amplification or antigen tests


 Antibody tests:
  – Currently available antibody tests for SARS-CoV-2 assess IgM and/or IgG to spike or
    nucleocapsid proteins
  – Pfizer-BioNTech COVID-19 vaccine contains mRNA that encodes the spike protein; thus, a
    positive test for spike protein IgM/IgG could indicate either prior infection or vaccination
  – To evaluate for evidence of prior infection in an individual with a history of Pfizer-BioNTech
    COVID-19 vaccination, a test specifically evaluating IgM/IgG to the nucleocapsid protein
    should be used




https://www.fda.gov/medical-devices/coronavirus-disease-2019-covid-19-emergency-use-authorizations-medical-devices/eua-authorized-serology-test-performance   31




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FDA EUA resources
 FDA COVID-19 EUA
 – https://www.fda.gov/media/144412/download


 FDA COVID-19 Information
 – https://www.fda.gov/emergency-preparedness-and-response/counterterrorism-and-emerging-
   threats/coronavirus-disease-2019-covid-19

 FDA EUA Guidance
 – https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-regulatory-and-policy-
   framework/emergency-use-authorization#covid19euas




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                                               ATTACHMENT J




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                                               ATTACHMENT K




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